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 · · · · IN THE UNITED STATES DISTRICT COURT

 · · · · · ·NORTHERN DISTRICT OF ILLINOIS

 · · · · · · · · · EASTERN DIVISION

 FEDERAL TRADE COMMISSION,· · )

 · · · · · · · ·Plaintiff,· · )

 · · · -vs-· · · · · · · · · ·) No. 17-cv-00194

 CREDIT BUREAU CENTER,· · · · )

 LLC, a limited liability· · ·)

 company, formerly known· · · )

 as MYSCORE LLC, also· · · · ·)

 doing business as· · · · · · )

 EFREESCORE.COM,· · · · · · · )

 CREDITUPDATES.COM, and· · · ·)

 FREECREDITNATION.COM;· · · · )

 MICHAEL BROWN,· · · · · · · ·)

 individually and as owner· · )

 and manager of CREDIT· · · · )

 BUREAU CENTER, LLC; DANNY· · )

 PIERCE, individually; and· · )

 ANDREW LLOYD,· · · · · · · · )

 individually,· · · · · · · · )

 · · · · · · · ·Defendants.· ·)
                                                                 EXHIBIT
 · · · · DEPOSITION OF DOUGLAS M. McKENNEY
                                                                    F
 · · · · · · · ·DECEMBER 14, 2017
 · Job No. 27222
      Case: 1:17-cv-00194 Document #: 206-6 Filed: 03/24/18 Page 2 of 82 PageID #:5304




·1· · · · · ·IN THE UNITED STATES DISTRICT COURT

·2· · · · · · · NORTHERN DISTRICT OF ILLINOIS

·3· · · · · · · · · · ·EASTERN DIVISION

·4· ·FEDERAL TRADE COMMISSION,· · )

·5· · · · · · · · · Plaintiff,· · )

·6· · · · ·-vs-· · · · · · · · · ·) No. 17-cv-00194

·7· ·CREDIT BUREAU CENTER,· · · · )

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12· ·EFREESCORE.COM,· · · · · · · )

13· ·CREDITUPDATES.COM, and· · · ·)

14· ·FREECREDITNATION.COM;· · · · )

15· ·MICHAEL BROWN,· · · · · · · ·)

16· ·individually and as owner· · )

17· ·and manager of CREDIT· · · · )

18· ·BUREAU CENTER, LLC; DANNY· · )

19· ·PIERCE, individually; and· · )

20· ·ANDREW LLOYD,· · · · · · · · )

21· ·individually,· · · · · · · · )

22· · · · · · · · · Defendants.· ·)

23· · · · · ·DEPOSITION OF DOUGLAS M. McKENNEY

24· · · · · · · · · DECEMBER 14, 2017
· · · ·Job No. 27222
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FEDERAL TRADE COMMISSION vs CREDIT BUREAU CENTER                                                                       Job 27222
Douglas McKenney                                                                                                       Pages 2..5
                                                          Page 2                                                           Page 3
·1                                                                 ·1· ·PRESENT:
·2· · · · · · · · · *· *· *· *· *· *   *                           ·2· · · · ·UNITED STATES FEDERAL TRADE COMMISSION,
·3· · · · · · · The deposition of DOUGLAS M. McKENNEY,             ·3· · · · ·(230 South Dearborn Street, Room 3030,
·4· ·called for examination, taken pursuant to the                 ·4· · · · ·Chicago, Illinois· 60604-1505,
·5· ·Federal Rules of Civil Procedure of the United                ·5· · · · ·312-960-5612), by:
·6· ·States District Courts pertaining to the taking of            ·6· · · · ·MR. GUY G. WARD,
·7· ·depositions, taken before SUSAN K. TODAY, C.S.R.              ·7· · · · ·gward@ftc.gov,
·8· ·No. 84-2212, a Notary Public within and for the               ·8· · · · ·MR. SAMUEL A.A. LEVINE,
·9· ·County of DuPage, State of Illinois, and a                    ·9· · · · ·slevine1@ftc.gov,
10· ·Certified Shorthand Reporter of said state, at                10· · · · · · · appeared on behalf of the Plaintiff;
11· ·Suite 2800, 111 East Wacker Drive, Chicago,                   11
12· ·Illinois, on December 14, 2017, commencing at                 12· · · · ·COCHELL PC,
13· ·9:19 a.m.                                                     13· · · · ·(216 South Loop W, Suite 470,
14                                                                 14· · · · ·Houston, Texas· 77054,
15· · · · · · · · · *· *· *· *· *· *   *                           15· · · · ·346-800-3500), by:
16                                                                 16· · · · ·MR. STEPHEN R. COCHELL,
17                                                                 17· · · · ·srcochell@gmail.com,
18                                                                 18· · · · · · · appeared on behalf of the Defendants.
19                                                                 19
20                                                                 20· ·ALSO PRESENT:
21                                                                 21· · · · ·MR. MICHAEL BROWN.
22                                                                 22
23                                                                 23· ·REPORTED BY:· SUSAN K. TODAY, C.S.R., R.P.R.
24                                                                 24· · · · · · · · ·License No. 84-2212.


                                                          Page 4                                                           Page 5
·1· · · · · · · · · · · ·I N D E X                                 ·1· · · · · · · · · I N D E X· ·(Continued)
·2· ·WITNESS· · · · · · · · · · · · · · · · EXAMINATION            ·2· · · · · · · · · · · ·E X H I B I T S
·3· ·DOUGLAS M. McKENNEY                                           ·3· ·NUMBER· · · · · · · · · · · · · · · · MARKED FOR ID
·4· · · · ·By Mr. Cochell· · · · · · · · · · · ·6                  ·4· ·McKENNEY DEPOSITION EXHIBIT
·5                                                                 ·5· · · · ·No. 13· · · · · · · · · · · · · · · ·93
·6                                                                 ·6· · · · ·No. 14· · · · · · · · · · · · · · · ·95
·7                                                                 ·7· · · · ·No. 15· · · · · · · · · · · · · · · ·96
·8                                                                 ·8· · · · ·No. 16· · · · · · · · · · · · · · · 101
·9                                                                 ·9· · · · ·No. 17· · · · · · · · · · · · · · · 109
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11· ·NUMBER· · · · · · · · · · · · · · · · MARKED FOR ID           11· · · · ·No. 19· · · · · · · · · · · · · · · 113
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18· · · · ·No. 6· · · · · · · · · · · · · · · · 60                 18· · · · ·No. 26· · · · · · · · · · · · · · · 137
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20· · · · ·No. 8· · · · · · · · · · · · · · · · 75                 20· · · · ·No. 28· · · · · · · · · · · · · · · 143
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23· · · · ·No. 11· · · · · · · · · · · · · · · ·88                 23· · · · ·No. 31· · · · · · · · · · · · · · · 153
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FEDERAL TRADE COMMISSION vs CREDIT BUREAU CENTER                                                          Job 27222
Douglas McKenney                                                                                          Pages 6..9
                                                   Page 6                                                      Page 7
·1· · · · MR. COCHELL:· Swear the witness.                  ·1· ·investigator, is that correct, for the FTC?
·2· · · · · · · · · (WHEREUPON, the witness was duly        ·2· · · · A.· · Correct.
·3· · · · · · · · · ·sworn.)                                ·3· · · · Q.· · How long have you served in that
·4· · · · · · · · · · DOUGLAS M. McKENNEY,                  ·4· ·capacity?
·5· ·called as a witness herein, having been first duly     ·5· · · · A.· · It'll be 11 years in about a week or
·6· ·sworn, was examined and testified as follows:          ·6· ·two.
·7· · · · · · · · · · · ·EXAMINATION                        ·7· · · · Q.· · Okay.· I'll ask you this, sir:· What did
·8· ·BY MR. COCHELL:                                        ·8· ·you do in preparation for your deposition today?
·9· · · · Q.· · If you would, please state your full        ·9· · · · A.· · I reviewed my declarations, the three
10· ·name and business address for the record.              10· ·declarations that I have submitted in this case,
11· · · · A.· · It's Douglas Matthew McKenney.· And         11· ·and then also reviewed the transcript from my
12· ·business address is 230 South Dearborn in Chicago,     12· ·testimony at the PI hearing.
13· ·Illinois, 60604.                                       13· · · · Q.· · Okay.· And of course you were in
14· · · · Q.· · And what is your employment?                14· ·attendance at yesterday's deposition of CBC and
15· · · · A.· · I'm an investigator for the Federal         15· ·Michael Brown; is that correct?
16· ·Trade Commission.                                      16· · · · A.· · Correct.
17· · · · Q.· · Okay.· Is that like an official title,      17· · · · Q.· · Okay.· As an investigator, can you tell
18· ·investigator?                                          18· ·me what your duties are?
19· · · · A.· · Yes.                                        19· · · · A.· · My duties include investigating
20· · · · Q.· · Do they have like senior investigator or    20· ·companies or persons suspected of engaging in
21· ·junior investigator or investigator rank I, II,        21· ·deceptive business practices in violation of the
22· ·III, that sort of thing?                               22· ·FTC act and other rules or laws that the FTC
23· · · · A.· · No, I don't believe so.                     23· ·enforces.
24· · · · Q.· · Okay.· So it's just one position called     24· · · · Q.· · And how old are you, sir?
                                                   Page 8                                                      Page 9
·1· · · · A.· · I am 35.                                    ·1· ·it's sort of like an investigator-in-training
·2· · · · Q.· · Okay.· And with respect to your             ·2· ·position and it's a temporary position for -- that
·3· ·educational level, how far did you get in school?      ·3· ·can be renewed -- I'm sorry -- that can last up
·4· · · · A.· · I completed my Bachelor's degree in         ·4· ·until four years.· And from that position I was
·5· ·political science.                                     ·5· ·promoted to investigator.
·6· · · · Q.· · Okay.· Like probably most lawyers in the    ·6· · · · Q.· · And when did that occur?
·7· ·Bar.                                                   ·7· · · · A.· · In 2006.
·8· · · · · · · And after that did you attend any           ·8· · · · Q.· · So you served about a year and a half or
·9· ·further education?                                     ·9· ·up --
10· · · · A.· · No, I did not.                              10· · · · A.· · A little over two years as a paralegal
11· · · · Q.· · Where did you go to school?                 11· ·specialist.
12· · · · A.· · University of Nebraska in Lincoln.          12· · · · Q.· · All right.· And then as a paralegal
13· · · · Q.· · Okay.· So you were a Huskers fan?           13· ·specialist did you have any formal training to
14· · · · A.· · Yeah, unfortunately.                        14· ·perform that job?
15· · · · Q.· · Okay.· And were you born and raised in      15· · · · A.· · Yes.· The FTC -- typically we have an
16· ·Nebraska?                                              16· ·annual training session for investigators as well
17· · · · A.· · Yes.                                        17· ·as paralegals.· It's out in Washington, D.C.· And
18· · · · Q.· · Okay.· So how did you come to Chicago?      18· ·so, you know, I've gone to those trainings, you
19· · · · A.· · I was hired by the Federal Trade            19· ·know, throughout my career.
20· ·Commission as a paralegal specialist in 2004 when I    20· · · · Q.· · Okay.· How long do they last?
21· ·graduated college.                                     21· · · · A.· · Two to three days.
22· · · · Q.· · And so did you have any paralegal           22· · · · Q.· · Okay.· And then is there any -- so you
23· ·training?                                              23· ·would attend like training for the paralegals on an
24· · · · A.· · No.· The paralegal position isn't --        24· ·annual basis.· Was the training any different than

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Douglas McKenney                                                                                       Pages 10..13
                                                  Page 10                                                     Page 11
·1· ·for the investigators versus the paralegals?           ·1· · · · A.· · I've done training on how to analyze
·2· · · · A.· · It's the same.· Paralegals and              ·2· ·financial records in different sort of like -- at
·3· ·investigators are together.                            ·3· ·different times.· Those have been either as part of
·4· · · · Q.· · Okay.· And so other than that training      ·4· ·the annual investigator and paralegal training from
·5· ·during the time that you've been employed for the      ·5· ·Washington and I also did an online course recently
·6· ·FTC, have you had any other training in principles     ·6· ·on how to analyze financial records.
·7· ·of investigation or law enforcement?                   ·7· · · · Q.· · Okay.· With respect to capturing web
·8· · · · A.· · Yes, I have.                                ·8· ·systems -- I think that's what you said.
·9· · · · Q.· · Okay.· Tell me about that.                  ·9· · · · A.· · Website.
10· · · · A.· · The trainings that I have completed         10· · · · Q.· · Website, okay.· Right.· So how long did
11· ·cover -- have covered analyzing financial records,     11· ·that training last?· When did you have it?
12· ·which include bank documents, training on how to       12· · · · A.· · I think I've had it throughout my entire
13· ·capture websites, various software tools that we       13· ·duration at the agency.· I've been with the FTC for
14· ·use -- that the agency uses to either capture          14· ·a number of years to where we've used different
15· ·websites or to track like website traffic, training    15· ·software programs to capture websites.· New ones
16· ·on how to -- training on the FTC's complaint           16· ·get introduced so I'll have the training on the new
17· ·database, training on like how to conduct --           17· ·tools.
18· ·general trainings on how to conduct investigations.    18· · · · · · · It's sort of like this evolving process
19· · · · Q.· · Okay.· Anything else?                       19· ·of learning how to use the software programs to
20· · · · A.· · No.                                         20· ·capture websites.
21· · · · Q.· · Okay.· And with respect to trainings on     21· · · · Q.· · So as a new tool comes out, a new
22· ·analyzing financial records, can you tell me more      22· ·software application or program, you would take
23· ·about -- is that just like a one-day course or was     23· ·maybe an hour or two training or you'd speak with a
24· ·it a half-day course or multiple days?                 24· ·salesperson and they'd show you how to do it and
                                                  Page 12                                                     Page 13
·1· ·it's become more efficient over the years, is that     ·1· · · · A.· · I believe the program that we have is
·2· ·a fair statement, with these programs?                 ·2· ·Adobe Acrobat, the professional license.
·3· · · · A.· · The trainings would be about an hour or     ·3· · · · Q.· · Okay.· With respect to your training on
·4· ·two when we would have it.· There were follow-up       ·4· ·tracking of sites, what did you use in this case?
·5· ·trainings associated with that same product.· It       ·5· · · · A.· · I used -- the Internet browsers that I
·6· ·would also be an hour or two.                          ·6· ·used to view the websites have web developer tools.
·7· · · · · · · But yeah, the programs themselves, the      ·7· ·I believe it's usually if you just press F12 on the
·8· ·goal is to make our jobs easier.· So we're always      ·8· ·keyboard you can get to those tools that are built
·9· ·looking for programs that can accomplish the task      ·9· ·into the browser to where you can view tracking
10· ·and present the websites in a way that mirrors how     10· ·information, the cookies that are placed on the
11· ·we viewed them on the screen.                          11· ·computer as you're going through different
12· · · · Q.· · Sure.· Let me ask you this:· With           12· ·websites.
13· ·respect to this case what software applications did    13· · · · Q.· · Okay.· And so do you recall which
14· ·you use to capture websites?                           14· ·Internet browsers were at issue in this case?
15· · · · A.· · Used Adobe, Snagit, S-n-a-g-i-t, all one    15· · · · A.· · I used Internet Explorer and Mozilla
16· ·word.· Also used Camtasia, C-a-m-t-a-s-i-a.· Those     16· ·Firefox.· I may have used Google Chrome.· But
17· ·I believe are the three that I've used.                17· ·typically I'll use Internet Explorer and Mozilla
18· · · · Q.· · So you used Adobe, Snagit, and Camtasia?    18· ·Firefox.
19· · · · A.· · Yes.                                        19· · · · · · · With respect to viewing it on mobile
20· · · · Q.· · With respect to Adobe, is there a           20· ·devices, it would be -- if it's an iPhone, it would
21· ·particular version or specialized program like, you    21· ·be Safari, and also used Google Chrome on the
22· ·know, Adobe Acrobat Pro, for doing different           22· ·Galaxy -- the Samsung Galaxy cell phone we have.
23· ·functions?· Is there something specific that you       23· · · · Q.· · The FTC complaint database, can you tell
24· ·used?                                                  24· ·me about that?


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FEDERAL TRADE COMMISSION vs CREDIT BUREAU CENTER                                                         Job 27222
Douglas McKenney                                                                                       Pages 14..17
                                                  Page 14                                                     Page 15
·1· · · · A.· · Yes.· It's called Consumer Sentinel.        ·1· · · · Q.· · Okay.· Did you do a search in this case
·2· ·And the complaint database, it holds the complaints    ·2· ·for CBC and Michael Brown using Sentinel?
·3· ·that are reported directly to the FTC either by        ·3· · · · A.· · Just on those terms CBC and Michael
·4· ·phone, by mail, by -- or I'm sorry -- by consumers     ·4· ·Brown or other terms?
·5· ·who go directly to, like, the FTC's website to         ·5· · · · Q.· · Let's just start with those terms.
·6· ·report a complaint there.                              ·6· · · · A.· · Not on CBC, the acronym CBC.
·7· · · · · · · We also receive complaints from other       ·7· · · · Q.· · Okay.· Credit Bureau Center?
·8· ·government and regulatory agencies as well as like     ·8· · · · A.· · I may have.· I'm not -- I don't know if
·9· ·Better Business Bureaus will also feed complaints      ·9· ·I did on Credit Bureau Center.
10· ·into Consumer Sentinel.                                10· · · · Q.· · So how did you go about using Sentinel
11· · · · Q.· · With respect to Sentinel in this case,      11· ·in this case?· Can you describe that?
12· ·what -- did you do a search?· Is there like -- when    12· · · · A.· · I searched on complaints -- is there --
13· ·you do a search, it'll come back with a list of        13· ·I'm sorry.· Is there a certain time period that you
14· ·like all the hits.· Are you familiar with that         14· ·would like to know?
15· ·experience in Internet searching?                      15· · · · Q.· · Actually, let me just -- I'll save that
16· · · · A.· · Yes.· So if I run a search in Sentinel,     16· ·for a little bit later because I think it'll fit
17· ·I can use different words in order to bring out        17· ·with some other questions I have in mind.
18· ·different results, which would just give us a list     18· · · · A.· · Okay.
19· ·of the complaints that are in the system that match    19· · · · Q.· · Just to tie up what we are talking about
20· ·what I searched on.                                    20· ·with the investigative techniques that you used, or
21· · · · Q.· · So you can search by name, by company,      21· ·your educational background, you said you had some
22· ·is that correct, as well as other search terms?        22· ·training in how to conduct investigations.
23· · · · A.· · You can put in name, address, phone         23· · · · A.· · Uh-huh.
24· ·number, yeah.                                          24· · · · Q.· · I assume that there would be like maybe
                                                  Page 16                                                     Page 17
·1· ·an hour or maybe two hours of specific time devoted    ·1· · · · Q.· · I see.· So it's a very broad spectrum of
·2· ·at each annual session on how to conduct an            ·2· ·cases that may come up.· Like I always think of
·3· ·investigation or principles of investigation.· Is      ·3· ·funeral home cases where people have bought stuff
·4· ·that a fair statement?                                 ·4· ·from funeral -- like caskets and it turns out that
·5· · · · A.· · I would say it's more for the entirety      ·5· ·the casket doesn't have the right material.
·6· ·of the investigation where the trainings will cover    ·6· · · · · · · I mean, you would have training in those
·7· ·how to conduct an investigation on certain topics      ·7· ·sorts of categories, general categories of cases;
·8· ·of fraud that may be relevant at that specific time    ·8· ·is that fair to say?
·9· ·that the conference is being held.                     ·9· · · · A.· · Yes.
10· · · · Q.· · Sure.· So your training is on the broad     10· · · · Q.· · So when you conduct an investigation --
11· ·scope of all the cases or potential cases involving    11· ·well, let me sort of backtrack and go back to sort
12· ·deceptive and misleading practices.· So you might      12· ·of the format of how I typically do depositions.
13· ·have an Internet case, you might have, you know, a     13· · · · · · · I would like to find out a little bit
14· ·series of cases, or they might train you on -- what    14· ·more about your personal experience as well as the
15· ·kinds of things other than -- is everything related    15· ·training we've just discussed.
16· ·to the Internet or do you have specific subject        16· · · · · · · What have you -- is Chicago the only
17· ·matter areas that you are focusing on at like, say,    17· ·place that you've been stationed for the FTC?
18· ·your last annual seminar?                              18· · · · A.· · Yes.
19· · · · A.· · It can cover how to conduct a robo call     19· · · · Q.· · Okay.· And with respect to the trainings
20· ·investigation, Do Not Call enforcement, it can         20· ·that you have already mentioned today, have you had
21· ·cover Internet cases involving affiliate marketing,    21· ·any other training in law enforcement other than
22· ·CAN-SPAM Act cases.· It can cover advance fee loan     22· ·for the FTC?· Like have you been trained in
23· ·cases, general like telemarketing fraud, cross         23· ·criminal law enforcement?
24· ·border fraud cases as well.                            24· · · · A.· · No.


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FEDERAL TRADE COMMISSION vs CREDIT BUREAU CENTER                                                         Job 27222
Douglas McKenney                                                                                       Pages 18..21
                                                  Page 18                                                     Page 19
·1· · · · Q.· · Okay.· Do you hold any licenses as an       ·1· ·BY MR. COCHELL:
·2· ·investigator?                                          ·2· · · · Q.· · Okay.· Well, how do you -- with respect
·3· · · · A.· · No.                                         ·3· ·to cases, are you -- when you are assigned a case,
·4· · · · Q.· · Have you applied for any licenses as an     ·4· ·are these cases earmarked for potential litigation?
·5· ·investigator?                                          ·5· · · · MR. WARD:· Objection.· That's outside the
·6· · · · A.· · No.                                         ·6· ·scope of his duties.· I mean, he's an investigator.
·7· · · · Q.· · How many times have you had your            ·7· ·Whether or not --
·8· ·deposition taken?                                      ·8· ·BY MR. COCHELL:
·9· · · · A.· · I believe this is the second.               ·9· · · · Q.· · Let me ask it a different way.· Of the
10· · · · Q.· · Okay.· And with respect to your             10· ·cases that you're assigned, these four to eight
11· ·organization, within the FTC you are currently         11· ·cases, are there any cases that you've been
12· ·stationed in Chicago; is that correct?                 12· ·assigned that have not gone to litigation?
13· · · · A.· · Correct.                                    13· · · · A.· · In the history of my career with the
14· · · · Q.· · How many FTC investigators are in           14· ·FTC?
15· ·Chicago?                                               15· · · · Q.· · Let's talk about the last five years.
16· · · · A.· · Two more.· Two others.                      16· · · · A.· · I honestly don't know.
17· · · · Q.· · Okay.· And at any particular time how       17· · · · Q.· · Okay.
18· ·many cases are you investigating?                      18· · · · A.· · There are some cases that I work on as
19· · · · A.· · I would say between four to eight.          19· ·an investigator that are referred to other FTC
20· · · · Q.· · Are all of these -- how are these cases     20· ·offices.· So some cases -- some investigations that
21· ·assigned to you?                                       21· ·I may work on, I'm not sure if the ones that have
22· · · · MR. WARD:· Objection if you're going to get       22· ·been referred to other offices are ultimately
23· ·into internal discussions with Mr. McKenney.           23· ·brought to litigation -- or have been brought to
24                                                          24· ·litigation.
                                                  Page 20                                                     Page 21
·1· · · · Q.· · Sure.· As to the cases that you carry       ·1· ·BY THE WITNESS:
·2· ·and are concluded by you or in your office here, do    ·2· · · · A.· · I said I don't know.
·3· ·those typically go to litigation?                      ·3· ·BY MR. COCHELL:
·4· · · · A.· · Yes.                                        ·4· · · · Q.· · You don't know?
·5· · · · Q.· · Okay.· And as an investigator do you        ·5· · · · A.· · I don't know.
·6· ·have a separate chain of command, meaning separate     ·6· · · · Q.· · Okay.· Would you say that a high
·7· ·from the lawyers, the staff lawyers, that you work     ·7· ·percentage of those cases went to litigation?
·8· ·with?                                                  ·8· · · · A.· · Yes.
·9· · · · A.· · I report to an assistant regional           ·9· · · · Q.· · And again, for the last five years, when
10· ·director and the regional director.                    10· ·those cases went to litigation, did all of them
11· · · · Q.· · So the staff attorneys are colleagues       11· ·seek disgorgement of profits from companies or
12· ·during -- do you work with the staff attorneys         12· ·individuals?
13· ·during an investigation?                               13· · · · MR. WARD:· Objection; outside the scope of his
14· · · · A.· · Yes.                                        14· ·testimony.
15· · · · Q.· · So they are your colleagues; is that a      15· ·BY MR. COCHELL:
16· ·fair statement?                                        16· · · · Q.· · You can answer.
17· · · · A.· · Yes.                                        17· · · · A.· · I don't know.
18· · · · Q.· · Okay.· With respect to -- so in the last    18· · · · Q.· · Would you say that a high percentage of
19· ·five years, sitting here today, as to the cases you    19· ·the cases that go to litigation that you've
20· ·investigated here in Chicago and weren't referred      20· ·investigated in the last five years, would you say
21· ·out, all of those cases went to litigation; is that    21· ·there's a high percentage of those cases that seek
22· ·a fair statement?                                      22· ·disgorgement of profits from companies or
23· · · · MR. WARD:· Object to the form; misrepresents      23· ·individuals?
24· ·testimony.                                             24· · · · MR. WARD:· Objection; outside the scope of his

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    Case: 1:17-cv-00194 Document #: 206-6 Filed: 03/24/18 Page 8 of 82 PageID #:5310
FEDERAL TRADE COMMISSION vs CREDIT BUREAU CENTER                                                         Job 27222
Douglas McKenney                                                                                       Pages 22..25
                                                  Page 22                                                     Page 23
·1· ·testimony.                                             ·1· · · · A.· · Yes, we do.· We have a litigation
·2· ·BY MR. COCHELL:                                        ·2· ·support team in Washington that we will consult
·3· · · · Q.· · You can answer.                             ·3· ·with who can do a lot of the technical tasks that
·4· · · · A.· · I don't know.                               ·4· ·would either take up too much time or that I simply
·5· · · · Q.· · How many cases do you close a year over     ·5· ·do not know how to do.
·6· ·the last five years -- three to five years?· What's    ·6· · · · Q.· · With respect to the database in this
·7· ·your average?                                          ·7· ·case, was there a request by you or someone in your
·8· · · · MR. WARD:· Object to the form of the question;    ·8· ·office for the folks in Washington, D.C. to assist
·9· ·ambiguous.                                             ·9· ·you in acquiring data in a usable format from the
10· ·BY MR. COCHELL:                                        10· ·database that was turned over by CBC?
11· · · · Q.· · Do you understand the term close?           11· · · · MR. WARD:· Object to the form of the question;
12· · · · A.· · Can you, I guess, clarify what you mean     12· ·compound and potentially because you're getting
13· ·by close?                                              13· ·into the area of work product.
14· · · · Q.· · Yeah.· It's brought to a conclusion,        14· ·BY MR. COCHELL:
15· ·meaning a consent decree or a dismissal of some        15· · · · Q.· · Okay.· You can answer.
16· ·sort.                                                  16· · · · MR. WARD:· Well, that question you can answer.
17· · · · A.· · In a year?                                  17· ·BY THE WITNESS:
18· · · · Q.· · Yes, sir.                                   18· · · · A.· · Can you clarify which database you're
19· · · · A.· · Three to five maybe.                        19· ·referring to?
20· · · · Q.· · With respect to -- if you have a problem    20· ·BY MR. COCHELL:
21· ·in a case that involves acquiring data, do you have    21· · · · Q.· · Yes.· It's the one that's been sent to
22· ·resources in Washington or elsewhere to assist you     22· ·my office two times, what we refer to as the CBC
23· ·in accessing data in computers that -- or programs     23· ·database.
24· ·that have been turned over to the FTC?                 24· · · · A.· · The CRM?
                                                  Page 24                                                     Page 25
·1· · · · Q.· · I thought it was --                         ·1· ·of data and produced those in Excel spread sheets
·2· · · · A.· · The customer database?                      ·2· ·to where we could view them locally on our
·3· · · · Q.· · Yes.· Yeah.                                 ·3· ·machines.
·4· · · · A.· · I'm sorry.· What was the original           ·4· · · · Q.· · Okay.· And if I understand it correctly,
·5· ·question?                                              ·5· ·the information or the spread sheets that you
·6· · · · Q.· · The question is, was a request made to      ·6· ·received and have turned over in discovery do not
·7· ·assist you in acquiring data in a usable format        ·7· ·permit you to analyze revenue streams from
·8· ·from the CRM as you called it?                         ·8· ·particular affiliates or co-branding partners; is
·9· · · · A.· · Yes.· I don't have software on my           ·9· ·that correct, sir?
10· ·computer in my office that can actually view SQL       10· · · · MR. WARD:· Object to the form of the question;
11· ·files.· So I put in a request with the litigation      11· ·it assumes facts not in evidence.
12· ·support team in Washington to analyze the customer     12· ·BY MR. COCHELL:
13· ·database and essentially make sense of it or at        13· · · · Q.· · You can answer.
14· ·least tell me what is in the database.                 14· · · · A.· · The ones that we received from the
15· · · · Q.· · Okay.· And if I understand it correctly,    15· ·analyst cannot -- it cannot total the amount of
16· ·the end result of what you got was some spread         16· ·money made by particular affiliates.
17· ·sheets, specifically I believe eight spread sheets,    17· · · · Q.· · Okay.· Did you request the IT people in
18· ·that have been turned over in discovery in this        18· ·D.C. to try to analyze the revenue streams from
19· ·case?                                                  19· ·different sources of either affiliates or
20· · · · A.· · Yes.· The analyst who reviewed the SQL      20· ·co-branding partners?
21· ·file provided us with a list of tables that were       21· · · · MR. WARD:· Object to that.· That's work
22· ·contained within the customer database and from        22· ·product.
23· ·that list of tables identified ones that contained,    23· · · · MR. COCHELL:· I respectfully disagree.· I'm
24· ·you know, several rows of data and several columns     24· ·asking him about what he did in this case.· I think


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    Case: 1:17-cv-00194 Document #: 206-6 Filed: 03/24/18 Page 9 of 82 PageID #:5311
FEDERAL TRADE COMMISSION vs CREDIT BUREAU CENTER                                                         Job 27222
Douglas McKenney                                                                                       Pages 26..29
                                                  Page 26                                                     Page 27
·1· ·that's fair game.                                      ·1· · · · Q.· · So would you agree with me that there's
·2· · · · MR. WARD:· You're asking him to reveal            ·2· ·a fairly substantial industry that's developed
·3· ·specifically what the FTC is interested in looking     ·3· ·around credit reporting and monitoring services?
·4· ·at in its evidence and that's work product.            ·4· · · · MR. WARD:· Objection; outside the scope of his
·5· · · · MR. COCHELL:· Okay.· Well, I guess we'll agree    ·5· ·testimony and role in this case.
·6· ·to disagree.                                           ·6· ·BY THE WITNESS:
·7· ·BY MR. COCHELL:                                        ·7· · · · A.· · I don't know.
·8· · · · Q.· · So in any event, with respect to -- have    ·8· ·BY MR. COCHELL:
·9· ·you ever had a case where the FTC has gone to your     ·9· · · · Q.· · Okay.· Would it be fair to say that as
10· ·knowledge to an outside firm to analyze data in a      10· ·an investigator one of your goals is to identify
11· ·database or part of a program that was at issue in     11· ·all the individuals or companies that are
12· ·a case that the FTC brought?                           12· ·potentially culpable or who violated, you know, one
13· · · · A.· · I'm sorry.· Can you repeat the question     13· ·of the acts that the FTC enforces?
14· ·again?                                                 14· · · · A.· · Yes.
15· · · · Q.· · Yeah.· You know, has there ever been a      15· · · · Q.· · And so when you go into a case, you're
16· ·situation where the FTC has gone to an outside firm    16· ·looking for people who have, just to put it
17· ·with expertise to analyze a database to your           17· ·plainly, either made money that they shouldn't have
18· ·knowledge?                                             18· ·made or who have somehow benefitted from the
19· · · · A.· · Yes.                                        19· ·alleged deceptive or misleading practices; is that
20· · · · Q.· · Okay.· With respect to this kind of         20· ·correct, sir?
21· ·case, have you ever been involved in investigating     21· · · · A.· · Yes.
22· ·a case involving credit reporting and monitoring       22· · · · Q.· · And then part of the mission is to try
23· ·companies?                                             23· ·to obtain redress or financial compensation for
24· · · · A.· · No.· This is the first case.                24· ·consumers who were injured by these activities?
                                                  Page 28                                                     Page 29
·1· · · · MR. WARD:· Objection; outside the scope of his    ·1· ·correct?
·2· ·testimony and role in this case.                       ·2· · · · A.· · Correct.
·3· ·BY MR. COCHELL:                                        ·3· · · · Q.· · Okay.· With respect to this particular
·4· · · · Q.· · Is that one of your goals as an             ·4· ·case, when did you start the investigation in this
·5· ·investigator, to assist the FTC or to investigate      ·5· ·case?
·6· ·and find facts that support a case basically           ·6· · · · A.· · I believe March of 2016.
·7· ·against those individuals?                             ·7· · · · Q.· · Was that in early March or late March?
·8· · · · A.· · Yes.                                        ·8· · · · A.· · I don't know.
·9· · · · MR. WARD:· Same objection.                        ·9· · · · Q.· · Okay.· And what prompted you to start an
10· ·BY MR. COCHELL:                                        10· ·investigation?
11· · · · Q.· · With respect to your approach to            11· · · · MR. WARD:· Objection.· You're getting into an
12· ·investigation, is it fair to say that your job or      12· ·area of work product and law enforcement privilege
13· ·your role is to be objective and impartial in          13· ·and other privileges.
14· ·reviewing facts that you find in a case?               14· · · · MR. COCHELL:· Okay.· Are you directing the
15· · · · A.· · Yes.                                        15· ·witness not to answer?
16· · · · Q.· · You don't approach cases with a             16· · · · MR. WARD:· Well, it's -- I think you perhaps
17· ·predisposition a complaint has been made, therefore    17· ·could inquire about what type of things
18· ·there must be something wrong?· Is that your           18· ·Mr. McKenney looked at, all of which is in his
19· ·approach?· I mean, you never assume that somebody      19· ·declarations that have been filed in this case.
20· ·is guilty just because of a complaint being made,      20· · · · · · · But if you're going to ask about
21· ·correct?                                               21· ·internal discussions within the FTC where
22· · · · A.· · Correct.                                    22· ·Mr. McKenney was directed to do certain things or
23· · · · Q.· · Okay.· And you wait for the facts to be     23· ·not do certain things, that would be an area that's
24· ·discovered before you draw any conclusions; is that    24· ·privileged and I would direct him not to answer.

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FEDERAL TRADE COMMISSION vs CREDIT BUREAU CENTER                                                         Job 27222
Douglas McKenney                                                                                       Pages 30..33
                                                  Page 30                                                     Page 31
·1· ·BY MR. COCHELL:                                        ·1· ·to a company or to an individual to cease their
·2· · · · Q.· · Okay.· I guess what I'm trying to figure    ·2· ·activities?
·3· ·out is what facts did you initially start to           ·3· · · · A.· · Yes.· The cases weren't cease-and-desist
·4· ·investigate?· What is it that prompted you to          ·4· ·letters.· They were, I believe, referred to as
·5· ·investigate in this case?· Was there a specific        ·5· ·notice letters essentially saying we've looked
·6· ·complaint that was filed, a series of complaints?      ·6· ·maybe at your website or we -- you know, we noticed
·7· ·Did you talk to a consumer?· I mean, what was the      ·7· ·potential violations of, you know -- potential
·8· ·first thing that you actually did in this case to      ·8· ·violations or potential problems with your website
·9· ·investigate?                                           ·9· ·or language on your website.
10· · · · A.· · I learned of scams that were being --       10· · · · Q.· · How many times have you participated in
11· ·that were using Craigslist as the medium for           11· ·that sort of notice letter?
12· ·reaching out to consumers.· And based on that I        12· · · · MR. WARD:· Objection to the form.· It's
13· ·was -- I then searched in our Consumer Sentinel        13· ·ambiguous.
14· ·database and looked for complaints involving           14· ·BY MR. COCHELL:
15· ·Craigslist and came across complaints that had been    15· · · · Q.· · Do you understand the question?
16· ·filed against eFreeScore and CreditUpdates.· And       16· · · · A.· · So maybe two or three times.
17· ·there were a significant number of complaints that     17· · · · Q.· · Okay.· That's over the last five years?
18· ·prompted me to then look further at the comments       18· · · · A.· · Yes, I believe so.
19· ·that had been filed by the consumers in their          19· · · · Q.· · Okay.· And are you the individual that
20· ·complaints.                                            20· ·signs those notice letters or is that done by a
21· · · · Q.· · Okay.· So have you ever been -- in your     21· ·staff attorney?
22· ·capacity as an FTC investigator, have you ever been    22· · · · A.· · I do not sign the letters.· I don't
23· ·involved in the last five years, since 2012, in a      23· ·remember if it's the staff attorney or the, like,
24· ·case where the FTC sent a cease-and-desist letter      24· ·regional director of our office.
                                                  Page 32                                                     Page 33
·1· · · · Q.· · Okay.· And then the notice letters, do      ·1· ·BY THE WITNESS:
·2· ·they typically invite people to come in and talk       ·2· · · · A.· · I don't know.
·3· ·about their websites or try to resolve the             ·3· ·BY MR. COCHELL:
·4· ·situation short of litigation?                         ·4· · · · Q.· · Okay.· Sitting here today you can't
·5· · · · A.· · I don't remember.                           ·5· ·recall one way or the other?
·6· · · · Q.· · Have you ever been the investigator in      ·6· · · · A.· · Correct.
·7· ·an FTC case in the last five years where the FTC       ·7· · · · Q.· · Okay.· You think probably you've never
·8· ·went to court and simply asked the court to enjoin     ·8· ·had occasion to be in a case where they just seek
·9· ·deceptive and misleading practices without seeking     ·9· ·an injunction and nothing else?
10· ·other relief?                                          10· · · · MR. WARD:· Objection to the form,
11· · · · MR. WARD:· Objection; outside the scope of his    11· ·misrepresents the testimony.
12· ·testimony and role in this case.                       12· ·BY THE WITNESS:
13· ·BY MR. COCHELL:                                        13· · · · A.· · I don't know.
14· · · · Q.· · You can answer the question.                14· ·BY MR. COCHELL:
15· · · · A.· · Can you repeat the question?                15· · · · Q.· · Okay.· All right.· Do you have any --
16· · · · Q.· · Yeah.· I'm trying to find out if you've     16· ·are you required to adhere to any particular
17· ·ever been in a case where -- in the last five          17· ·policies or procedures regarding investigative
18· ·years -- where the FTC filed a federal action in       18· ·technique in certain cases?
19· ·federal court to enjoin deceptive and misleading       19· · · · MR. WARD:· Objection to the form of the
20· ·practices but did not seek damages, disgorgement, a    20· ·question; ambiguous.
21· ·receivership.                                          21· ·BY MR. COCHELL:
22· · · · MR. WARD:· Objection to the question being        22· · · · Q.· · Are you familiar with the U.S.
23· ·outside the scope of his testimony and role in this    23· ·Attorney's Office and U.S. Attorney's Manual?· Have
24· ·case.                                                  24· ·you ever seen or heard of it?

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FEDERAL TRADE COMMISSION vs CREDIT BUREAU CENTER                                                         Job 27222
Douglas McKenney                                                                                       Pages 34..37
                                                  Page 34                                                     Page 35
·1· · · · A.· · No.                                         ·1· · · · Q.· · Okay.
·2· · · · Q.· · Do you have like a manual or a set of       ·2· · · · A.· · -- and then went to the website from the
·3· ·documents that, like, you keep by your desk that       ·3· ·link that was presented in the landlord e-mail.
·4· ·the agency issues that says, hey, you know, in         ·4· · · · Q.· · Okay.· Anything else?
·5· ·a Section 5 case, you know, you should follow these    ·5· · · · A.· · I went to the various MyScore CBC
·6· ·particular policies and procedures in conducting       ·6· ·websites to capture those websites, both the main
·7· ·your investigation, or words to that effect?           ·7· ·websites as well as the landing pages from the
·8· · · · A.· · We have certain rules that govern like      ·8· ·landlord e-mail.
·9· ·how we can -- how we should conduct investigations     ·9· · · · Q.· · Did you actually sign up for the credit
10· ·maybe involving like social media practices or --      10· ·monitoring services on any of these websites?
11· ·you know, that's the one I can think of off the top    11· · · · A.· · I was able to sign up on the -- I think
12· ·of my head.· I know that there are other rules that    12· ·it's CreditScores123.com that was part of --
13· ·are in place for, you know, when to -- like how we     13· ·related to the contempt action.
14· ·can conduct undercover work, such as recording         14· · · · Q.· · Okay.
15· ·phone conversations, things of that nature.            15· · · · A.· · And I believe that's the Credit Data
16· · · · Q.· · Okay.· All right.· Did you perform any      16· ·Partners website.
17· ·undercover work in this case?                          17· · · · · · · I could not sign up on the MyScore
18· · · · A.· · Yes.                                        18· ·pages, which were CreditUpdates and eFreeScore,
19· · · · Q.· · Tell me about that.· What did you do?       19· ·because it asked for a Social Security number.
20· · · · A.· · I went to -- onto Craigslist and looked     20· · · · Q.· · Okay.· Have you ever yourself signed up
21· ·for ads that appeared to be related to this scheme     21· ·personally for a credit score or credit monitoring
22· ·I'll say and from that contacted the e-mail address    22· ·service?
23· ·on the Craigslist post and then received a reply       23· · · · MR. WARD:· Objection; outside the scope of his
24· ·back from the landlord --                              24· ·testimony and role in this case.· Mr. McKenney's
                                                  Page 36                                                     Page 37
·1· ·personal life is not at issue.                         ·1· ·outside the scope of Mr. McKenney's testimony and
·2· ·BY MR. COCHELL:                                        ·2· ·role in this case.
·3· · · · Q.· · You can answer the question.                ·3· ·BY MR. COCHELL:
·4· · · · A.· · I requested my credit reports from the      ·4· · · · Q.· · You can answer.
·5· ·free website, the annual CreditReport.com, and I've    ·5· · · · A.· · I'm fairly aware that these services are
·6· ·given permission to others to pull my credit score     ·6· ·out there based on the OPM.gov breach.
·7· ·relating to financial transactions, such as either     ·7· ·BY MR. COCHELL:
·8· ·applying for a credit card or for applying for a       ·8· · · · Q.· · Yeah.· With respect to this case, if I
·9· ·mortgage.                                              ·9· ·understand it correctly, your declarations contain
10· · · · Q.· · Sure.· But you've never gone to like        10· ·all of the websites that you were able to capture
11· ·Experian or like Credit Bureau Center or companies     11· ·involving eFreeScore or CreditUpdates?
12· ·like that and said I want to have a credit             12· · · · A.· · I'm sorry.· Can you repeat the question?
13· ·monitoring service and get alerts and get credit       13· · · · MR. COCHELL:· Why don't you read it back.
14· ·reports and all that?· You've never done that?         14· · · · · · · · · (WHEREUPON, the record was read
15· · · · MR. WARD:· Objection to the form;                 15· · · · · · · · · ·by the reporter as requested.)
16· ·misrepresents testimony.                               16· · · · MR. WARD:· Objection; assumes facts not in
17· ·BY THE WITNESS:                                        17· ·evidence.· His declaration says what it says. I
18· · · · A.· · Correct, I've never done it.                18· ·don't think it says that.· And if you want him to
19· ·BY MR. COCHELL:                                        19· ·testify about his declaration, maybe we should put
20· · · · Q.· · Okay.· You can understand how               20· ·it in front of him.
21· ·particularly in the last couple years people might     21· · · · MR. COCHELL:· I'm asking for the witness'
22· ·be interested in signing up for those monitoring       22· ·recollection.
23· ·services; is that a fair statement?                    23· · · · MR. WARD:· Well, you want him to recite back
24· · · · MR. WARD:· Objection to the question.· It's       24· ·to you what it's in his declaration filed with the

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Douglas McKenney                                                                                       Pages 38..41
                                                  Page 38                                                     Page 39
·1· ·court?                                                 ·1· · · · Q.· · Okay.· All right.· With respect to the
·2· · · · MR. COCHELL:· I'm asking him to answer a          ·2· ·negative option -- let me back up.
·3· ·question.· If he can answer it, he can answer it.      ·3· · · · · · · You heard testimony yesterday and I
·4· ·If he can't answer it, then he can't answer it.        ·4· ·think you've probably -- have you reviewed the
·5· ·BY MR. COCHELL:                                        ·5· ·pleadings in this case as they've been filed?
·6· · · · Q.· · You understand -- I mean, you were here     ·6· · · · A.· · Not all of them.
·7· ·when the so-called rules of depositions were taken.    ·7· · · · Q.· · In yesterday's testimony I believe
·8· ·If I ask a question that you don't understand, ask     ·8· ·Mr. Brown testified that the websites that were
·9· ·me to repeat it, which you've done.· If you would      ·9· ·referenced and attached to the FTC's complaint in
10· ·like me to rephrase it, I'll do that.· And if there    10· ·this case were activated on December 1, 2016.
11· ·is a question that you can't answer, just tell me      11· · · · MR. WARD:· Objection to the --
12· ·that.· Okay?· And that's without looking at a          12· ·BY MR. COCHELL:
13· ·document.                                              13· · · · Q.· · Do you recall that?
14· · · · A.· · Right.· My issue with answering the         14· · · · MR. WARD:· Objection to the question,
15· ·question is how you have phrased it.                   15· ·misrepresents the testimony.
16· · · · Q.· · Okay.                                       16· ·BY MR. COCHELL:
17· · · · A.· · Are you saying the -- as attached -- the    17· · · · Q.· · Do you recall that testimony?
18· ·websites that are attached to my declaration --        18· · · · A.· · I do but it's not 2016.· It's 2015.
19· · · · Q.· · Right.                                      19· · · · Q.· · Okay.· All right.· So those websites
20· · · · A.· · -- or are you saying --                     20· ·were activated December 1st of 2015, is that what
21· · · · Q.· · I mean, in your declaration did you         21· ·you're saying?
22· ·attach all the websites that you found for             22· · · · MR. WARD:· Objection.· It assumes facts not in
23· ·eFreeScore and CreditUpdates?                          23· ·evidence.
24· · · · A.· · No.                                         24· ·BY THE WITNESS:
                                                  Page 40                                                     Page 41
·1· · · · A.· · That's what the testimony was yesterday,    ·1· ·BY MR. COCHELL:
·2· ·was that it was December 2015 to January 2016.         ·2· · · · Q.· · Sure.· Did you ever determine when the
·3· ·BY MR. COCHELL:                                        ·3· ·websites that are referred to in the FTC complaint
·4· · · · Q.· · Okay.· Do you agree or disagree as to       ·4· ·were activated and were on the Internet available
·5· ·when those websites were activated from -- that you    ·5· ·to consumers?
·6· ·referred to -- that were referred to in the FTC        ·6· · · · A.· · Which websites?
·7· ·complaint?· When were they activated, the ones that    ·7· · · · Q.· · Okay.· Let's take a look at your
·8· ·are the subject of the complaint?                      ·8· ·complaint -- or not your complaint -- the FTC's
·9· · · · MR. WARD:· Objection to the form; lack of         ·9· ·complaint.
10· ·firsthand knowledge.                                   10· · · · · · · · · (WHEREUPON, a certain document was
11· ·BY MR. COCHELL:                                        11· · · · · · · · · ·marked McKenney Deposition Exhibit
12· · · · Q.· · If you know.                                12· · · · · · · · · ·No. 1, for identification, as of
13· · · · A.· · I don't know.· We began our                 13· · · · · · · · · ·12/14/2017.)
14· ·investigation in March of 2016.· I believe the         14· ·BY MR. COCHELL:
15· ·first time I went to one of the                        15· · · · Q.· · The complaint by the FTC in this case at
16· ·eFreeScore/CreditUpdates website was at the very       16· ·Paragraph I believe 11 -- no, wait a minute -- 21
17· ·end of March 2016.                                     17· ·refers to the Credit Bureau Center defendants'
18· · · · Q.· · So you've never tried to determine when     18· ·websites, including eFreeScore.com and
19· ·the websites were actually active -- activated?        19· ·CreditUpdates.com, which are allegedly materially
20· · · · MR. WARD:· Objection to the form; assumes         20· ·similar.
21· ·facts not in evidence.                                 21· · · · · · · Do you see that in Paragraph 21?
22· ·BY THE WITNESS:                                        22· · · · A.· · I see it on Page 21.
23· · · · A.· · Can you rephrase the question?              23· · · · Q.· · Okay.
24                                                          24· · · · A.· · I'm sorry --

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FEDERAL TRADE COMMISSION vs CREDIT BUREAU CENTER                                                         Job 27222
Douglas McKenney                                                                                       Pages 42..45
                                                  Page 42                                                     Page 43
·1· · · · Q.· · Page 8, Paragraph 21.                       ·1· ·are you making an objection?
·2· · · · A.· · I was confused.· Okay.                      ·2· · · · MR. WARD:· No.· Honestly, I want the
·3· · · · Q.· · So have you -- and then it shows the        ·3· ·question --
·4· ·eFreeScore -- on Paragraph 23 it shows the             ·4· · · · MR. COCHELL:· I know you want the question to
·5· ·eFreeScore.com landing page.                           ·5· ·be phrased a different way.
·6· · · · · · · Did you determine when this particular      ·6· · · · MR. WARD:· Well, you can't ask misleading
·7· ·Internet ad was activated and put on the Internet?     ·7· ·questions and suggest that there's something in
·8· · · · MR. WARD:· Objection to the form of the           ·8· ·Paragraph 23 that's not there.
·9· ·question; assumes facts not in evidence.               ·9· · · · MR. COCHELL:· I didn't refer to Paragraph 23.
10· ·BY THE WITNESS:                                        10· · · · MR. WARD:· Yes, you did.
11· · · · A.· · The first time I visited the website was    11· · · · MR. COCHELL:· I asked -- okay.· I'm not going
12· ·at the end of March 2016.                              12· ·to continue this.
13· ·BY MR. COCHELL:                                        13· ·BY MR. COCHELL:
14· · · · Q.· · Okay.· So you've never taken steps to       14· · · · Q.· · With respect to the CreditUpdates.com
15· ·see when it actually became active on the Internet     15· ·website that is the subject of this complaint, did
16· ·for consumers to see; is that fair to say?             16· ·you determine when that site was active on the web?
17· · · · A.· · Correct.                                    17· · · · MR. WARD:· Objection to the form of the
18· · · · Q.· · Okay.· And that would be true for the       18· ·question; ambiguous.
19· ·CreditUpdates.com website; is that correct, sir?       19· ·BY MR. COCHELL:
20· · · · MR. WARD:· Objection to the form of the           20· · · · Q.· · Answer the question, please, sir.
21· ·question.· You're talking about Paragraph 23 of the    21· · · · A.· · Can you specify as to which website
22· ·FTC's complaint?· These are mobile sites for one       22· ·you're referring to?
23· ·thing.                                                 23· · · · Q.· · Well, okay.
24· · · · MR. COCHELL:· Are you coaching the witness or     24· · · · A.· · Because -- I'm sorry.· Because there's
                                                  Page 44                                                     Page 45
·1· ·the desktop version and then there's the mobile        ·1· ·versus a -- for a mobile website -- a mobile
·2· ·version and then there's eFreeScore.com and then       ·2· ·version of a website versus a desktop version, do
·3· ·there's CreditUpdates.com.                             ·3· ·you know?
·4· · · · Q.· · Okay.· I think I used the term              ·4· · · · A.· · I don't know if you can determine an
·5· ·CreditUpdates.com.· Okay?                              ·5· ·activation date on a particular website.· What
·6· · · · A.· · Okay.                                       ·6· ·you're referring to are landing pages.
·7· · · · Q.· · Can you answer the question with that       ·7· · · · · · · During the course of the investigation
·8· ·information?                                           ·8· ·we -- I'm sorry -- I looked to see when the
·9· · · · A.· · On the desktop?                             ·9· ·CreditUpdates.com and eFreeScore.com domain names
10· · · · Q.· · On the desktop, yeah.                       10· ·were registered by a particular domain registrar,
11· · · · A.· · The first time I reviewed the site was      11· ·which would give me an activation date for when the
12· ·in March of -- late March 2016.                        12· ·domain names were actually registered.
13· · · · Q.· · So you did not -- my question though        13· · · · · · · But as far as like when the websites
14· ·is -- and let me just restate it.· Did you             14· ·came on line, I don't necessarily know if there's a
15· ·determine when this website became active and          15· ·way to determine that.
16· ·available to consumers on the Internet?                16· · · · Q.· · Okay.· When did you learn for the first
17· · · · MR. WARD:· Objection to the form of the           17· ·time that there was something called a white label
18· ·question; ambiguous.                                   18· ·business conducted by CBC?
19· ·BY THE WITNESS:                                        19· · · · MR. WARD:· Objection to the form of the
20· · · · A.· · I don't remember.                           20· ·question; assumes facts not in evidence.
21· ·BY MR. COCHELL:                                        21· ·BY MR. COCHELL:
22· · · · Q.· · Is there a difference between a             22· · · · Q.· · Go ahead.
23· ·website -- is there a difference in trying to          23· · · · A.· · After the -- I believe it was after the
24· ·determine the activation date for a mobile website     24· ·TRO filing.


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Douglas McKenney                                                                                       Pages 46..49
                                                  Page 46                                                     Page 47
·1· · · · Q.· · Okay.· And what did you do, if anything,    ·1· · · · MR. WARD:· Objection based on the work
·2· ·to determine if there was a white label business?      ·2· ·product.· It just concerns me that this is getting
·3· · · · MR. WARD:· Objection to the form of the           ·3· ·into the area of work product.
·4· ·question; ambiguous.                                   ·4· · · · MR. COCHELL:· I understand but I would like an
·5· ·BY THE WITNESS:                                        ·5· ·answer to my question.· Are you directing him not
·6· · · · A.· · I don't know.                               ·6· ·to answer?
·7· ·BY MR. COCHELL:                                        ·7· · · · MR. WARD:· This one you can answer.
·8· · · · Q.· · Did you do anything?                        ·8· ·BY THE WITNESS:
·9· · · · MR. WARD:· Same objection.                        ·9· · · · A.· · Can you -- sorry.· Can you repeat the
10· ·BY THE WITNESS:                                        10· ·question?
11· · · · A.· · I don't remember.                           11· · · · MR. COCHELL:· Repeat the question.
12· ·BY MR. COCHELL:                                        12· · · · · · · · · (WHEREUPON, the record was read
13· · · · Q.· · Okay.· With respect -- you've seen in --    13· · · · · · · · · ·by the reporter as requested.)
14· ·there is a contention by Mr. Brown that 55 percent     14· ·BY THE WITNESS:
15· ·of CBC's business was unrelated to Mr. Pierce's        15· · · · A.· · I have reviewed the Offerit database
16· ·activities.· Are you familiar with that contention?    16· ·which kept track of affiliate sales, and in that
17· · · · A.· · Yes.                                        17· ·database Danny Pierce's affiliate ID is contained
18· · · · Q.· · What have you done, if anything, to         18· ·within it as well as the number of sales that were
19· ·determine if that is accurate or inaccurate?           19· ·attributable to him as well as the other affiliates
20· · · · MR. WARD:· Objection; work product.               20· ·that were contained within that Offerit database.
21· ·BY MR. COCHELL:                                        21· · · · · · · After the filing -- the TRO filing we
22· · · · Q.· · Have you taken any steps to determine if    22· ·received access to the LinkTrust database and in
23· ·that's accurate or inaccurate, just to be clear for    23· ·that LinkTrust database obtained information as to
24· ·the record?                                            24· ·the number of sales that were attributable to the
                                                  Page 48                                                     Page 49
·1· ·affiliates contained within that database.             ·1· ·about the purpose and use of the LinkTrust
·2· ·BY MR. COCHELL:                                        ·2· ·database?
·3· · · · Q.· · And so there's something called a           ·3· · · · A.· · I sat in on Mr. Brown's testimony at the
·4· ·LinkTrust database; is that correct, sir?              ·4· ·PI hearing in which I believe he discussed the
·5· · · · A.· · Yes.                                        ·5· ·LinkTrust database as well as I believe the
·6· · · · Q.· · And do you have any information about       ·6· ·receiver did, Brick Kane -- B-r-i-c-k K-a-n-e -- I
·7· ·how many affiliates were listed in the LinkTrust       ·7· ·believe also discussed the LinkTrust database.
·8· ·database?                                              ·8· · · · Q.· · Prior to this lawsuit were you familiar
·9· · · · A.· · More than 50 I believe.                     ·9· ·with the practice by companies generally with
10· · · · Q.· · Okay.· And so less than 100 but more        10· ·co-branding Internet sites?
11· ·than 50; is that a fair statement?                     11· · · · A.· · Yes.
12· · · · A.· · I believe it's more -- I don't believe      12· · · · Q.· · What is co-branding?
13· ·it's within the range of 50 to 100.                    13· · · · MR. WARD:· Objection; outside the scope of his
14· · · · Q.· · Do you think it's more or less?             14· ·testimony in this case.
15· · · · A.· · I believe it's more.                        15· ·BY MR. COCHELL:
16· · · · Q.· · Okay.· But you don't know how much          16· · · · Q.· · Go ahead.
17· ·more -- how many more?                                 17· · · · A.· · It's where you would allow another
18· · · · A.· · Correct.                                    18· ·company to put their name on the front end of the
19· · · · Q.· · Okay.· Did you ever talk to anyone with     19· ·website but the services are actually provided by
20· ·personal knowledge of the use of the LinkTrust         20· ·the back-end company.
21· ·database to determine how that database was used by    21· · · · Q.· · And what is your understanding of the
22· ·CBC?                                                   22· ·term white label program?
23· · · · A.· · No, I did not talk personally to anyone.    23· · · · MR. WARD:· Objection; outside the scope of his
24· · · · Q.· · Do you have any information from anybody    24· ·testimony and role as a witness.


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FEDERAL TRADE COMMISSION vs CREDIT BUREAU CENTER                                                         Job 27222
Douglas McKenney                                                                                       Pages 50..53
                                                  Page 50                                                     Page 51
·1· ·BY MR. COCHELL:                                        ·1· ·or credit scores, it might come up with this sort
·2· · · · Q.· · Go ahead.                                   ·2· ·of document No. 2 where it has the hits, so to
·3· · · · A.· · I believe with white label you remove       ·3· ·speak, from the Internet for the search terms put
·4· ·all references to the back-end company.                ·4· ·in.
·5· · · · MR. COCHELL:· Why don't we take a break and I     ·5· · · · · · · You recognize this, right?
·6· ·will start back up in about five minutes or so.        ·6· · · · MR. WARD:· Objection to the form of the
·7· · · · · · · · · (WHEREUPON, a recess was had            ·7· ·question; it's ambiguous.
·8· · · · · · · · · ·from 10:32 a.m. to 10:41 a.m.)         ·8· ·BY MR. COCHELL:
·9· ·BY MR. COCHELL:                                        ·9· · · · Q.· · Do you recognize this sort of results
10· · · · Q.· · Mr. McKenney, I would like to just show     10· ·that you'd get if you were doing an Internet
11· ·you what has been marked as Exhibit 2 for              11· ·search?
12· ·identification and ask you, sir, if you recognize      12· · · · A.· · If I went onto Google and typed in "free
13· ·that document.                                         13· ·credit score," I would say that this looks like a
14· · · · · · · · · (WHEREUPON, a certain document was      14· ·Google search result page from that search.
15· · · · · · · · · ·marked McKenney Deposition Exhibit     15· · · · Q.· · Sure.· Okay.· Now, and this is typical
16· · · · · · · · · ·No. 2, for identification, as of       16· ·of -- let me just ask you this:· When you
17· · · · · · · · · ·12/14/2017.)                           17· ·investigate a case, this document, Exhibit 2, or a
18· ·BY MR. COCHELL:                                        18· ·Google search page, you're not looking to determine
19· · · · Q.· · I'm not saying that this is an official     19· ·whether the two or three or four lines for each
20· ·document of the FTC but it's for just illustrating     20· ·hit, so to speak -- like it says at the top
21· ·how searches are done.                                 21· ·"Registration - Discover Credit Scorecard" it has
22· · · · · · · Let me just represent to you that if        22· ·like three lines underneath it at the very top.· Do
23· ·someone put in search terms for credit score or        23· ·you see that?
24· ·some of the other terms that -- free credit report     24· · · · A.· · Yes.
                                                  Page 52                                                     Page 53
·1· · · · Q.· · Okay.· When you're investigating, you're    ·1· ·BY MR. COCHELL:
·2· ·not looking to see if there's any misleading           ·2· · · · Q.· · You can answer the question.
·3· ·information or deceptive information on the Google     ·3· · · · MR. WARD:· He's not testifying as to legal
·4· ·hit; you are looking -- you would access the actual    ·4· ·issues.· This has been covered in the preliminary
·5· ·website itself to determine if there's any             ·5· ·injunction hearing and the judge actually ruled on
·6· ·misleading information there; is that correct, sir?    ·6· ·some of these issues.
·7· · · · A.· · In other investigations that I have         ·7· · · · MR. COCHELL:· Please just give me your
·8· ·conducted I've looked at Google search result pages    ·8· ·objection rather than side bar.
·9· ·and looked at the words that are presented on the      ·9· ·BY MR. COCHELL:
10· ·page, like the key words, or possibly the -- what      10· · · · Q.· · Can you answer that question?
11· ·are referred to as like banner ads in the search       11· · · · A.· · Can you repeat the question?
12· ·results pages.                                         12· · · · Q.· · Let me put it a different way.· When you
13· · · · Q.· · Sure.                                       13· ·go to this sort of page, you're looking to --
14· · · · A.· · Those banner ads could contain deceptive    14· ·consumers are looking not to get the full deal
15· ·words.· But I would also then go to the particular     15· ·contained in two or three lines; they're looking to
16· ·website from the Google search results page to         16· ·see what's available and then they access the full
17· ·review that as well.                                   17· ·website; is that correct?
18· · · · Q.· · Well, in this sort of document -- or in     18· · · · MR. WARD:· Objection to the form of the
19· ·this sort of hits, so to speak, in Exhibit 2 you're    19· ·question; assumes facts not in evidence.· Also
20· ·not expecting to see a negative option disclosure;     20· ·outside the scope of his testimony and role in this
21· ·is that a fair statement?                              21· ·case.
22· · · · MR. WARD:· Objection to the form of the           22· · · · MR. COCHELL:· Okay.· That's not really an
23· ·question; outside the scope of his testimony as a      23· ·objection, a form objection.
24· ·witness.                                               24· · · · MR. WARD:· Well, I'm making a series of

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FEDERAL TRADE COMMISSION vs CREDIT BUREAU CENTER                                                         Job 27222
Douglas McKenney                                                                                       Pages 54..57
                                                  Page 54                                                     Page 55
·1· ·objections.                                            ·1· ·BY MR. COCHELL:
·2· · · · MR. COCHELL:· I know you're making it and it's    ·2· · · · Q.· · And ask you, sir, if you recognize that
·3· ·cluttering up the record.                              ·3· ·document.
·4· ·BY MR. COCHELL:                                        ·4· · · · A.· · I don't recognize this.
·5· · · · Q.· · So, sir --                                  ·5· · · · Q.· · Do you know if -- all right.· That's No.
·6· · · · MR. WARD:· You're trying to ask him what          ·6· ·3, Scorepull.com?
·7· ·consumers expect?                                      ·7· · · · A.· · Yes.
·8· ·BY MR. COCHELL:                                        ·8· · · · Q.· · Okay.· I would like to show you No. 4.
·9· · · · Q.· · Are you able to say -- have you ever        ·9· · · · · · · · · (WHEREUPON, a certain document was
10· ·seen a full negative option disclosure on this sort    10· · · · · · · · · ·marked McKenney Deposition Exhibit
11· ·of Google search, Exhibit 2?                           11· · · · · · · · · ·No. 4, for identification, as of
12· · · · MR. WARD:· Objection to the form of the           12· · · · · · · · · ·12/14/2017.)
13· ·question; ambiguous.                                   13· ·BY MR. COCHELL:
14· ·BY MR. COCHELL:                                        14· · · · Q.· · I show you Exhibit 4 for identification
15· · · · Q.· · Can you answer the question?· Have you      15· ·and ask you, sir, if you can identify that
16· ·ever seen one?                                         16· ·document.
17· · · · A.· · I don't know if I have.                     17· · · · A.· · It might be a website capture that I did
18· · · · Q.· · Okay.· I would like to show you Exhibit     18· ·from the eFreeScore.com website, but without a date
19· ·3 for identification.                                  19· ·or any sort of information about the file I can't
20· · · · · · · · · (WHEREUPON, a certain document was      20· ·say with certainty if it's something that I did or
21· · · · · · · · · ·marked McKenney Deposition Exhibit     21· ·not.
22· · · · · · · · · ·No. 3, for identification, as of       22· · · · Q.· · Fair enough.· With respect to -- there
23· · · · · · · · · ·12/14/2017.)                           23· ·is an allegation in the complaint that mobile sites
24                                                          24· ·for -- I'll give you a specific paragraph to look
                                                  Page 56                                                     Page 57
·1· ·at.· Do you have the complaint there?                  ·1· ·other why it didn't have it?
·2· · · · A.· · Yes.                                        ·2· · · · A.· · I can't say why the mobile version of
·3· · · · Q.· · Okay.· You've made distinctions or there    ·3· ·the website rendered differently than on the
·4· ·are distinctions in the complaint between mobile       ·4· ·desktop.
·5· ·and desktop applications, is that correct, sir, as     ·5· · · · Q.· · Okay.· Do you know what percentage of
·6· ·to the nature of the allegations for violations of     ·6· ·customers signed up for membership through a mobile
·7· ·the act?                                               ·7· ·application?
·8· · · · A.· · Distinctions between the what?· The         ·8· · · · A.· · I don't know.
·9· ·mobile and desktop websites?                           ·9· · · · Q.· · Okay.· Would you -- never mind.
10· · · · Q.· · Yes.                                        10· · · · · · · Now, there was testimony yesterday and
11· · · · A.· · Yes.                                        11· ·there are apparently letters or e-mails that were
12· · · · Q.· · One of the distinctions is that the         12· ·sent by Mr. Pierce's organization to potential
13· ·mobile website did not contain a negative option       13· ·customers.· Do you recall that testimony?
14· ·disclosure on the landing pages.                       14· · · · A.· · Yes.
15· · · · MR. WARD:· Objection; assumes facts not in        15· · · · Q.· · Let me just show you what has been
16· ·evidence.                                              16· ·marked as Exhibit 5.
17· ·BY THE WITNESS:                                        17· · · · · · · · · (WHEREUPON, a certain document was
18· · · · A.· · On Page 1 of the landing page for the       18· · · · · · · · · ·marked McKenney Deposition Exhibit
19· ·mobile captures it did not contain the seven-day       19· · · · · · · · · ·No. 5, for identification, as of
20· ·trial and the cost of the monthly membership on        20· · · · · · · · · ·12/14/2017.)
21· ·Page 1 of the landing page.                            21· ·BY MR. COCHELL:
22· ·BY MR. COCHELL:                                        22· · · · Q.· · Do you recognize that document?
23· · · · Q.· · And that was because the mobile site was    23· · · · A.· · Yes.
24· ·partially cut off, or do you know one way or the       24· · · · Q.· · And this has some control numbers DE3.


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   Case: 1:17-cv-00194 Document #: 206-6 Filed: 03/24/18 Page 17 of 82 PageID #:5319
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Douglas McKenney                                                                                       Pages 58..61
                                                  Page 58                                                     Page 59
·1· ·Do you know what DE stands for?                        ·1· · · · Q.· · Okay.· So customers reviewing this
·2· · · · A.· · No, I don't.                                ·2· ·document would know that they cannot get a -- they
·3· · · · Q.· · Do you know how many customers received     ·3· ·cannot submit a credit report from a free site; is
·4· ·this version of this e-mail?                           ·4· ·that correct?
·5· · · · A.· · No.                                         ·5· · · · MR. WARD:· Objection; form and lack of
·6· · · · Q.· · And inviting your attention to the          ·6· ·personal knowledge.
·7· ·portion of the document with the paragraph             ·7· ·BY THE WITNESS:
·8· ·starting, "When you are ready to schedule a tour,      ·8· · · · A.· · I don't know what a consumer would
·9· ·please not that you are responsible for the            ·9· ·expect.
10· ·following."                                            10· ·BY MR. COCHELL:
11· · · · · · · Do you see that?                            11· · · · Q.· · Okay.· And you don't know how many of
12· · · · A.· · No, I don't.                                12· ·the consumers who are -- who signed up for the
13· · · · Q.· · In the middle of the page, the fourth       13· ·service actually got this particular version of
14· ·paragraph down.· Okay.· Do you see that?               14· ·this e-mail, correct?
15· · · · A.· · Okay.· Yeah.                                15· · · · A.· · I don't know if this e-mail was ever
16· · · · Q.· · Then underneath it there's a bullet,        16· ·sent.· At the bottom -- it just says "name" at the
17· ·"Your updated credit report that you can find          17· ·very bottom of it, so it suggests that it could be
18· ·here.· This is a soft pull so it will not affect       18· ·a draft.
19· ·your credit score.· We require a recent credit         19· · · · Q.· · Okay.· Fair enough.· I would like to
20· ·report no matter what situation.· This is not          20· ·show you what has been marked as Exhibit 6 for
21· ·negotiable and we do not accept from those free        21· ·identification and ask you, sir, if you recognize
22· ·sites."                                                22· ·that document.
23· · · · · · · Do you see that?                            23
24· · · · A.· · Yes.                                        24
                                                  Page 60                                                     Page 61
·1· · · · · · · · · (WHEREUPON, a certain document was      ·1· · · · Q.· · Yeah.
·2· · · · · · · · · ·marked McKenney Deposition Exhibit     ·2· · · · A.· · There were additional text below this
·3· · · · · · · · · ·No. 6, for identification, as of       ·3· ·along with the picture of a woman.· And I
·4· · · · · · · · · ·12/14/2017.)                           ·4· ·believe if we reviewed Exhibit 1 of the -- if we
·5· ·BY MR. COCHELL:                                        ·5· ·reviewed the complaint, it contains what the bottom
·6· · · · Q.· · Do you recognize this, sir?                 ·6· ·half of the page looks like.
·7· · · · A.· · I don't recognize this specific             ·7· · · · Q.· · Okay.· Well, let's take a look at this
·8· ·printout.· To me it looks like it could be             ·8· ·one.· This appears similar but maybe not identical.
·9· ·CreditUpdates' website, the CreditUpdates website.     ·9· ·Is that a fair -- would you agree with that?
10· · · · Q.· · Okay.                                       10· · · · A.· · Which one are you referring to?
11· · · · A.· · And it says January 18, 2017.· So it was    11· · · · Q.· · Exhibit 6.
12· ·from after the TRO was filed.                          12· · · · A.· · In comparison to what?
13· · · · Q.· · Okay.· Let me ask you this:· With           13· · · · Q.· · I guess, you know, I'm looking at the
14· ·respect to the -- so this looks -- are you able to     14· ·complaint and Exhibit 1 of the complaint looks
15· ·say based on your investigation that this appears      15· ·pretty identical to me.· Can you see this
16· ·to be the CreditUpdates website?                       16· ·(indicating)?· And this is for eFreeScore and it's
17· · · · A.· · I mean, it looks sort of similar to the     17· ·virtually identical to Exhibit 6.
18· ·ones that I reviewed but it's only the top half of     18· · · · · · · So I'm referring to Deposition Exhibit 1
19· ·the page.· It doesn't contain any of the other         19· ·and Exhibit 1 attached to the complaint, Exhibit 1.
20· ·portion of the -- like the bottom half of the page.    20· · · · MR. WARD:· Objection to the form of the
21· ·So yeah, I can't say with certainty.                   21· ·question; assumes facts not in evidence.
22· · · · Q.· · Okay.· So what's the bottom half of the     22· ·BY THE WITNESS:
23· ·page that you think is missing?                        23· · · · A.· · I mean, the trial period in Exhibit 1 is
24· · · · A.· · That I think is missing?                    24· ·different.· It's a seven-day trial.· This one says


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   Case: 1:17-cv-00194 Document #: 206-6 Filed: 03/24/18 Page 18 of 82 PageID #:5320
FEDERAL TRADE COMMISSION vs CREDIT BUREAU CENTER                                                         Job 27222
Douglas McKenney                                                                                       Pages 62..65
                                                  Page 62                                                     Page 63
·1· ·14-day trial.                                          ·1· ·Exhibit 1, when I captured the website I did so
·2· ·BY MR. COCHELL:                                        ·2· ·using the screen capture program.· That's why you
·3· · · · Q.· · Okay.· But you were referring to a          ·3· ·see the URL at the top of the page.· And so this
·4· ·picture -- you were saying this is only half of the    ·4· ·is -- sorry.· Just to clarify, this is Exhibit 1 of
·5· ·document.· So I'm a little perplexed.· So if you       ·5· ·Exhibit 1 of the deposition.
·6· ·could just clarify in fact Deposition Exhibit 6 has    ·6· · · · MR. WARD:· No.· Of the complaint.
·7· ·the same format although it may not have some of       ·7· · · · THE WITNESS:· I'm sorry.· Exhibit 1 of the
·8· ·the same dates as Exhibit 1 to Deposition Exhibit      ·8· ·complaint, yeah, which is Exhibit 1.
·9· ·1.                                                     ·9· · · · MR. WARD:· Sorry.
10· · · · MR. WARD:· Objection to the form of the           10· · · · MR. COCHELL:· No problem.
11· ·question; assumes facts not in evidence and it's       11· ·BY THE WITNESS:
12· ·ambiguous.                                             12· · · · A.· · Whereas this here (indicating) appears
13· ·BY THE WITNESS:                                        13· ·to be if you just went in and did a print from the
14· · · · A.· · If you go to Exhibit 2 of the complaint,    14· ·browser.· So this would be -- I assume that there's
15· ·which is Exhibit 1 of this deposition but Exhibit 2    15· ·probably more pages to this than what's given here.
16· ·of the complaint, it has what I was discussing.        16· ·BY MR. COCHELL:
17· ·BY MR. COCHELL:                                        17· · · · Q.· · You're talking about Deposition Exhibit
18· · · · Q.· · Okay.· But Exhibit 1 to Deposition          18· ·6?
19· ·Exhibit 1 appears to be very similar but for the       19· · · · A.· · Yes.
20· ·dates to Deposition Exhibit 6?                         20· · · · Q.· · Okay.· Let's just go back to Exhibit 1.
21· · · · MR. WARD:· Objection; form, ambiguous.            21· ·I mean, this particular screen capture, I guess it
22· ·BY THE WITNESS:                                        22· ·all depends on whether -- what a consumer can see
23· · · · A.· · I mean, I think the size of Exhibit 6 is    23· ·and what they can't see is dependent on the size of
24· ·larger than what's presented with Exhibit 1.· With     24· ·their screen, right?
                                                  Page 64                                                     Page 65
·1· · · · A.· · It's not dependent on the size of the       ·1· ·CreditUpdates.com site; is that correct?
·2· ·screen.· It's dependent on the setting on the          ·2· · · · MR. WARD:· Objection; assumes facts not in
·3· ·browser for how far zoomed in it is, if it's at 100    ·3· ·evidence; misrepresents the prior testimony.
·4· ·percent or if it's 200.· They could have the           ·4· ·BY THE WITNESS:
·5· ·content on the screen blown up larger or smaller       ·5· · · · A.· · It's the first page that they come to if
·6· ·and capture this.· This is done at 100 percent.        ·6· ·they're referred from the landlord e-mail, the link
·7· · · · Q.· · Okay.· So you're saying this is 100         ·7· ·that's contained in the landlord e-mail.
·8· ·percent, but if you were on a larger screen you can    ·8· ·BY MR. COCHELL:
·9· ·see it better, can't you?                              ·9· · · · Q.· · All right.· So you agree with me this is
10· · · · A.· · I don't know.· Maybe.                       10· ·the first thing they see?
11· · · · Q.· · All right.· So let's just go back to        11· · · · MR. WARD:· Objection.· Same objection.
12· ·Exhibit 6.· This talks about a 14-day trial that       12· ·BY THE WITNESS:
13· ·ends February 1st, 2017.· Do you see that, that        13· · · · A.· · This version of -- well, I can't say
14· ·section?                                               14· ·specifically this page because this is done on
15· · · · A.· · Yes.                                        15· ·January 18th, 2017, which is after the court
16· · · · Q.· · Okay.· And then it talks about a monthly    16· ·filing, the TRO filing in the case.
17· ·membership of 29.94, which is automatically charged    17· ·BY MR. COCHELL:
18· ·after the trial, correct?                              18· · · · Q.· · Okay.· With respect to -- now, let me
19· · · · A.· · Yes.                                        19· ·ask you something.· The size of the font, do you
20· · · · Q.· · And then for questions or to cancel just    20· ·have any sense of what the size of the font is for
21· ·call 800-720-6627; is that correct?                    21· ·the three parts of the "14-day trial," "monthly
22· · · · A.· · Correct.                                    22· ·membership," "for questions"?· I mean, do you know
23· · · · Q.· · And this is the first page that             23· ·what size font was entered?
24· ·consumers see when they access the                     24· · · · A.· · No, I do not.

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Douglas McKenney                                                                                       Pages 66..69
                                                  Page 66                                                     Page 67
·1· · · · Q.· · Okay.· And I note that there's -- "Free     ·1· · · · A.· · Are you looking at -- I'm sorry.· Can
·2· ·Credit Score" is in a lighter color than the rest      ·2· ·you repeat?
·3· ·of the banner saying "Get Your Free Credit Score       ·3· · · · Q.· · Deposition Exhibit 6, second page of the
·4· ·and Report as of January 18, 2017."                    ·4· ·document.· That would be the next page that they
·5· · · · MR. WARD:· Objection.· There is no color on       ·5· ·would access if they were interested in pursuing
·6· ·Exhibit 6.                                             ·6· ·membership?
·7· · · · MR. COCHELL:· It's a lighter color than the       ·7· · · · A.· · Yes.· If the consumer puts their name,
·8· ·rest of the banner.                                    ·8· ·e-mail, ZIP, and selected the "Your Score Now"
·9· ·BY MR. COCHELL:                                        ·9· ·button, they would be taken to Page -- a page
10· · · · Q.· · And is that correct or not?                 10· ·similar to this.
11· · · · A.· · When I viewed the websites, the "Free       11· · · · Q.· · Okay.· Now, if you're on a mobile site,
12· ·Credit Score" was an orange color, like a dark         12· ·the consumer is able to enlarge the print while
13· ·orange color.                                          13· ·filling out the form; is that correct?· They can
14· · · · Q.· · So it's in a distinctive different color    14· ·enlarge the screen so they can read it easier or
15· ·than "Get Your"..."And Report As of" the date?         15· ·more easily?
16· · · · MR. WARD:· Objection to the form of the           16· · · · A.· · Yes.· I mean, you can increase the size
17· ·question; ambiguous.                                   17· ·by using your fingers to enlarge the text on the
18· ·BY MR. COCHELL:                                        18· ·page, yes.
19· · · · Q.· · Isn't that correct, sir?                    19· · · · Q.· · Okay.· And then the text appears before
20· · · · A.· · Yes.                                        20· ·they create their user name and password on this
21· · · · Q.· · All right.· So the consumer then goes to    21· ·particular form, Page 2 of Deposition Exhibit 6; is
22· ·the next page which talks about privacy and            22· ·that correct?
23· ·security are 100 percent protected; is that            23· · · · A.· · Correct.
24· ·correct?                                               24· · · · Q.· · Okay.· Then if they completed that page,
                                                  Page 68                                                     Page 69
·1· ·then they would go to the next page; is that           ·1· ·scope of his testimony.· He is not testifying as a
·2· ·correct, sir?                                          ·2· ·legal expert.
·3· · · · MR. WARD:· Objection; lack of foundation.         ·3· · · · MR. COCHELL:· Fair enough.
·4· ·BY THE WITNESS:                                        ·4· ·BY MR. COCHELL:
·5· · · · A.· · Yes.· They would go to a page similar to    ·5· · · · Q.· · Going on to the next page, that would be
·6· ·this.                                                  ·6· ·Social Security information and month, date, and
·7· ·BY MR. COCHELL:                                        ·7· ·year in the next page of Deposition Exhibit 6,
·8· · · · Q.· · Okay.· And then once completing that        ·8· ·correct, sir?
·9· ·page -- well, let me ask you this:· Where it says      ·9· · · · A.· · Yes, correct.
10· ·at the very bottom "Payment Information," it           10· · · · Q.· · And then that would complete the
11· ·states, "When you place your order here, you will      11· ·process, is that correct, for signing up if you
12· ·begin your membership in CreditUpdates.com.· You       12· ·know?
13· ·will be billed 29.95 every month you continue your     13· · · · A.· · I don't know.
14· ·membership.· If you wish to cancel, just call us at    14· · · · Q.· · Okay.· Fair enough.· Any other pages to
15· ·(800) 720-6627 to stop your membership."               15· ·this particular document that you've got there,
16· · · · · · · That's what it says on this form,           16· ·Deposition Exhibit 6?
17· ·correct?                                               17· · · · · · · Okay.· Let me show you the next one in
18· · · · A.· · That's what it says on this page, yes.      18· ·order, assuming I can find it.· This would be No. 7
19· · · · Q.· · And then it says "Submit and Continue"?     19· ·I believe.
20· · · · A.· · That's what it says on this page, yes.      20· · · · · · · · · (WHEREUPON, a certain document was
21· · · · Q.· · And this would be consistent with the       21· · · · · · · · · ·marked McKenney Deposition Exhibit
22· ·disclosure requirements in ROSCA; is that correct,     22· · · · · · · · · ·No. 7, for identification, as of
23· ·sir?                                                   23· · · · · · · · · ·12/14/2017.)
24· · · · MR. WARD:· Objection.· That's outside the         24

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FEDERAL TRADE COMMISSION vs CREDIT BUREAU CENTER                                                         Job 27222
Douglas McKenney                                                                                       Pages 70..73
                                                  Page 70                                                     Page 71
·1· ·BY MR. COCHELL:                                        ·1· · · · A.· · (Indicating).
·2· · · · Q.· · Do you recognize that document?             ·2· · · · Q.· · Okay.· That's good.
·3· · · · A.· · Yes.                                        ·3· · · · · · · So in this particular document people
·4· · · · Q.· · Okay.· And have you seen other documents    ·4· ·are advised immediately -- do you know what the
·5· ·similar to Deposition Exhibit 7 during your            ·5· ·timing of these were?· Were they sent the same day
·6· ·investigation?                                         ·6· ·as the signup?· Were they sent sometime after?
·7· · · · MR. WARD:· Object to form; ambiguous.             ·7· · · · MR. WARD:· Object to the form, vague.
·8· ·BY MR. COCHELL:                                        ·8· ·BY THE WITNESS:
·9· · · · Q.· · You can answer.                             ·9· · · · A.· · I believe with this particular consumer
10· · · · A.· · I have seen the welcome to                  10· ·it was sent, you know, within a day.
11· ·CreditUpdates.com or eFreeScore.com e-mails from a     11· ·BY MR. COCHELL:
12· ·couple other consumers.                                12· · · · Q.· · Okay.· And so depending on their trial
13· · · · Q.· · Okay.· Did you determine whether this       13· ·period, whether it's 7 or 14 days or longer, they
14· ·was a routine business practice of Credit Bureau       14· ·would get this -- as far as you know as an
15· ·Center?                                                15· ·investigator, a consumer would get this notice,
16· · · · MR. WARD:· Objection; lack of firsthand           16· ·Deposition Exhibit 7, within a day of signing up?
17· ·knowledge.                                             17· · · · MR. WARD:· Object to the question; it
18· ·BY MR. COCHELL:                                        18· ·misrepresents his testimony.
19· · · · Q.· · As an investigator, did you conclude        19· ·BY MR. COCHELL:
20· ·that this was a regular business practice of CBC?      20· · · · Q.· · Is that fair or not?
21· · · · A.· · I did not make a conclusion as to that.     21· · · · A.· · You know, I can speak about just this
22· · · · Q.· · Okay.· All right.· I notice that that       22· ·particular consumer.
23· ·one -- does that have the color in it for              23· · · · Q.· · Okay.· Fair enough.· Would it surprise
24· ·CreditUpdates?                                         24· ·you to know that it was sent promptly within a day
                                                  Page 72                                                     Page 73
·1· ·of somebody signing up, Exhibit 7, or something        ·1· ·updated credit report and score, credit score?
·2· ·similar to it?                                         ·2· · · · A.· · I'm sorry.· Can you repeat the question?
·3· · · · MR. WARD:· Object to the form; calls for          ·3· · · · Q.· · Yeah.· If somebody got signed up for the
·4· ·conjecture.                                            ·4· ·service, for a credit report or a credit score, did
·5· ·BY THE WITNESS:                                        ·5· ·they get the service if they requested it?
·6· · · · A.· · Again, I can speak about this particular    ·6· · · · MR. WARD:· Objection; lack of firsthand
·7· ·consumer, that they received it because I actually     ·7· ·knowledge.
·8· ·spoke to the consumer.                                 ·8· ·BY THE WITNESS:
·9· ·BY MR. COCHELL:                                        ·9· · · · A.· · You know, I don't know.
10· · · · Q.· · Okay.· So in this case at least as far      10· ·BY MR. COCHELL:
11· ·as this consumer is concerned, this consumer was       11· · · · Q.· · So sitting here today, you have no facts
12· ·advised that she would get daily monitoring and        12· ·that suggested that people did not receive their
13· ·e-mail alerts to her credit report, she could          13· ·service if they requested it from CBC?
14· ·review the factors that went into her credit score,    14· · · · MR. WARD:· Object to the form of the question.
15· ·get an updated credit report, and have access to       15· ·It's ambiguous.
16· ·coupons and discount?                                  16· · · · · · · Do you want him to review all his
17· · · · MR. WARD:· Objection; lack of firsthand           17· ·testimony in this case?
18· ·knowledge.                                             18· · · · MR. COCHELL:· No.· I want him to give me an
19· ·BY MR. COCHELL:                                        19· ·answer based on what he knows sitting here today as
20· · · · Q.· · Is that correct, sir?                       20· ·an investigator in this case.
21· · · · A.· · That's what it says in this e-mail.         21· ·BY THE WITNESS:
22· · · · Q.· · All right.· And let me ask you this: I      22· · · · A.· · I spoke to a consumer who received an
23· ·mean, do you have any facts or do you know of any      23· ·e-mail alert about his report.· I'm not sure if --
24· ·facts that people didn't get own requests and          24· ·you know, I don't know if consumers received the


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Douglas McKenney                                                                                       Pages 74..77
                                                  Page 74                                                     Page 75
·1· ·credit score or the credit report.                     ·1· ·capacity as an investigator, no."
·2· ·BY MR. COCHELL:                                        ·2· · · · · · · Did you ever send any correspondence to
·3· · · · Q.· · All right.· So let me just sort of recap    ·3· ·CBC in either a personal or investigative capacity
·4· ·here.· As the investigator in this case, you don't     ·4· ·regarding the Fair Credit Reporting Act?
·5· ·know one way or the other what the business            ·5· · · · A.· · No.
·6· ·practice was by CBC with respect to the welcoming      ·6· · · · Q.· · Okay.· And you have no personal interest
·7· ·consumers to membership at CBC?· You don't know        ·7· ·in this case; you've never signed up for CBC's
·8· ·whether they sent letters like Deposition Exhibit 7    ·8· ·services or have any relatives that signed up for
·9· ·as a regular business practice?· You don't know one    ·9· ·it; is that correct?
10· ·way or the other, correct?                             10· · · · A.· · I have personally not signed for CBC
11· · · · A.· · Correct.                                    11· ·services.· I can't speak as to my relatives.
12· · · · Q.· · All you can do is say I have one or two     12· · · · Q.· · You don't know one way or the other?
13· ·examples of this and that's all I can testify to,      13· · · · A.· · I don't.
14· ·correct?                                               14· · · · Q.· · Okay.· Fair enough.· With respect to
15· · · · A.· · Correct.· That I have firsthand             15· ·some of the ads in this case -- pardon me.· I would
16· ·knowledge of.                                          16· ·like to show you No. 8 for identification and ask
17· · · · Q.· · Okay.· All right.· At the PI hearing,       17· ·you, sir, if you recognize that document, or that
18· ·the preliminary injunction hearing, you                18· ·type of document.
19· ·testified -- let me just -- I'm happy to show you      19· · · · · · · · · (WHEREUPON, a certain document was
20· ·the testimony if you want to see it, but you were      20· · · · · · · · · ·marked McKenney Deposition Exhibit
21· ·asked the question by Mr. Zini, "Did you ever send     21· · · · · · · · · ·No. 8, for identification, as of
22· ·any correspondence to CBC regarding the Fair Credit    22· · · · · · · · · ·12/14/2017.)
23· ·Reporting Act?"· You answered, "Did I personally?"     23· ·BY THE WITNESS:
24· ·Question, "Yes."· And then your answer was, "In my     24· · · · A.· · Yes, I do recognize this.
                                                  Page 76                                                     Page 77
·1· ·BY MR. COCHELL:                                        ·1· ·ads that came -- that were listed on Pierce's
·2· · · · Q.· · Okay.· What do you recognize it to be?      ·2· ·website that people started complaining about,
·3· · · · A.· · A Craigslist ad for an ad that I located    ·3· ·correct?
·4· ·for the Austin, Texas, area for a supposed house       ·4· · · · MR. WARD:· Objection to the form of the
·5· ·that was available for rent that was posted in the     ·5· ·question; assumes facts not in evidence.
·6· ·Austin, Texas, area.                                   ·6· ·BY MR. COCHELL:
·7· · · · Q.· · Okay.· And does this -- on its face does    ·7· · · · Q.· · Do you understand the question?
·8· ·this ad look fake to you?                              ·8· · · · A.· · I don't understand what you mean by
·9· · · · A.· · No.                                         ·9· ·Pierce's websites.
10· · · · Q.· · Do you know if this listing was -- is       10· · · · Q.· · Well, he had a website that was
11· ·this one of the Pierce postings on -- that he had      11· ·different from CBC's website, correct?
12· ·on his website that consumers responded to?            12· · · · A.· · That wasn't Pierce's website.
13· · · · A.· · Can you repeat the question, or clarify?    13· · · · Q.· · Whose was it?
14· · · · Q.· · Yeah.· Do you know if one of the            14· · · · A.· · It was Michael Brown's page.· It was on
15· ·consumers, you know, that are involved -- that         15· ·eFreeScore.com and CreditUpdates.com, which are
16· ·became members of CBC were -- saw this ad on the       16· ·Michael Brown's pages.
17· ·Pierce website?· Do you know one way or the other?     17· · · · Q.· · Are you saying that these particular
18· · · · A.· · I don't know if a consumer saw this         18· ·ads, like Exhibit 8, appeared on CBC's website?
19· ·particular Craigslist ad.                              19· · · · A.· · No.· This is from Craigslist.
20· · · · Q.· · But this is very similar to the             20· · · · Q.· · This is from Craigslist, right?
21· ·Craigslist ads that they saw, correct?                 21· · · · A.· · Right.
22· · · · A.· · Yes.                                        22· · · · Q.· · Maybe I had it wrong.· If I did, I
23· · · · Q.· · Okay.· Now, generally speaking, I mean,     23· ·apologize.
24· ·when you investigated these claims, you saw similar    24· · · · · · · And these were posted by Mr. Pierce,


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                                                  Page 78                                                     Page 79
·1· ·correct, or his company?                               ·1· ·declaration that was submitted with the TRO where I
·2· · · · A.· · Correct.                                    ·2· ·discuss a website DN.net which contained
·3· · · · Q.· · Okay.· And with respect to these            ·3· ·descriptions of properties as well as photos of
·4· ·particular ads, do you know if Mr. Pierce copied       ·4· ·various properties in which it appeared that they
·5· ·these listings from the MLS?· Do you have any facts    ·5· ·were combining elements of the descriptions and
·6· ·that lead to a conclusion one way or the other?        ·6· ·piecing it together in one ad to make sort of like
·7· · · · A.· · With this particular example, no.· I did    ·7· ·a fake listing -- or a listing about a fake
·8· ·find other Craigslist ads where the text of the        ·8· ·property.
·9· ·property description also matched other                ·9· · · · · · · And then I also located ads on
10· ·descriptions of property on other like real estate     10· ·Craigslist where the text of the property
11· ·websites.                                              11· ·description was pulled from other real estate
12· · · · Q.· · All right.· With respect to the -- so       12· ·websites.
13· ·based on your investigation you don't know where       13· · · · Q.· · All right.· I would like to show you
14· ·Mr. Pierce got the information for Exhibit 8,          14· ·what has been marked as Deposition Exhibit 9 for
15· ·Deposition Exhibit 8; is that a fair statement?        15· ·identification and ask you, sir, if you recognize
16· · · · A.· · Can you repeat the question?                16· ·that document.
17· · · · Q.· · Okay.· We talked about similar              17· · · · · · · · · (WHEREUPON, a certain document was
18· ·Craigslist ads.· And you don't know where              18· · · · · · · · · ·marked McKenney Deposition Exhibit
19· ·Mr. Pierce got the information for the postings        19· · · · · · · · · ·No. 9, for identification, as of
20· ·themselves, whether they're from MLS or he just        20· · · · · · · · · ·12/14/2017.)
21· ·invented this stuff out of thin air?· Do you know      21· ·BY THE WITNESS:
22· ·one way or the other?                                  22· · · · A.· · Yes.
23· · · · A.· · Some of the information was pulled -- I     23· ·BY MR. COCHELL:
24· ·was able to find a website which was in my             24· · · · Q.· · Okay.· And this is DE6.· What does DE
                                                  Page 80                                                     Page 81
·1· ·stand for, if you know?                                ·1· ·suggesting to Danny Pierce?
·2· · · · A.· · I don't know.                               ·2· · · · MR. WARD:· Object to the form; lack of
·3· · · · Q.· · Okay.· At the top it says "Forward" for     ·3· ·firsthand knowledge.
·4· ·the subject.· Then is says "From:· Frazier Trug,       ·4· ·BY MR. COCHELL:
·5· ·fraziertrug@gmail.com."                                ·5· · · · Q.· · If you know.
·6· · · · · · · Do you know who Frazier Trug was?           ·6· · · · A.· · I don't know.
·7· · · · A.· · They're e-mails that were produced by       ·7· · · · Q.· · Have you seen other e-mails like that
·8· ·Andrew Lloyd, L-l-o-y-d.                               ·8· ·during your investigation?
·9· · · · Q.· · All right.· So Frazier Trug is Andrew       ·9· · · · A.· · It seems pretty similar to the ones
10· ·Lloyd?                                                 10· ·that were sent to me in my capacity as an
11· · · · A.· · I believe it's an e-mail account that he    11· ·investigator, the ones that I was sent based on my
12· ·either set up or had control of.                       12· ·undercover work.· But there are variations on the
13· · · · Q.· · Okay.· And this is to                       13· ·landlord e-mail, which is what I would refer to
14· ·awlprofit@outlook.com.· Is that referring to           14· ·this as.
15· ·Andrew W. Lloyd Profit.· Is that Andrew Lloyd          15· · · · Q.· · What variations do you see here that you
16· ·basically?                                             16· ·think are important?
17· · · · A.· · I believe so, yes.                          17· · · · A.· · I mean, the wording would change between
18· · · · Q.· · And then you have below that Frazier        18· ·the various landlord e-mails.
19· ·Trug, October 16, 2015, at 12:26 p.m. to               19· · · · Q.· · Okay.· And so there's no way to really
20· ·danny@revable.com.· Is that Danny Pierce?              20· ·characterize how many -- strike that.
21· · · · A.· · Yes.                                        21· · · · · · · On its face an e-mail like this does not
22· · · · Q.· · Do you know why that was sent to him?       22· ·indicate that there's a fraudulent scheme afoot; is
23· · · · A.· · No, I don't.                                23· ·that correct?· Would you agree with that?
24· · · · Q.· · Is this a format that Mr. Lloyd was         24· · · · MR. WARD:· Objection; outside the scope of his


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   Case: 1:17-cv-00194 Document #: 206-6 Filed: 03/24/18 Page 23 of 82 PageID #:5325
FEDERAL TRADE COMMISSION vs CREDIT BUREAU CENTER                                                         Job 27222
Douglas McKenney                                                                                       Pages 82..85
                                                  Page 82                                                     Page 83
·1· ·testimony and role in this case.                       ·1· ·look at it, correct?· A consumer wouldn't know that
·2· ·BY MR. COCHELL:                                        ·2· ·one way or the other?
·3· · · · Q.· · Looking at this document -- let me          ·3· · · · MR. WARD:· Objection; lack of firsthand
·4· ·rephrase it a little bit.· There's nothing on its      ·4· ·knowledge.
·5· ·face that says this isn't a legitimate -- if this      ·5· ·BY THE WITNESS:
·6· ·were done by someone other than Danny Pierce, it       ·6· · · · A.· · They wouldn't know that this person
·7· ·wouldn't suggest to you that there's something --      ·7· ·wasn't in fact the landlord?
·8· ·there's a fraud involved in this document, fair        ·8· ·BY MR. COCHELL:
·9· ·statement?                                             ·9· · · · Q.· · Right.· Well, you certainly wouldn't
10· · · · MR. WARD:· Same objection.                        10· ·know it if you just got this e-mail as part
11· ·BY THE WITNESS:                                        11· ·of a service; you wouldn't know one way or the
12· · · · A.· · Are you asking --                           12· ·other whether the landlord existed or not,
13· ·BY MR. COCHELL:                                        13· ·correct?
14· · · · Q.· · Let me ask a different way.· Is there       14· · · · A.· · Correct.
15· ·anything illegal or is there a violation at least      15· · · · Q.· · Okay.· You're aware, of course, that
16· ·from an investigative standpoint of referring          16· ·businesses use e-mail templates in responding to
17· ·somebody to get a credit report?                       17· ·consumers?
18· · · · MR. WARD:· Objection; outside the scope of his    18· · · · A.· · Yes.
19· ·testimony and role as a witness.                       19· · · · Q.· · There's nothing illegal about the use of
20· ·BY THE WITNESS:                                        20· ·a template; is that correct?
21· · · · A.· · I mean, they're pretending to be the        21· · · · MR. WARD:· Objection.· It's outside the scope
22· ·landlord of the property.                              22· ·of his testimony and role as a witness in this
23· ·BY MR. COCHELL:                                        23· ·case.
24· · · · Q.· · Okay.· But you wouldn't know that to        24
                                                  Page 84                                                     Page 85
·1· ·BY MR. COCHELL:                                        ·1· · · · · · · · · (WHEREUPON, a certain document was
·2· · · · Q.· · Is that correct, sir?· I'm not talking      ·2· · · · · · · · · ·marked McKenney Deposition Exhibit
·3· ·about the substance of it but in this country          ·3· · · · · · · · · ·No. 10, for identification, as of
·4· ·people are allowed to use e-mail templates in          ·4· · · · · · · · · ·12/14/2017.)
·5· ·communicating with consumers, correct?                 ·5· ·BY MR. COCHELL:
·6· · · · A.· · Correct.                                    ·6· · · · Q.· · I ask you, sir, if you recognize that
·7· · · · Q.· · All right.· Now, if somebody responds to    ·7· ·document.
·8· ·a Craigslist ad and attempts to contact a              ·8· · · · A.· · I haven't seen this before.
·9· ·landlord -- in this case for example, there's a lot    ·9· · · · Q.· · Okay.· Have you seen e-mails like this?
10· ·of complaints that landlords didn't respond to         10· ·Well, let me say, this is addressed to Guy Ward; is
11· ·e-mails, correct?                                      11· ·that correct?
12· · · · MR. WARD:· Objection; assumes facts not in        12· · · · A.· · Yes.
13· ·evidence.                                              13· · · · Q.· · And I guess maybe I should be asking
14· ·BY THE WITNESS:                                        14· ·Mr. Ward these questions as opposed to you.
15· · · · A.· · A lot of the complaints say that when       15· · · · · · · With respect to -- all right.· You can
16· ·the consumer -- after going to the website, when       16· ·put that to the side.
17· ·they tried to reply back to the landlord to let        17· · · · · · · I guess Mr. Ward was involved in the
18· ·them know that they had got a copy of their credit     18· ·investigation in this case?
19· ·report and credit score and they were trying to set    19· · · · MR. WARD:· Objection; work product.
20· ·up to schedule a tour they did not receive a           20· ·BY MR. COCHELL:
21· ·response back from the landlord.                       21· · · · Q.· · We'll strike that question.
22· ·BY MR. COCHELL:                                        22· · · · · · · Let's just talk about the interplay --
23· · · · Q.· · Let me show you what has been marked as     23· ·or let's just talk about consumers who were
24· ·Exhibit 9 for identification.                          24· ·complaining that a landlord didn't respond to their

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FEDERAL TRADE COMMISSION vs CREDIT BUREAU CENTER                                                         Job 27222
Douglas McKenney                                                                                       Pages 86..89
                                                  Page 86                                                     Page 87
·1· ·phone calls.· You saw complaints about that,           ·1· · · · MR. WARD:· I'm sorry.
·2· ·correct?                                               ·2· ·BY MR. COCHELL:
·3· · · · MR. WARD:· Objection; assumes facts not in        ·3· · · · Q.· · Let me rephrase it.· Did you in your
·4· ·evidence.                                              ·4· ·investigation ever contact a property owner of a
·5· ·BY THE WITNESS:                                        ·5· ·property that was listed in any of the Craigslist
·6· · · · A.· · Not phone calls.· E-mails.· There was no    ·6· ·ads by Mr. Pierce?
·7· ·phone number provided for the landlord for a           ·7· · · · A.· · I spoke with the consumer who wasn't the
·8· ·consumer to call.                                      ·8· ·property owner but was renting a house in
·9· ·BY MR. COCHELL:                                        ·9· ·Baton Rouge, Louisiana, whose address was -- the
10· · · · Q.· · Fair enough.· Okay.· And so you did see     10· ·property that they were renting was listed in an
11· ·complaints about people that didn't get a response     11· ·ad, a Danny Pierce ad.
12· ·from a landlord by e-mail to their inquiries,          12· · · · MR. COCHELL:· Move to strike as unresponsive.
13· ·right?                                                 13· ·BY MR. COCHELL:
14· · · · A.· · To clarify, they received the initial       14· · · · Q.· · My question to you, sir, was, did you
15· ·response from -- they received the initial landlord    15· ·talk to any property owners on any of the
16· ·e-mail.· But when they then followed up to let the     16· ·Craigslist ads used by Mr. Pierce?
17· ·landlord know that they had got a copy of their        17· · · · A.· · No.
18· ·credit report, they did not receive a response         18· · · · Q.· · Did you attempt to do so?
19· ·back.                                                  19· · · · A.· · Most of the ads did not contain an
20· · · · Q.· · Okay.· Thank you.· Would it be -- is it     20· ·actual -- a physical address.· So it would be
21· ·unusual for landlords not to respond to applicants     21· ·impossible to contact those property owners.
22· ·when they get an e-mail from --                        22· · · · Q.· · Right.· And it would have been equally
23· · · · MR. WARD:· Objection; lack of foundation.         23· ·impossible for Mr. Brown to do that as well as you?
24· · · · MR. COCHELL:· I've not finished my question.      24· · · · MR. WARD:· Objection; lack of foundation;
                                                  Page 88                                                     Page 89
·1· ·assumes facts not in evidence.                         ·1· · · · · · · By the way, Mr. Levine, I apologize for
·2· ·BY MR. COCHELL:                                        ·2· ·not having more copies but this is almost more
·3· · · · Q.· · If you found it impossible to contact a     ·3· ·copies of stuff that I can handle solo on a trip
·4· ·property owner based on the ads that -- Craigslist     ·4· ·away from my own office.
·5· ·ads posted by Mr. Pierce, if you found it              ·5· · · · MR. LEVINE:· No problem.
·6· ·impossible, wouldn't Mr. Brown have found it           ·6· ·BY MR. COCHELL:
·7· ·impossible to do so on the same information that       ·7· · · · Q.· · I show you what has been marked as
·8· ·you had available, correct?                            ·8· ·Deposition Exhibit 11.· Do you recognize that
·9· · · · A.· · Correct.                                    ·9· ·document?
10· · · · MR. COCHELL:· Okay.· Why don't we take a          10· · · · · · · I'll represent to you that we got this
11· ·break.· I guess we're getting close to lunch but       11· ·in discovery.· And as I think you know and the
12· ·let me do a few more documents before we break.        12· ·lawyers know, a lot of documents were not Bates
13· · · · MR. WARD:· You mean break and then --             13· ·stamped with FTC stamps because of the need to get
14· · · · MR. COCHELL:· Continue for another half hour      14· ·the documents to us and the amount of data that was
15· ·or so.                                                 15· ·being provided to us.
16· · · · · · · · · (WHEREUPON, a recess was had            16· · · · · · · But subject to that, I mean, if you
17· · · · · · · · · ·from 11:45 a.m. to 11:52 a.m.)         17· ·subsequently have a concern as to the authentic
18· · · · · · · · · (WHEREUPON, a certain document was      18· ·nature of this, then we can deal with it then.· But
19· · · · · · · · · ·marked McKenney Deposition Exhibit     19· ·let me represent to you that that's where we got
20· · · · · · · · · ·No. 11, for identification, as of      20· ·this stuff.
21· · · · · · · · · ·12/14/2017.)                           21· · · · · · · Are you familiar with a guy named George
22· ·BY MR. COCHELL:                                        22· ·Barcelo?
23· · · · Q.· · I show you what has been marked as          23· · · · A.· · Yes.
24· ·Deposition Exhibit 11.                                 24· · · · Q.· · Do you know who he is?


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FEDERAL TRADE COMMISSION vs CREDIT BUREAU CENTER                                                         Job 27222
Douglas McKenney                                                                                       Pages 90..93
                                                  Page 90                                                     Page 91
·1· · · · A.· · I know that he resides in Washington        ·1· ·BY MR. COCHELL:
·2· ·state and I know that Andrew Lloyd paid George         ·2· · · · Q.· · If someone provides leads, do you know
·3· ·Barcelo some money.· And as to what service he was     ·3· ·how the industry works, or how it worked in this
·4· ·actually providing to Mr. Lloyd I don't know.          ·4· ·case?
·5· · · · Q.· · Okay.· So do you know if he was -- did      ·5· · · · A.· · I think the invoice is vague in saying
·6· ·you ever talk to Mr. Barcelo?                          ·6· ·unique leads.· And I don't know specifically what
·7· · · · A.· · Me personally, no.                          ·7· ·Mr. Barcelo is invoicing Andrew Lloyd for.
·8· · · · Q.· · Did anyone from the FTC to your             ·8· · · · Q.· · Okay.· And with respect -- did you ever
·9· ·knowledge talk to Mr. Barcelo?                         ·9· ·talk personally to Mr. Lloyd?
10· · · · A.· · I don't know.                               10· · · · A.· · No.
11· · · · Q.· · Okay.· And do you know how much money       11· · · · Q.· · Have you ever asked to talk to Mr. Lloyd
12· ·Mr. Barcelo was paid by Andrew Lloyd?                  12· ·pursuant to his cooperation clause in the consent
13· · · · A.· · Not specifically.· I know that it was       13· ·order?
14· ·over $100,000 but I don't know beyond that how         14· · · · A.· · No.
15· ·much.                                                  15· · · · Q.· · Okay.· Do you know if anyone else has?
16· · · · Q.· · Okay.· I'll show you some documents to      16· · · · A.· · I don't know.
17· ·refresh your memory.                                   17· · · · Q.· · Okay.· Let me show you what has been
18· · · · · · · Now, No. 11 talks about unique leads.       18· ·marked as Exhibit -- do you know if Mr. Barcelo is
19· ·Did you see that?· That's what he was being paid       19· ·related to something called Gutierrez Enterprise,
20· ·for, unique leads?                                     20· ·Inc.?
21· · · · A.· · Yes.                                        21· · · · A.· · I mean, the invoice -- I believe George
22· · · · Q.· · How does this business work with leads?     22· ·Barcelo is related to Gutierrez Enterprises -- or
23· · · · MR. WARD:· Objection; lack of foundation,         23· ·Enterprise, Inc., but I believe his name isn't on
24· ·ambiguous.                                             24· ·the corporate paper for that company.
                                                  Page 92                                                     Page 93
·1· · · · · · · · · (WHEREUPON, a certain document was      ·1· · · · Q.· · Did you ever make an attempt to figure
·2· · · · · · · · · ·marked McKenney Deposition Exhibit     ·2· ·that out?
·3· · · · · · · · · ·No. 12, for identification, as of      ·3· · · · A.· · I never spoke to Christopher Lloyd.
·4· · · · · · · · · ·12/14/2017.)                           ·4· · · · Q.· · Okay.· Fair enough.· I would like to
·5· ·BY MR. COCHELL:                                        ·5· ·show you another document.
·6· · · · Q.· · Let me show you Exhibit 12.· Let me         ·6· · · · · · · · · (WHEREUPON, a certain document was
·7· ·represent to you this is a document pulled from        ·7· · · · · · · · · ·marked McKenney Deposition Exhibit
·8· ·discovery provided by the FTC.                         ·8· · · · · · · · · ·No. 13, for identification, as of
·9· · · · · · · And it says subject "To:                    ·9· · · · · · · · · ·12/14/2017.)
10· ·Owner@profitsuccess.com."· Do you know who owns        10· ·BY MR. COCHELL:
11· ·that or who owns that e-mail?                          11· · · · Q.· · I show you what has been marked as
12· · · · A.· · I believe it's Andrew Lloyd.                12· ·Deposition Exhibit 13 and ask you, sir, if you
13· · · · Q.· · Okay.· So it says Gutierrez Enterprise,     13· ·recognize that document.
14· ·Inc., $118,882.25, correct?                            14· · · · A.· · I don't recognize this specific
15· · · · A.· · Correct.                                    15· ·document.
16· · · · Q.· · It says Christopher Lloyd, 19,950.· Do      16· · · · Q.· · Okay.· Let me represent to you that this
17· ·you know who Christopher Lloyd is?                     17· ·is discovery we got from the FTC.· Would it be fair
18· · · · A.· · Yes.· I believe he's Andrew Lloyd's         18· ·to say that you may have this document in your
19· ·brother.                                               19· ·possession, you're just not aware of it?
20· · · · Q.· · I see.· Do you have any facts that          20· · · · A.· · Yes.
21· ·suggest that Andrew Lloyd was part of -- if            21· · · · Q.· · So would it surprise you to know that
22· ·Christopher Lloyd was working in tandem with Andrew    22· ·Mr. Barcelo received $636,704.25 from Mr. Lloyd
23· ·Lloyd in posting the fake Craigslist ads?              23· ·either directly or through Gutierrez Enterprises?
24· · · · A.· · I don't know.                               24· · · · A.· · I'm not certain as to the precise total.

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Douglas McKenney                                                                                       Pages 94..97
                                                  Page 94                                                     Page 95
·1· ·There was Eric Barcelo, George Barcelo, and then       ·1· ·way or the other, right?
·2· ·Gutierrez Enterprises that all received wire           ·2· · · · A.· · No.· I calculated it at one time.· As I
·3· ·transfers from Andrew Lloyd.                           ·3· ·sit here today, I don't know the number off the top
·4· · · · Q.· · Okay.· And sitting here today you don't     ·4· ·of my head how much money they received.
·5· ·know exactly why $600,000-plus were paid by            ·5· · · · Q.· · Okay.· That's fine.· But if it was
·6· ·Mr. Lloyd to Mr. Barcelo or Gutierrez Enterprises;     ·6· ·$600,000, that would be a surprise to you if you
·7· ·is that correct?                                       ·7· ·calculated it, looked at the invoices?· 600,000 is
·8· · · · A.· · Yeah, I don't know the exact reason for     ·8· ·a lot more than 100 or 150,000, right?
·9· ·why they were paying.· I have assumptions but I        ·9· · · · A.· · What's the question?
10· ·don't have the exact sort of reason for like why       10· · · · Q.· · If you can't answer it, that's fine.
11· ·Andrew Lloyd was paying all that money to him.         11· · · · · · · All right.· Let's go to this.
12· · · · Q.· · Do you know or -- sitting here today,       12· · · · · · · · · (WHEREUPON, a certain document was
13· ·would it be fair to say that you're surprised at       13· · · · · · · · · ·marked McKenney Deposition Exhibit
14· ·the amount of money that was transferred to            14· · · · · · · · · ·No. 14, for identification, as of
15· ·Mr. Barcelo and Gutierrez Enterprises from             15· · · · · · · · · ·12/14/2017.)
16· ·Mr. Lloyd?                                             16· ·BY MR. COCHELL:
17· · · · A.· · As I said before, I know that they          17· · · · Q.· · Do you know who Andy Dexter is?
18· ·received over a hundred thousand from Andrew Lloyd,    18· · · · A.· · I believe that's Andrew Lloyd.· The
19· ·which is a lot of money.                               19· ·e-mail address is one that we -- or that I know to
20· · · · Q.· · And this is like six times more than a      20· ·be associated with Andrew Lloyd.
21· ·hundred thousand dollars, right?                       21· · · · Q.· · Okay.· Now, do you recall Mr. Pierce
22· · · · A.· · Like I said, I know they received more      22· ·testified at the preliminary injunction hearing
23· ·than a hundred thousand dollars from Andrew Lloyd.     23· ·that he believed there was only one affiliate using
24· · · · Q.· · Okay.· But you didn't know how much one     24· ·the ID 35?
                                                  Page 96                                                     Page 97
·1· · · · MR. WARD:· I'm going to object based on           ·1· ·testified that there was only one affiliate for him
·2· ·accuracy with respect to whatever it was that          ·2· ·and that was Andrew Lloyd.· Am I correct?
·3· ·Mr. Pierce testified.· I have -- actually, I don't     ·3· · · · MR. WARD:· Objection; mischaracterizes the
·4· ·have that part of the transcript but if you've got     ·4· ·testimony.
·5· ·it --                                                  ·5· ·BY MR. COCHELL:
·6· · · · MR. COCHELL:· I've got it.                        ·6· · · · Q.· · Just tell me what your thought -- what
·7· ·BY MR. COCHELL:                                        ·7· ·your understanding was from the testimony.
·8· · · · Q.· · Let me sort of refresh your testimony       ·8· · · · A.· · That there was only one affiliate named
·9· ·and maybe my question was inartful.                    ·9· ·Andrew Lloyd.
10· · · · A.· · Are you going to mark this as an            10· · · · Q.· · Okay.· So sitting here today, isn't it
11· ·exhibit?                                               11· ·true that there may have been sub-affiliates of
12· · · · Q.· · Yeah, I'm happy to.· It's already a         12· ·Mr. Lloyd based on some of the testimony you've
13· ·matter of record.· We can do it.                       13· ·seen today, some of the documents you've seen
14· · · · · · · · · (WHEREUPON, a certain document was      14· ·today?
15· · · · · · · · · ·marked McKenney Deposition Exhibit     15· · · · A.· · No.
16· · · · · · · · · ·No. 15, for identification, as of      16· · · · Q.· · You don't think so?
17· · · · · · · · · ·12/14/2017.)                           17· · · · A.· · No.
18· ·BY MR. COCHELL:                                        18· · · · Q.· · Tell me why.
19· · · · Q.· · I don't have copies for myself so I may     19· · · · A.· · Because an affiliate would be paid based
20· ·have to ask you about it.                              20· ·on sales, conversions, of the website.
21· · · · · · · Have you had a chance to refresh your       21· · · · · · · · · (WHEREUPON, there was a short
22· ·memory?                                                22· · · · · · · · · ·interruption.)
23· · · · A.· · Yes.                                        23· · · · MR. COCHELL:· Mike apparently missed his plane
24· · · · Q.· · Okay.· Now, basically Mr. Pierce            24· ·so he's going to attend part of this.


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Douglas McKenney                                                                                      Pages 98..101
                                                  Page 98                                                     Page 99
·1· · · · · · · Okay.· I don't think that there's any       ·1· · · · A.· · They could have been providing a service
·2· ·AEO documents in my batch here but --                  ·2· ·to Andrew Lloyd or a contractor, yes, for Andrew
·3· · · · MR. WARD:· AEO?                                   ·3· ·Lloyd.
·4· · · · MR. COCHELL:· Attorneys' eyes only.               ·4· · · · Q.· · Okay.· And so sitting here today, you
·5· · · · MR. WARD:· I don't know.                          ·5· ·don't know exactly what that service may have been,
·6· · · · MR. COCHELL:· Unfortunately, they're not          ·6· ·but we do know that Gutierrez Enterprises, George
·7· ·marked.· I mean, it kind of hampers things a little    ·7· ·Barcelo, and possibly Eric Barcelo were receiving
·8· ·bit.· But I'll show it to the witness first and if     ·8· ·funds from Andrew Lloyd, correct?
·9· ·you think there's an issue with Mike seeing it --      ·9· · · · A.· · Correct.· They were receiving funds from
10· ·there's nothing involving consumers or anything        10· ·Andrew Lloyd.
11· ·like that.· It's all these sorts of documents.· So     11· · · · Q.· · And you don't know how much or for what
12· ·I don't think it'll be an issue.                       12· ·service, correct?
13· · · · · · · · · (WHEREUPON, Mr. Michael Brown           13· · · · A.· · He showed me an invoice that said it was
14· · · · · · · · · ·entered the deposition                 14· ·for unique leads, but I don't know exactly -- leads
15· · · · · · · · · ·proceedings.)                          15· ·is such a generic term.· It could be either leads
16· · · · MR. COCHELL:· Where was I?· I was in the          16· ·like posts to Craigslist, that they're being
17· ·middle of an incredibly important question.            17· ·compensated for the number of posts to Craigslist.
18· · · · · · · What was my last question?                  18· ·It could be for the number of consumers who
19· · · · · · · · · (WHEREUPON, the record was read         19· ·responded to the landlord e-mail.
20· · · · · · · · · ·by the reporter as requested.)         20· · · · Q.· · Okay.· All right.· Do you know if
21· ·BY MR. COCHELL:                                        21· ·Mr. Pierce was involved in any other enterprises
22· · · · Q.· · Okay.· So they could have been              22· ·that violated the law?
23· ·contractors compensated on something other than an     23· · · · MR. WARD:· Objection; outside the scope of his
24· ·affiliate basis, correct?                              24· ·testimony and role as a witness in this case.
                                                 Page 100                                                    Page 101
·1· ·BY MR. COCHELL:                                        ·1· ·It's just the next page.· Why don't we go ahead and
·2· · · · Q.· · Can you answer that?                        ·2· ·staple it.· I don't think it affects your testimony
·3· · · · A.· · I don't know.                               ·3· ·but I'll leave that to you to chime in if there's
·4· · · · Q.· · Do you know if Mr. Pierce has any           ·4· ·an issue.
·5· ·history of misleading consumers in other businesses    ·5· · · · · · · Do you need to change or amend your
·6· ·or enterprises that he operated?                       ·6· ·testimony as a result of that third page I just
·7· · · · A.· · I don't know.                               ·7· ·gave you to Exhibit 15?
·8· · · · Q.· · Okay.· Did you conduct any investigation    ·8· · · · A.· · No.
·9· ·to determine whether they had previously engaged in    ·9· · · · Q.· · Okay.· Let me hand you what has been
10· ·any activities that may have violated FTC              10· ·previously marked as Exhibit 16 for identification.
11· ·regulations or laws?                                   11· · · · · · · · · (WHEREUPON, a certain document was
12· · · · A.· · I searched his name and his company's       12· · · · · · · · · ·marked McKenney Deposition Exhibit
13· ·name to see if there were other cases brought          13· · · · · · · · · ·No. 16, for identification, as of
14· ·against him and I did not see anything.                14· · · · · · · · · ·12/14/2017.)
15· · · · Q.· · All right.· As I understand it, you've      15· ·BY MR. COCHELL:
16· ·never met personally with Mr. Lloyd; is that           16· · · · Q.· · Take a look at that document.· I'll
17· ·correct?                                               17· ·represent to you that this is part of the FTC
18· · · · A.· · Correct.· I've never seen him in person,    18· ·discovery that we've received.
19· ·I've never talked with him over the phone.             19· · · · · · · Have you ever reviewed that document,
20· · · · Q.· · Okay.· With respect to --                   20· ·Exhibit 16?
21· · · · · · · Do we have the exhibit for this or do I     21· · · · A.· · No.
22· ·have it?· So this needs to come back to the witness    22· · · · Q.· · Let me ask you a question here.· Did you
23· ·for the record so I don't walk away with it.           23· ·ever review any documents that identified the
24· · · · · · · This probably should have been attached.    24· ·existence of white label partners or co-branding

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   Case: 1:17-cv-00194 Document #: 206-6 Filed: 03/24/18 Page 28 of 82 PageID #:5330
FEDERAL TRADE COMMISSION vs CREDIT BUREAU CENTER                                                         Job 27222
Douglas McKenney                                                                                     Pages 102..105
                                                 Page 102                                                    Page 103
·1· ·partners with CBC?                                     ·1· ·custody of the -- at times, of course, the CBC
·2· · · · MR. WARD:· Objection; lack of foundation.         ·2· ·database and documents that were turned over to the
·3· ·BY THE WITNESS:                                        ·3· ·receiver and in turn provided to the FTC??
·4· · · · A.· · Can you repeat the question?                ·4· · · · · · · Obviously you can only speak to what you
·5· ·BY MR. COCHELL:                                        ·5· ·have, but you have the CBC database, you have some
·6· · · · Q.· · Did you look for documents that -- as       ·6· ·of the other sets of documents, the CRM database?
·7· ·part of your investigation to see if there were any    ·7· ·I might be imprecise so correct me if I'm wrong.
·8· ·white label partners or co-branding partners with      ·8· ·You're the one who has primary custody of it for
·9· ·CBC?                                                   ·9· ·the FTC?
10· · · · MR. WARD:· Same objection.                        10· · · · A.· · Which -- because that was a compound --
11· ·BY THE WITNESS:                                        11· ·there was multiple things.· The CVC database, the
12· · · · A.· · During the investigation is your            12· ·CRM database, was -- I received it from the
13· ·question, right?                                       13· ·receiver.
14· ·BY MR. COCHELL:                                        14· · · · Q.· · Right.
15· · · · Q.· · Yeah.                                       15· · · · A.· · Okay.· Then I sent that database to our
16· · · · A.· · Okay.· So that would assume before the      16· ·Washington office, litigation support team there,
17· ·filing?                                                17· ·and they have custody of the database in
18· · · · Q.· · Yes.                                        18· ·Washington, D.C.
19· · · · A.· · Before the TRO filing?                      19· · · · Q.· · I see.· Okay.· And you've had an
20· · · · Q.· · Correct.                                    20· ·opportunity to review the data seized or taken or
21· · · · A.· · Okay.· I did not -- I don't believe I       21· ·provided by CBC, correct?
22· ·reviewed any documents before supposed white label     22· · · · A.· · I have had a chance to review documents
23· ·business before the TRO filing.                        23· ·that were sent to us by CBC and the receiver.
24· · · · Q.· · Now, you have been the one who has had      24· · · · Q.· · All right.· Now, with respect -- I mean,
                                                 Page 104                                                    Page 105
·1· ·you're basically the most knowledgeable person who     ·1· · · · A.· · Can you repeat the question?
·2· ·is not a lawyer for the FTC participating in this      ·2· · · · MR. COCHELL:· Please read it back.
·3· ·case, is that a fair statement, about the              ·3· · · · · · · · · (WHEREUPON, the record was read
·4· ·allegations in the complaint?                          ·4· · · · · · · · · ·by the reporter as requested.)
·5· · · · MR. WARD:· Object to the form, ambiguous.         ·5· · · · MR. WARD:· Same objection.
·6· ·BY THE WITNESS:                                        ·6· ·BY THE WITNESS:
·7· · · · A.· · I feel like -- I've been on this case       ·7· · · · A.· · Given that I wasn't aware of the white
·8· ·since the investigation began so I feel like, you      ·8· ·label business until after the TRO filing, you
·9· ·know, I've reviewed a lot of documents related to      ·9· ·know, it's hard for me to say whether or not it was
10· ·it and did a lot of the work on the case.              10· ·an area that I focused on considering that the
11· ·BY MR. COCHELL:                                        11· ·investigation led up to the filing of the temporary
12· · · · Q.· · Right.· Okay.· Sitting here as basically    12· ·restraining -- or the investigation led up to the
13· ·the investigator on this case, do you know how many    13· ·TRO filing.
14· ·white label partners that CBC had?                     14· ·BY MR. COCHELL:
15· · · · A.· · No.                                         15· · · · Q.· · Okay.· Based on your review of the
16· · · · Q.· · Do you know whether it's more than 50       16· ·documents as of this point, do you have any facts
17· ·white label partners?                                  17· ·that reveal how many white label partners that CBC
18· · · · A.· · I don't know.                               18· ·had?
19· · · · Q.· · Would it be fair to say that you've         19· · · · MR. WARD:· Objection; asked and answered.
20· ·never focused on that as an issue important to you     20· ·BY THE WITNESS:
21· ·as an investigator in this case?                       21· · · · A.· · I've seen white label agreements in the
22· · · · MR. WARD:· Object to the -- assumes facts not     22· ·documents that were produced to us.
23· ·in evidence.                                           23· ·BY MR. COCHELL:
24· ·BY THE WITNESS:                                        24· · · · Q.· · And you don't know how much revenue is


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   Case: 1:17-cv-00194 Document #: 206-6 Filed: 03/24/18 Page 29 of 82 PageID #:5331
FEDERAL TRADE COMMISSION vs CREDIT BUREAU CENTER                                                         Job 27222
Douglas McKenney                                                                                     Pages 106..109
                                                 Page 106                                                    Page 107
·1· ·represented as a result of those white label           ·1· · · · · ·IN THE UNITED STATES DISTRICT COURT
·2· ·partners; is that correct, sir?                        ·2· · · · · · · NORTHERN DISTRICT OF ILLINOIS
·3· · · · A.· · Correct.                                    ·3· · · · · · · · · · EASTERN DIVISION
·4· · · · Q.· · Okay.· With respect to co-branding          ·4· ·FEDERAL TRADE COMMISSION,· · )
·5· ·partners, based on your review of documents to this    ·5· · · · · · · · · Plaintiff,· · )
·6· ·date, do you have any idea of how much revenue was     ·6· · · · ·-vs-· · · · · · · · · ·) No. 17-cv-00194
·7· ·generated by CBC as a result of co-branding            ·7· ·CREDIT BUREAU CENTER,· · · · )
·8· ·activities -- its co-branding activities?              ·8· ·LLC, a limited liability· · ·)
·9· · · · A.· · I don't know.                               ·9· ·company, formerly known· · · )
10· · · · Q.· · Okay.· And sitting here today you don't     10· ·as MYSCORE LLC, also· · · · ·)
11· ·know if either the white label or co-branding          11· ·doing business as· · · · · · )
12· ·activities were profitable from -- as a business       12· ·EFREESCORE.COM,· · · · · · · )
13· ·activity for CBC; is that correct?                     13· ·CREDITUPDATES.COM, and· · · ·)
14· · · · A.· · I don't know.                               14· ·FREECREDITNATION.COM,· · · · )
15· · · · MR. COCHELL:· Okay.· This might be a good time    15· ·et al.,· · · · · · · · · · · )
16· ·for lunch.                                             16· · · · · · · · · Defendants.· ·)
17· · · · · · · · · (WHEREUPON, at 12:25 p.m. the           17· · · · · · · · · ·December 14, 2017
18· · · · · · · · · deposition was recessed until           18· · · · · · · · · · · · 1:27 p.m.
19· · · · · · · · · 1:30 p.m., this date.)                  19
20                                                          20· · · · · · · The deposition of DOUGLAS M. McKENNEY
21                                                          21· ·resumed pursuant to recess at Suite 2800, 111 East
22                                                          22· ·Wacker Drive, Chicago, Illinois.
23                                                          23
24                                                          24
                                                 Page 108                                                    Page 109
·1· ·PRESENT:                                               ·1· · · · · · · · · DOUGLAS M. McKENNEY,
·2· · · · ·UNITED STATES FEDERAL TRADE COMMISSION,          ·2· ·called as a witness herein, having been previously
·3· · · · ·(230 South Dearborn Street, Room 3030,           ·3· ·duly sworn and having testified, was examined and
·4· · · · ·Chicago, Illinois· 60604-1505,                   ·4· ·testified further as follows:
·5· · · · ·312-960-5612), by:                               ·5· · · · · · · · · EXAMINATION (Resumed)
·6· · · · ·MR. GUY G. WARD,                                 ·6· ·BY MR. COCHELL:
·7· · · · ·gward@ftc.gov,                                   ·7· · · · Q.· · As you know, you're still under oath,
·8· · · · ·MR. SAMUEL A.A. LEVINE,                          ·8· ·right?
·9· · · · ·slevine1@ftc.gov,                                ·9· · · · A.· · Correct.
10· · · · · · · appeared on behalf of the Plaintiff;        10· · · · Q.· · Okay.· Now, I wanted to revisit Exhibit
11                                                          11· ·14 just briefly just to make sure that I covered
12· · · · ·COCHELL PC,                                      12· ·something.
13· · · · ·(216 South Loop W, Suite 470,                    13· · · · · · · I think you mentioned that Andy Dexter
14· · · · ·Houston, Texas· 77054,                           14· ·is -- you determined that Andy Dexter is actually
15· · · · ·346-800-3500), by:                               15· ·Andrew Lloyd, that Andrew Lloyd owns that Gmail
16· · · · ·MR. STEPHEN R. COCHELL,                          16· ·account, tdmpitt1@gmail; am I correct about that?
17· · · · ·srcochell@gmail.com,                             17· · · · A.· · I believe so.
18· · · · · · · appeared on behalf of the Defendants.       18· · · · Q.· · Okay.· I would like to show you the next
19                                                          19· ·exhibit in order, which I think is 17.
20· ·ALSO PRESENT:                                          20· · · · · · · · · (WHEREUPON, a certain document was
21· · · · ·MR. MICHAEL BROWN.                               21· · · · · · · · · ·marked McKenney Deposition Exhibit
22                                                          22· · · · · · · · · ·No. 17, for identification, as of
23· ·REPORTED BY:· SUSAN K. TODAY, C.S.R., R.P.R.           23· · · · · · · · · ·12/14/2017.)
24· · · · · · · · ·License No. 84-2212.                     24

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   Case: 1:17-cv-00194 Document #: 206-6 Filed: 03/24/18 Page 30 of 82 PageID #:5332
FEDERAL TRADE COMMISSION vs CREDIT BUREAU CENTER                                                         Job 27222
Douglas McKenney                                                                                     Pages 110..113
                                                 Page 110                                                    Page 111
·1· ·BY MR. COCHELL:                                        ·1· ·Underneath it says "Text Banner."
·2· · · · Q.· · Do you recognize that document, sir?        ·2· ·BY MR. COCHELL:
·3· · · · A.· · No, I do not.                               ·3· · · · Q.· · So other than that you don't really know
·4· · · · Q.· · Okay.· I'll represent to you that these     ·4· ·what the payments were for, correct?
·5· ·were part of the documents produced by the FTC.        ·5· · · · A.· · Correct.· I never saw Housingwire in the
·6· ·And it would appear that there were payments made      ·6· ·bank records, that there were wire transfers to a
·7· ·to Housingwire.· Do you know who or what               ·7· ·company to a Housingwire.
·8· ·Housingwire is?                                        ·8· · · · Q.· · Can you say that last again?
·9· · · · A.· · No, I do not.                               ·9· · · · A.· · I never saw Housingwire appear in the
10· · · · Q.· · Okay.· Under the "Product" it says "HW      10· ·MyScore bank records.· So I never saw, like, wire
11· ·e-mail:· Daily update (afternoon) - Banner."           11· ·transfers to this company Housingwire.· So I don't
12· ·Apparently it's paid for on a weekly basis.· Do you    12· ·know if there were ever any payments made to
13· ·see that?                                              13· ·Housingwire.
14· · · · MR. WARD:· Object to the lack of foundation.      14· · · · Q.· · All right.· Okay.· But you can see that
15· ·BY MR. COCHELL:                                        15· ·this is an invoice, correct?
16· · · · Q.· · Do you see that, sir?                       16· · · · A.· · It appears to be an invoice.
17· · · · A.· · I'm sorry.· Can you say that again?         17· · · · Q.· · Okay.· And the invoice on the second
18· · · · Q.· · Okay.· Let me just rephrase this.· Here     18· ·page of Exhibit 17, it appears that Housingwire is
19· ·are these payments being made by ScoreApprove for      19· ·an advertiser or is providing services for
20· ·something but you don't know what it is; is that       20· ·advertising by ScoreApprove; is that a fair
21· ·fair?                                                  21· ·statement --
22· · · · MR. WARD:· Objection; lack of foundation.         22· · · · MR. WARD:· Objection.
23· ·BY THE WITNESS:                                        23· ·BY MR. COCHELL:
24· · · · A.· · I see that the product says "Banner."       24· · · · Q.· · -- referring to Paragraph 1?
                                                 Page 112                                                    Page 113
·1· · · · MR. WARD:· Objection; lack of foundation.         ·1· · · · Q.· · Okay.· Did you see any payments to the
·2· ·Objection; lack of firsthand knowledge.                ·2· ·Texas Association of Realtors on the -- I guess the
·3· ·BY THE WITNESS:                                        ·3· ·bank accounts of ScoreApprove?
·4· · · · A.· · I mean, to me -- I don't necessarily        ·4· · · · A.· · There were no bank accounts under the
·5· ·know if this is an invoice.· It looks more like an     ·5· ·name ScoreApprove that I'm aware of.
·6· ·insertion order to me.                                 ·6· · · · Q.· · Did you see any payment to the Texas
·7· ·BY MR. COCHELL:                                        ·7· ·Association from any of the bank accounts that were
·8· · · · Q.· · A what?                                     ·8· ·I guess provided to the FTC by CBC?
·9· · · · A.· · An insertion order.                         ·9· · · · A.· · I don't know.
10· · · · Q.· · Okay.· All right.· Other than that you      10· · · · Q.· · All right.· Okay.· I'm going to show you
11· ·really can't say anything about the document,          11· ·what has been marked as 19 for identification.
12· ·right?                                                 12· · · · · · · · · (WHEREUPON, a certain document was
13· · · · A.· · Correct.                                    13· · · · · · · · · ·marked McKenney Deposition Exhibit
14· · · · Q.· · Fair enough.· Let me show you what has      14· · · · · · · · · ·No. 19, for identification, as of
15· ·been marked as Exhibit 18.                             15· · · · · · · · · ·12/14/2017.)
16· · · · · · · · · (WHEREUPON, a certain document was      16· ·BY MR. COCHELL:
17· · · · · · · · · ·marked McKenney Deposition Exhibit     17· · · · Q.· · I represent to you that this is from an
18· · · · · · · · · ·No. 18, for identification, as of      18· ·FTC production of documents.· Have you ever seen
19· · · · · · · · · ·12/14/2017.)                           19· ·this document?· Do you recall reviewing it?
20· ·BY MR. COCHELL:                                        20· · · · A.· · I don't believe I've seen it.
21· · · · Q.· · Have you ever seen that document?· Let      21· · · · Q.· · Let me ask you something.· When the
22· ·me represent to you this is also from a production     22· ·receivership was established, did you talk to any
23· ·by the FTC.                                            23· ·business owners such as -- who wanted -- let me
24· · · · A.· · I don't believe I've seen this before.      24· ·strike that.

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   Case: 1:17-cv-00194 Document #: 206-6 Filed: 03/24/18 Page 31 of 82 PageID #:5333
FEDERAL TRADE COMMISSION vs CREDIT BUREAU CENTER                                                         Job 27222
Douglas McKenney                                                                                     Pages 114..117
                                                 Page 114                                                    Page 115
·1· · · · · · · Do you know if -- have you ever heard of    ·1· ·any compliance programs or compliance policies?
·2· ·DisputeSuite?                                          ·2· · · · MR. WARD:· Objection; lack of foundation.
·3· · · · A.· · No.                                         ·3· ·BY THE WITNESS:
·4· · · · Q.· · And you don't know what they do             ·4· · · · A.· · I'm sorry.· Can you repeat the question?
·5· ·obviously if you've never heard of them.· Okay.        ·5· ·BY MR. COCHELL:
·6· · · · · · · And you don't know how much revenues, if    ·6· · · · Q.· · Yeah.· In your review of -- did you
·7· ·any, that CBC lost as a result of the receivership     ·7· ·review documents to determine if CBC had a history
·8· ·being imposed, correct?                                ·8· ·of compliance with FTC regulations other than the
·9· · · · · · · Let me rephrase it.· If DisputeSuite        ·9· ·websites that are the subject of this lawsuit?
10· ·subscribed to CBC's services, sitting here today       10· · · · MR. WARD:· Objection; ambiguous, vague and
11· ·you don't know what, if any, or how much, if any,      11· ·outside the scope of his testimony and role as a
12· ·revenues were lost as a result of imposition of the    12· ·witness.
13· ·receivership?                                          13· ·BY MR. COCHELL:
14· · · · MR. WARD:· Objection; assumes facts not in        14· · · · Q.· · You can answer the question.
15· ·evidence.                                              15· · · · A.· · I didn't see any documents that show
16· ·BY MR. COCHELL:                                        16· ·that the defendants were trying to comply with FTC
17· · · · Q.· · Is that correct?                            17· ·rules.
18· · · · A.· · I would have no way of knowing that.        18· · · · Q.· · Okay.· With respect to -- let me show
19· · · · Q.· · Okay.· All right.· I'm just flipping        19· ·you some documents.· We are on Exhibit 20.
20· ·through spending a little time eliminating some        20· · · · · · · · · (WHEREUPON, a certain document was
21· ·exhibits.                                              21· · · · · · · · · ·marked McKenney Deposition Exhibit
22· · · · · · · Do you have -- from your review of          22· · · · · · · · · ·No. 20, for identification, as of
23· ·documents did you review any documents to determine    23· · · · · · · · · ·12/14/2017.)
24· ·any efforts by CBC to comply with FTC regulations,     24
                                                 Page 116                                                    Page 117
·1· ·BY MR. COCHELL:                                        ·1· · · · A.· · I believe he's trying to prevent
·2· · · · Q.· · Let me show you No. 20.· Unfortunately I    ·2· ·affiliate fraud.· It says people driving --
·3· ·only have two copies of this.· Sorry.· Oh, here's a    ·3· ·submitting either stolen credit cards on his site
·4· ·third copy.                                            ·4· ·so he's not paying affiliates for sales that are
·5· · · · · · · Directing your attention to the first       ·5· ·fraud-related in that sense.
·6· ·page of Exhibit 20, in the middle of the page it       ·6· · · · · · · Another way would be to make sure that
·7· ·says original message dated 14 February 2012 from      ·7· ·the traffic being driven to his site isn't coming
·8· ·Michael Brown to Vlad Zamelukhin.· Do you see that?    ·8· ·from like proxies or he's not paying for traffic
·9· · · · A.· · I see that, yes.                            ·9· ·that's not actually real traffic, if that makes
10· · · · Q.· · And underneath it there's an e-mail that    10· ·sense.
11· ·says, "Do you guys have any integration with           11· · · · Q.· · Okay.· Anything else?
12· ·anti-fraud services like ScrubKit?· Or any other       12· · · · A.· · No.
13· ·service?· What's the best way to prevent fraud         13· · · · Q.· · Okay.
14· ·using your platform?"· Do you see that?                14· · · · · · · · · (WHEREUPON, a certain document was
15· · · · A.· · Yes.                                        15· · · · · · · · · ·marked McKenney Deposition Exhibit
16· · · · Q.· · This would appear to be Mr. Brown           16· · · · · · · · · ·No. 21, for identification, as of
17· ·expressing an interest in how he can prevent fraud     17· · · · · · · · · ·12/14/2017.)
18· ·using their platform, fair statement?                  18· ·BY MR. COCHELL:
19· · · · MR. WARD:· Objection; lack of foundation, lack    19· · · · Q.· · I would like to show you what has been
20· ·of firsthand knowledge.                                20· ·previously marked as Exhibit 21 for identification
21· ·BY THE WITNESS:                                        21· ·and ask you, sir, if you recognize that document.
22· · · · A.· · Can I answer?                               22· · · · A.· · I don't recognize it.
23· ·BY MR. COCHELL:                                        23· · · · Q.· · Okay.· I'll represent to you that this
24· · · · Q.· · Yes.                                        24· ·is from the FTC production.· This appears to be a

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·1· ·document dated March 25th, 2016, from Michael Brown    ·1· ·don't know.
·2· ·to Diego M with a copy to David Rojas.· Is that        ·2· · · · · · · Unfortunately, we just -- I can't tell
·3· ·correct?                                               ·3· ·you one way or the other.
·4· · · · MR. WARD:· Objection; lack of foundation, lack    ·4· · · · · · · All right.· Well, it says what it says,
·5· ·of firsthand knowledge.                                ·5· ·right?· I mean, it appears that there was some
·6· ·BY MR. COCHELL:                                        ·6· ·fraud on a customer and actions were taken to
·7· · · · Q.· · You can answer.                             ·7· ·address the fraud.· Fair statement?
·8· · · · A.· · Correct.                                    ·8· · · · MR. WARD:· Same objection.
·9· · · · Q.· · Okay.· And this appears to be talking       ·9· ·BY THE WITNESS:
10· ·about fraud by someone billing a customer -- or        10· · · · A.· · It says she has over 76 accounts linked
11· ·generating 76 accounts linked to a customer's card?    11· ·to her card on this.· That's what it says on it.
12· · · · MR. WARD:· Same objection.                        12· ·BY MR. COCHELL:
13· ·BY THE WITNESS:                                        13· · · · Q.· · Okay.· All right.· I would like to show
14· · · · A.· · Can I -- I don't understand the format      14· ·you what has been previously marked as 22 for
15· ·of this and why it's in text.· It has -- at the        15· ·identification.
16· ·header it says, "Dealing with Affiliate Fraud -        16· · · · · · · · · (WHEREUPON, a certain document was
17· ·Fragalia" and then a Bates number at the top.          17· · · · · · · · · ·marked McKenney Deposition Exhibit
18· ·BY MR. COCHELL:                                        18· · · · · · · · · ·No. 22, for identification, as of
19· · · · Q.· · I don't understand either.                  19· · · · · · · · · ·12/14/2017.)
20· · · · A.· · Okay.                                       20· ·BY MR. COCHELL:
21· · · · Q.· · It's something that I suppose was           21· · · · Q.· · And ask you, sir, if you recognize that
22· ·produced by Tom Fragalia possibly --                   22· ·document.
23· · · · A.· · Okay.                                       23· · · · A.· · No, I do not recognize this document.
24· · · · Q.· · -- and somebody may have added it. I        24· · · · Q.· · All right.· So you don't know -- unless
                                                 Page 120                                                    Page 121
·1· ·you read it here, you really wouldn't know one way     ·1· ·specifically on the word fraud.
·2· ·or the other whether this was part of a compliance     ·2· · · · Q.· · Did you run a search for the word
·3· ·policy or related to a compliance policy by CBC?       ·3· ·compliance in the 44,000 e-mails?
·4· · · · · · · You have no -- you can't authenticate       ·4· · · · MR. WARD:· Honestly, Stephen, you're getting
·5· ·the document, you don't know what's in the             ·5· ·into an area that's work product.· So I will have
·6· ·document, you don't know if the Skype history          ·6· ·to instruct him not to answer if you're going to
·7· ·reflects a compliance history or not, correct?         ·7· ·continue to ask him about things that he --
·8· · · · A.· · Correct.                                    ·8· · · · MR. COCHELL:· Okay.· If you don't want the
·9· · · · Q.· · Okay.· We can turn to the next document.    ·9· ·witness to answer -- it applies to both positive
10· · · · · · · Let me ask you something.· You have the     10· ·and negative things he did.· Because if he tries to
11· ·e-mail database, 44,000 e-mails that Mr. Brown and     11· ·testify --
12· ·CBC turned over?                                       12· · · · MR. WARD:· He's already testified.
13· · · · A.· · Yes.                                        13· · · · MR. COCHELL:· If he tries to testify at trial
14· · · · Q.· · Did you run searches using key words in     14· ·or if he tries to put in a declaration that talks
15· ·that database?                                         15· ·about efforts to find documents, you know, and you
16· · · · A.· · Yes.                                        16· ·haven't allowed me to cross-examine him --
17· · · · Q.· · Did you use the words fraud?· Did you       17· · · · MR. WARD:· That's hardly true.· We've been
18· ·run the word fraud in that database?                   18· ·here all day.
19· · · · MR. WARD:· Objection.· You're getting into an     19· · · · MR. COCHELL:· I'm talking about a specific
20· ·area that's work product.                              20· ·point, and I think you know that.· And I'm asking
21· ·BY MR. COCHELL:                                        21· ·him about keyword searches that he ran.· I think
22· · · · Q.· · Did you run a search for fraud in the       22· ·he's put in his declarations -- I can't point to it
23· ·database?                                              23· ·right now, but I think in his declarations he's
24· · · · A.· · I don't remember if I ran a search          24· ·talked about all of his efforts to find

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·1· ·information.· I'm simply trying to conduct a cross     ·1· · · · Q.· · Okay.· You've seen this document before?
·2· ·examination to determine whether that search for       ·2· · · · A.· · Yes.
·3· ·information in databases and otherwise was full,       ·3· · · · Q.· · Okay.· And so referring to the e-mail
·4· ·complete and fair.· I think I'm entitled to that       ·4· ·from Mike Brown to Brent Brague, it appears that
·5· ·cross.                                                 ·5· ·Mr. Brown indicated that -- it says here, "Can we
·6· · · · MR. LEVINE:· Are you distinguishing between       ·6· ·reach out to 280015 and 277790 to find out how they
·7· ·investigation before the TRO and after the TRO?        ·7· ·are doing sales?· Let's stop all their sales and
·8· · · · MR. COCHELL:· I mean, after he got the            ·8· ·this is my notice now to charge them back."
·9· ·database, after he got the 44,000 e-mails, I think     ·9· · · · · · · This is in relationship to alleged
10· ·someone, particularly the investigator, should be      10· ·fraud; is that correct, sir?
11· ·able to testify as to facts.                           11· · · · MR. WARD:· Objection; lack of foundation, lack
12· · · · MR. WARD:· But here's the thing, Stephen:· You    12· ·of firsthand knowledge.
13· ·have the same database.· I mean, you've got the        13· · · · MR. COCHELL:· He says he's seen the document.
14· ·database.· You could search it if you want.            14· · · · MR. WARD:· Seen.
15· · · · MR. COCHELL:· All right.· Okay.                   15· · · · MR. COCHELL:· I've asked you to --
16· · · · · · · · · (WHEREUPON, a certain document was      16· · · · MR. WARD:· Do you want him just to confirm
17· · · · · · · · · ·marked McKenney Deposition Exhibit     17· ·that there's a document that says that?· I mean,
18· · · · · · · · · ·No. 23, for identification, as of      18· ·honestly, Stephen.
19· · · · · · · · · ·12/14/2017.)                           19· · · · MR. COCHELL:· I just read it here.· I just
20· ·BY MR. COCHELL:                                        20· ·asked him if he could identify the document.· He
21· · · · Q.· · I show you what has been marked as 23       21· ·said yes.
22· ·and ask you, sir, if you can recognize that            22· · · · MR. WARD:· It just means he's seen it because
23· ·document.                                              23· ·we have it; somebody produced it to us.· Probably
24· · · · A.· · Yes.                                        24· ·Mr. Brown.· I don't know for certain.
                                                 Page 124                                                    Page 125
·1· · · · · · · I don't understand the purpose of having    ·1· ·didn't actually go to the site.
·2· ·Mr. McKenney read back to you what these documents     ·2· · · · Q.· · Okay.· Fair enough.· And so that is an
·3· ·say.                                                   ·3· ·instance of Mr. Brown enforcing compliance with the
·4· · · · MR. COCHELL:· No.· I read it to him.· And I       ·4· ·FTC rules, right?
·5· ·was asking him if this was an effort by Mr. Brown      ·5· · · · MR. WARD:· Objection; lack of foundation, lack
·6· ·to stop fraud by ceasing sales from a particular       ·6· ·of firsthand knowledge, and also outside the scope
·7· ·source.                                                ·7· ·of his testimony.· He's not here to make legal
·8· · · · MR. WARD:· Objection; lack of foundation, lack    ·8· ·determinations.· And the judge has ruled on that
·9· ·of firsthand knowledge, outside the scope of his       ·9· ·previously.
10· ·testimony as a witness.                                10· ·BY MR. COCHELL:
11· ·BY MR. COCHELL:                                        11· · · · Q.· · Okay.· Well, you earlier said that you
12· · · · Q.· · Okay.· Now will you answer the question,    12· ·had no evidence or facts to support that Mr. Brown
13· ·please?                                                13· ·attempted to comply with FTC rules and regulations
14· · · · A.· · It appears that the affiliate drove         14· ·or words to that effect.· Do you remember that?
15· ·sales to Brown sites using -- and the customers        15· · · · MR. WARD:· Objection; mischaracterizes the
16· ·that signed up, supposed customers signed up on his    16· ·testimony.
17· ·site using stolen credit cards.                        17· ·BY MR. COCHELL:
18· · · · · · · So to me what this suggests is that it's    18· · · · Q.· · Do you remember that, sir?· Say yes or
19· ·affiliate fraud.· So Mr. Brown does not want the       19· ·no.
20· ·affiliate to get compensated for those customers       20· · · · A.· · The date on this e-mail is from 2013.
21· ·and that those customers should be -- based on this    21· ·Our case goes back to January 1st, 2014.
22· ·correspondence should be given their money back for    22· · · · Q.· · Can you say yes or no to my question,
23· ·the sales because it was an instance where credit      23· ·sir?
24· ·cards -- where they didn't -- those consumers          24· · · · A.· · Can you repeat the question?

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·1· · · · MR. COCHELL:· Read it back, please.               ·1· ·the side.
·2· · · · · · · · · (WHEREUPON, the record was read         ·2· · · · · · · Let me ask you something.· Have you ever
·3· · · · · · · · · ·by the reporter as requested.)         ·3· ·heard the term -- prior to this case had you ever
·4· · · · MR. WARD:· Same objection.· I think we should     ·4· ·heard the term friendly fraud?
·5· ·go back to that part to see exactly what was said.     ·5· · · · A.· · No.
·6· ·BY MR. COCHELL:                                        ·6· · · · Q.· · Okay.· During the course of your
·7· · · · Q.· · I want an answer to my question.· Best      ·7· ·investigation did you become familiar with the term
·8· ·of your recollection.· Do you remember what you        ·8· ·friendly fraud?
·9· ·said five minutes ago?                                 ·9· · · · A.· · No.
10· · · · A.· · I just saw this document yesterday.         10· · · · Q.· · When is the first time you heard the
11· · · · Q.· · I'm sorry?                                  11· ·term friendly fraud in connection with this case?
12· · · · A.· · I just saw this document yesterday.         12· · · · A.· · When you showed me this document and I
13· · · · Q.· · Okay.                                       13· ·see friendly fraud in it.
14· · · · A.· · Okay?                                       14· · · · Q.· · Okay.· So sitting here today you don't
15· · · · Q.· · All right.· Fair enough.· All right.        15· ·know what friendly fraud is?
16· · · · · · · · · (WHEREUPON, a certain document was      16· · · · A.· · I mean, I can assume or make -- I think
17· · · · · · · · · ·marked McKenney Deposition Exhibit     17· ·I know what it is but I don't refer to it by
18· · · · · · · · · ·No. 24, for identification, as of      18· ·friendly fraud.
19· · · · · · · · · ·12/14/2017.)                           19· · · · Q.· · What do you think friendly fraud refers
20· ·BY MR. COCHELL:                                        20· ·to?
21· · · · Q.· · I show you No. 24.· Have you ever seen      21· · · · A.· · I believe it's customers who charge back
22· ·this document, No. 24?                                 22· ·a sale when they placed it.· If they can't get in
23· · · · A.· · I'm not sure if I have or not.              23· ·touch with the merchant or they are having problems
24· · · · Q.· · Okay.· Fair enough.· You can put that to    24· ·getting in touch with the merchant.· And so they

                                                 Page 128                                                    Page 129
·1· ·issue a chargeback rather than contacting the          ·1· ·motivated by a desire to get a refund as opposed to
·2· ·merchant.                                              ·2· ·revealing misleading or deceptive conduct by a
·3· · · · Q.· · Okay.· So sitting here today you don't      ·3· ·company; is that correct, sir?
·4· ·think that perhaps customers tell less than the        ·4· · · · MR. WARD:· Objection; lack of foundation, lack
·5· ·truth when they're seeking a refund or claiming a      ·5· ·of firsthand knowledge.
·6· ·chargeback against a credit card monitoring service    ·6· ·BY MR. COCHELL:
·7· ·such as CBC?                                           ·7· · · · Q.· · Can you answer the question?
·8· · · · MR. WARD:· Object to the form; assumes facts      ·8· · · · A.· · Can you rephrase the question?
·9· ·not in evidence.                                       ·9· · · · MR. COCHELL:· Let's read it back.
10· ·BY MR. COCHELL:                                        10· · · · · · · · · (WHEREUPON, the record was read by
11· · · · Q.· · You can answer the question.                11· · · · · · · · · ·the reporter as requested.)
12· · · · A.· · I don't know whether in every instance a    12· · · · MR. WARD:· Same objection.
13· ·consumer is telling the truth in relation to filing    13· ·BY MR. COCHELL:
14· ·a chargeback.                                          14· · · · Q.· · Are you able to answer that?
15· · · · Q.· · And you never know whether a consumer is    15· · · · THE WITNESS:· Can you say it again?· I'm
16· ·telling the truth if they make a complaint of --       16· ·sorry.· One more time.
17· ·that they were mislead by a website?                   17· · · · · · · · · (WHEREUPON, the record was read by
18· · · · MR. WARD:· Objection to the form of the           18· · · · · · · · · ·the reporter as requested.)
19· ·question; ambiguous.                                   19· · · · MR. WARD:· Same objection.
20· ·BY MR. COCHELL:                                        20· ·BY THE WITNESS:
21· · · · Q.· · Okay.· I mean, consumers can make a lot     21· · · · A.· · I don't know.
22· ·of allegations against a company, correct?             22· ·BY MR. COCHELL:
23· · · · A.· · Correct.                                    23· · · · Q.· · With respect to the next document,
24· · · · Q.· · Okay.· And some consumers may be            24· ·Exhibit 25.

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                                                 Page 130                                                    Page 131
·1· · · · · · · · · (WHEREUPON, a certain document was      ·1· ·concerned about the risk for companies that
·2· · · · · · · · · ·marked McKenney Deposition Exhibit     ·2· ·provided a free trial.· Do you remember that
·3· · · · · · · · · ·No. 25, for identification, as of      ·3· ·testimony --
·4· · · · · · · · · ·12/14/2017.)                           ·4· · · · A.· · Yes.
·5· ·BY MR. COCHELL:                                        ·5· · · · Q.· · -- just generally?
·6· · · · Q.· · I show you 25 and ask you, sir, if you      ·6· · · · A.· · Yes.
·7· ·recognize that document.                               ·7· · · · Q.· · I'm not going to ask you specifics.
·8· · · · A.· · I don't remember this specific document.    ·8· · · · · · · And so this document appears -- at least
·9· · · · Q.· · Okay.· Do you know if PowerPay or EVO       ·9· ·on its face appears to be addressing the whole
10· ·was one of CBC's credit card processors?               10· ·issue of free trial merchant review; is that
11· · · · A.· · Yes, I do know that.                        11· ·correct?
12· · · · Q.· · Okay.· And do you know if PowerPay          12· · · · MR. WARD:· Objection; lack of foundation, lack
13· ·provided multiple merchant accounts or MIDs to CBC?    13· ·of firsthand knowledge.
14· · · · A.· · Yes, they did.                              14· ·BY MR. COCHELL:
15· · · · Q.· · Okay.· And do you know anything about       15· · · · Q.· · Okay.· Well, you see it on the subject
16· ·free trial merchant -- the term free trial merchant    16· ·matter, "RE: Free Trial Merchant Review," correct?
17· ·review which is the subject matter of this             17· · · · A.· · I see that's what the subject line of
18· ·particular document, Exhibit 25?                       18· ·the e-mail says.
19· · · · A.· · I'm sorry.· What's the question?            19· · · · Q.· · Okay.· And you've never talked to
20· · · · Q.· · With respect to -- there was testimony      20· ·PowerPay directly about chargebacks and the free
21· ·yesterday about chargebacks, right?                    21· ·trial merchant review that they or may not have
22· · · · A.· · Uh-huh.                                     22· ·done?
23· · · · Q.· · And there was testimony about free trial    23· · · · A.· · Me personally, no.
24· ·merchant reviews, okay, where merchants were           24· · · · Q.· · Do you know of anyone else that's talked
                                                 Page 132                                                    Page 133
·1· ·to them about this case without revealing the          ·1· ·free trial -- free trial merchant review.
·2· ·substance?                                             ·2· ·BY MR. COCHELL:
·3· · · · A.· · I'm not sure.                               ·3· · · · Q.· · Okay.· Do you know whether -- what did
·4· · · · Q.· · Okay.· So sitting here today, you don't     ·4· ·PowerPay do in terms of free trial merchant review,
·5· ·know if merchant reviews were done about the free      ·5· ·if you know it at all?· Do you know what they did,
·6· ·trial program conducted by CBC; is that correct?       ·6· ·if anything?
·7· · · · A.· · Generally?· I'm sorry.                      ·7· · · · A.· · As part of the review process?
·8· · · · Q.· · Do you know generally of any of the         ·8· · · · Q.· · What, if anything, did PowerPay do to
·9· ·merchant account providers conducting a review of      ·9· ·conduct a free trial merchant review of CBC's
10· ·their risk tolerance based on CBC's free trial         10· ·program, free trial program?
11· ·merchant program?                                      11· · · · MR. WARD:· Objection; lack of foundation, lack
12· · · · MR. WARD:· Objection to the form, vague, and      12· ·of firsthand knowledge.
13· ·also lack of firsthand knowledge.                      13· ·BY THE WITNESS:
14· ·BY MR. COCHELL:                                        14· · · · A.· · I don't know.
15· · · · Q.· · I'm asking, sir, if you have any            15· ·BY MR. COCHELL:
16· ·knowledge based on review of whether any of the        16· · · · Q.· · All right.· And with respect to the
17· ·merchants who cancelled their merchant accounts        17· ·other merchant accounts that were cancelled, did
18· ·with CBC to determine whether they cancelled their     18· ·you talk to any of the individuals who managed
19· ·merchant accounts based on the free trial program      19· ·CBC's merchant accounts to determine the true cause
20· ·that CBC operated?                                     20· ·or the true reasons for cancelling CBC's merchant
21· · · · MR. WARD:· Same objection.                        21· ·account?
22· ·BY THE WITNESS:                                        22· · · · A.· · No, I did not talk to merchant sales
23· · · · A.· · I don't know of others -- of other          23· ·reps for CBC's accounts.
24· ·merchant processors that cancelled it based on a       24· · · · Q.· · Did you talk to the merchant account


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·1· ·managers above the sales reps?                         ·1· ·for complaints that were filed against
·2· · · · A.· · No.                                         ·2· ·CreditUpdates, eFreeScore.· And at the time we had
·3· · · · MR. COCHELL:· Okay.· Why don't we take a          ·3· ·received I believe it was 297 consumer complaints.
·4· ·break.· I think I can -- this will be a ten-minute     ·4· ·And then we also had received complaints from the
·5· ·break.· I can eliminate some documents and try to      ·5· ·Better Business Bureau.
·6· ·expedite the process and make a visit to the           ·6· · · · Q.· · How many complaints did you get from the
·7· ·restroom.· And maybe my client and I can have the      ·7· ·Better Business Bureau?
·8· ·room for a few minutes.                                ·8· · · · A.· · I don't recall this minute a declaration
·9· · · · · · · · · (WHEREUPON, a recess was had            ·9· ·to us.
10· · · · · · · · · ·from 2:08 p.m. to 2:22 p.m.)           10· · · · Q.· · Okay.· So it's in your declaration how
11· ·BY MR. COCHELL:                                        11· ·many you got from the BBB or not?
12· · · · Q.· · I will ask you a question, sir.· At Page    12· · · · A.· · No, I do not believe it's in my
13· ·4 of the complaint -- I guess that's Exhibit 1 --      13· ·declaration.· I believe it's in the BBB
14· ·it says at the very bottom, "Defendants' scheme has    14· ·declaration.
15· ·generated more than 500 consumer complaints and        15· · · · Q.· · Okay.· So you don't sitting here today
16· ·caused millions of dollars of consumer loss."          16· ·recall exactly what the BBB said it got in terms of
17· · · · · · · Do you see that, sir?                       17· ·all the complaints that they had received on
18· · · · A.· · Yes.                                        18· ·ConsumerUpdates (sic) and eFreeScore?
19· · · · Q.· · And is that allegation true?                19· · · · A.· · Correct.
20· · · · A.· · Yes.                                        20· · · · Q.· · Now, when you say complaints received,
21· · · · Q.· · Tell me, how is it that you got to 500      21· ·are these -- 297 complaints were received.· Are
22· ·complaints, consumer complaints?                       22· ·these 297 complaints in Sentinel?
23· · · · A.· · When we filed the TRO and my                23· · · · A.· · Yes.
24· ·declaration, I went on Consumer Sentinel and looked    24· · · · Q.· · How many of those 297 complaints were
                                                 Page 136                                                    Page 137
·1· ·actually sent to CBC?                                  ·1· · · · · · · · · (WHEREUPON, a certain document was
·2· · · · A.· · I think -- can I help clarify?· We do       ·2· · · · · · · · · ·marked McKenney Deposition Exhibit
·3· ·not send -- the FTC does not send consumer             ·3· · · · · · · · · ·No. 26, for identification, as of
·4· ·complaints out to the business but we do receive       ·4· · · · · · · · · ·12/14/2017.)
·5· ·complaints from other, you know, government            ·5· · · · MR. WARD:· Can we go off the record for a
·6· ·agencies, like State's Attorney General's offices,     ·6· ·second?
·7· ·other regulatory agencies who may have complaint       ·7· · · · · · · · · (WHEREUPON, discussion was had off
·8· ·mediation departments who may have sent consumer       ·8· · · · · · · · · ·the record.)
·9· ·complaints that were filed with them to CBC but        ·9· ·BY MR. COCHELL:
10· ·then referred the complaint that they received to      10· · · · Q.· · So you don't know how many complaints
11· ·the FTC.                                               11· ·were actually -- BBB may or may not have sent all
12· · · · Q.· · So the answer is they may have been sent    12· ·those complaints to CBC as far as you know; is that
13· ·but sitting here you don't know how many of these      13· ·correct?
14· ·297 complaints -- that Sentinel has in its database    14· · · · A.· · I don't know if they sent them all to
15· ·you don't know how many of those complaints were       15· ·CBC.
16· ·actually sent to CBC?                                  16· · · · Q.· · And they didn't provide all of them to
17· · · · A.· · Correct.                                    17· ·you as part of their return of documents on a civil
18· · · · Q.· · Okay.· And then -- I do have some           18· ·investigative demand?
19· ·documents from BBB I'm going to show you so we can     19· · · · A.· · I'm sorry.· Can you repeat the question?
20· ·figure out just how many BBB complaints there were,    20· · · · Q.· · Do you know if they returned all the
21· ·at least based on the records we've got.· Okay?        21· ·complaints that they had received as part of their
22· · · · · · · So let me just start marking them.· And     22· ·response to your civil investigative demand?
23· ·the next one would be 26.                              23· · · · A.· · We never sent them a civil investigative
24                                                          24· ·demand.· They voluntarily produced copies of their


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   Case: 1:17-cv-00194 Document #: 206-6 Filed: 03/24/18 Page 37 of 82 PageID #:5339
FEDERAL TRADE COMMISSION vs CREDIT BUREAU CENTER                                                         Job 27222
Douglas McKenney                                                                                     Pages 138..141
                                                 Page 138                                                    Page 139
·1· ·consumer complaints to us along with if they           ·1· ·BY MR. COCHELL:
·2· ·received a business response to that complaint, it     ·2· · · · Q.· · Do you know how many consumer complaints
·3· ·would be within that record.                           ·3· ·were filed against CBC after filing of the FTC's
·4· · · · Q.· · Okay.· And sitting here today do you        ·4· ·lawsuit in this case?
·5· ·know how many complaints -- obviously you provided     ·5· · · · A.· · My declaration says 297 complaints were
·6· ·all the documents that they gave you in terms of       ·6· ·received at the time of our filing.· I don't know
·7· ·complaints and responses.· Did you attach that         ·7· ·how many complaints have since been received.
·8· ·to -- or was that attached to Ms. McCool's             ·8· · · · Q.· · Okay.· Fair enough.· Do you know how
·9· ·declaration?                                           ·9· ·many complaints were received by BBB after filing
10· · · · A.· · I'm sorry?                                  10· ·of the lawsuit of that -- of whatever number they
11· · · · Q.· · Are you having trouble understanding the    11· ·gave you?
12· ·answer -- or the question?                             12· · · · A.· · Again, Ms. McCool's declaration was part
13· · · · A.· · Yes.                                        13· ·of the temporary restraining order filing.· So her
14· · · · Q.· · Okay.· I know you're having trouble with    14· ·number in her declaration is the number of
15· ·the answer.· All right.· Let me rephrase it.           15· ·complaints received prior to the filing of the
16· · · · · · · Do you know -- like if they said there's    16· ·case.
17· ·200-and-some complaints, do you know if they gave      17· · · · Q.· · Now, did you -- at the PI hearing -- and
18· ·you 200-and-some complaints that they received as      18· ·we've covered this earlier today, but at the PI
19· ·the Better Business Bureau?                            19· ·hearing you indicated that the first time you heard
20· · · · A.· · I don't know.                               20· ·of CBC's white label business was when there was a
21· · · · Q.· · Okay.· Now, do you know how many of the     21· ·response to the preliminary injunction motion, you
22· ·complaints in Sentinel were received after filing      22· ·saw for the first time there was a white label
23· ·of the lawsuit?                                        23· ·business, correct?
24· · · · MR. WARD:· Objection to the form; vague.          24· · · · MR. WARD:· Objection; assumes facts not in
                                                 Page 140                                                    Page 141
·1· ·evidence.                                              ·1· ·like?
·2· ·BY THE WITNESS:                                        ·2· · · · A.· · I recall some of it contained his work
·3· · · · A.· · I believe it was after the TRO filing,      ·3· ·history, his work at Experian, and that he was also
·4· ·not the PI.                                            ·4· ·owner of MyScore.
·5· ·BY MR. COCHELL:                                        ·5· · · · Q.· · Was it a short kind of like squib or was
·6· · · · Q.· · And with respect to the preliminary         ·6· ·it a longer resume-type format?
·7· ·injunction hearing you also testified that you         ·7· · · · A.· · I believe it was short.
·8· ·visited Mr. Brown's LinkedIn profile from an           ·8· · · · Q.· · Okay.
·9· ·undercover computer; is that correct?                  ·9· · · · · · · · · (WHEREUPON, a certain document was
10· · · · A.· · Yes.                                        10· · · · · · · · · ·marked McKenney Deposition Exhibit
11· · · · Q.· · And did you take a screen shot of his       11· · · · · · · · · ·No. 27, for identification, as of
12· ·LinkedIn profile?                                      12· · · · · · · · · ·12/14/2017.)
13· · · · A.· · Yes.                                        13· ·BY MR. COCHELL:
14· · · · Q.· · I don't recall seeing that in the           14· · · · Q.· · I would like to show you 27 for
15· ·discovery.· But do you recall, did you review the      15· ·identification and ask you, sir, if you recognize
16· ·LinkedIn profile that you took the screen shot of?     16· ·that document.· Obviously it wasn't sent to you. I
17· · · · A.· · Yes.                                        17· ·see that this is part of the CSID FTC production.
18· · · · Q.· · And was it -- I've seen a couple of         18· · · · · · · CSID stands for what, sir?
19· ·different kinds of LinkedIn profiles.· There are       19· · · · A.· · CS Identity Corp.
20· ·some that are very short and to the point that just    20· · · · Q.· · And this is part of the database that
21· ·say this is what I do, period, and then there's        21· ·was obtained by the FTC from CBC?
22· ·some that look more like a resume.                     22· · · · MR. WARD:· Objection.
23· · · · · · · Do you recall what this particular --       23· ·BY MR. COCHELL:
24· ·what Mr. Brown's LinkedIn profile actually looked      24· · · · Q.· · If you know.


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FEDERAL TRADE COMMISSION vs CREDIT BUREAU CENTER                                                         Job 27222
Douglas McKenney                                                                                     Pages 142..145
                                                 Page 142                                                    Page 143
·1· · · · A.· · It's from the FTC-issued subpoena to        ·1· · · · · · · · · (WHEREUPON, a certain document was
·2· ·CSID.                                                  ·2· · · · · · · · · ·marked McKenney Deposition Exhibit
·3· ·BY MR. COCHELL:                                        ·3· · · · · · · · · ·No. 28, for identification, as of
·4· · · · Q.· · Does this refresh your memory as to what    ·4· · · · · · · · · ·12/14/2017.)
·5· ·you saw on LinkedIn when you accessed his LinkedIn     ·5· ·BY MR. COCHELL:
·6· ·site, Mr. Brown's site?                                ·6· · · · Q.· · Is this what you saw on LinkedIn?· This
·7· · · · A.· · This does -- this isn't a LinkedIn          ·7· ·is a rather lengthy profile.
·8· ·profile.                                               ·8· · · · A.· · I'm not sure.
·9· · · · Q.· · What's that?                                ·9· · · · Q.· · Okay.· So sitting here today you don't
10· · · · A.· · This isn't a LinkedIn profile.              10· ·know one way or the other whether that was the
11· · · · Q.· · All right.· Have you ever seen an e-mail    11· ·LinkedIn site that you saw when you accessed on
12· ·from somebody trying to connect on LinkedIn?           12· ·your undercover computer?
13· · · · A.· · No, I have not.                             13· · · · MR. WARD:· Objection; asked and answered.
14· · · · Q.· · Are you on LinkedIn yourself?               14· ·BY THE WITNESS:
15· · · · A.· · No.                                         15· · · · A.· · I don't know.
16· · · · Q.· · So you don't know if LinkedIn simply        16· · · · MR. COCHELL:· Fair enough.· I think I have one
17· ·takes like a short description of somebody's           17· ·more line of questions and I just need to get one
18· ·background and -- it's like a template e-mail.         18· ·document.· I may need to print it out.· Or if it's
19· ·Somebody wants to connect and it will take the         19· ·okay, it's in a pleading and I might just show the
20· ·banner of that person's experience.· Do you know if    20· ·witness on the computer screen, access the
21· ·that's the way it works or not?                        21· ·pleading, and ask him a couple questions.
22· · · · A.· · Correct, I don't know.                      22· · · · · · · Why don't we take a quick break and then
23· · · · Q.· · Okay.· Fair enough.· Let me show you 28.    23· ·we'll wind up.· Okay?
24                                                          24· · · · MR. WARD:· Okay.
                                                 Page 144                                                    Page 145
·1· · · · · · · · · (WHEREUPON, a recess was had            ·1· · · · A.· · Correct.
·2· · · · · · · · · ·from 2:44 p.m. to 2:57 p.m.)           ·2· · · · Q.· · All right.· Did you ever visit
·3· ·BY MR. COCHELL:                                        ·3· ·ScoreOutlook?
·4· · · · Q.· · I have a question for you now.· Did you     ·4· · · · A.· · I believe I did.
·5· ·ever visit a site known as United Credit               ·5· · · · Q.· · Okay.· Do you know if that was a white
·6· ·Protection?                                            ·6· ·label site sponsored by CBC?
·7· · · · A.· · I don't remember visiting that site.        ·7· · · · A.· · I don't know.
·8· · · · Q.· · Okay.· Would it surprise you to know        ·8· · · · Q.· · Okay.· Did you ever visit
·9· ·that you did in fact visit this white label site on    ·9· ·ScoreApprove.com?
10· ·April 14, 2016?                                        10· · · · A.· · I did, yes.
11· · · · A.· · I don't remember doing it.                  11· · · · Q.· · And do you know if that was a white
12· · · · Q.· · Okay.· Would it surprise you to know        12· ·label site?
13· ·that this is a website that's virtually identical      13· · · · A.· · I don't know what a white -- I don't
14· ·to one of the CBC sites that's the subject of this     14· ·know what would differentiate a site from being a
15· ·lawsuit?                                               15· ·white label site and just being a regular website.
16· · · · MR. WARD:· Objection; lack of foundation, lack    16· · · · Q.· · Okay.· I think I asked this a little
17· ·of firsthand knowledge.                                17· ·earlier but I think I asked it only as to Pierce.
18· ·BY MR. COCHELL:                                        18· · · · · · · Are you familiar with any other
19· · · · Q.· · Would it surprise you?                      19· ·deceptive or misleading business activities
20· · · · A.· · I mean, I don't remember visiting that      20· ·undertaken by Mr. Pierce?· Did you learn of
21· ·site in April of 2016.                                 21· ·anything else that would show that he engaged --
22· · · · Q.· · Okay.· So you don't know if that was a      22· ·routinely engaged in misleading activities with
23· ·white label site that was sponsored by CBC; is that    23· ·consumers?
24· ·correct?· You don't know one way or the other?         24· · · · MR. WARD:· Objection; asked and answered.

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Douglas McKenney                                                                                     Pages 146..149
                                                 Page 146                                                    Page 147
·1· ·Also outside the scope of his testimony.               ·1· ·correct?
·2· ·BY THE WITNESS:                                        ·2· · · · A.· · I don't recall any other search terms.
·3· · · · A.· · I'm sorry.· Can you repeat the question?    ·3· · · · Q.· · Fair enough.· How about Mr. Lloyd; did
·4· · · · · · · · · (WHEREUPON, the record was read by      ·4· ·you look for other misleading or deceptive schemes
·5· · · · · · · · · ·the reporter as requested.)            ·5· ·that Mr. Lloyd had undertaken prior to filing this
·6· · · · MR. WARD:· Same objection.                        ·6· ·lawsuit?
·7· ·BY THE WITNESS:                                        ·7· · · · MR. WARD:· Objection; outside the scope of his
·8· · · · A.· · I don't remember seeing anything else.      ·8· ·testimony.
·9· ·BY MR. COCHELL:                                        ·9· ·BY THE WITNESS:
10· · · · Q.· · Were you looking?                           10· · · · A.· · I looked for information -- any
11· · · · A.· · I've looked for information about Danny     11· ·information that I could find about Andrew Lloyd
12· ·Pierce and his company Revable before we filed the     12· ·prior to us filing the lawsuit.
13· ·lawsuit in the investigation stage.                    13· ·BY MR. COCHELL:
14· ·BY MR. COCHELL:                                        14· · · · Q.· · And the only information you came up
15· · · · Q.· · So it was confined to Revable, your         15· ·with was his connection to Mr. Pierce?
16· ·search for information?                                16· · · · A.· · I mean, I located his address, located
17· · · · MR. WARD:· Objection; mischaracterizes the        17· ·information about, you know, some of his relatives.
18· ·testimony.                                             18· · · · Q.· · Okay.· Do you know if Mr. Pierce sent
19· ·BY THE WITNESS:                                        19· ·traffic from his Craigslist website or activities
20· · · · A.· · I believe I searched on Danny Pierce for    20· ·to other websites?
21· ·information on Danny Pierce and on his company         21· · · · MR. WARD:· Objection; vague.
22· ·Revable.                                               22· ·BY MR. COCHELL:
23· ·BY MR. COCHELL:                                        23· · · · Q.· · Did they send traffic to other
24· · · · Q.· · And no other search terms; is that          24· ·websites --
                                                 Page 148                                                    Page 149
·1· · · · MR. WARD:· Same objection.                        ·1· ·BY THE WITNESS:
·2· ·BY MR. COCHELL:                                        ·2· · · · A.· · We began our investigation in March
·3· · · · Q.· · -- using Craigslist?                        ·3· ·2016, not March 2015.
·4· · · · A.· · I didn't come across any.                   ·4· ·BY MR. COCHELL:
·5· · · · Q.· · Okay.· Doesn't mean it doesn't exist,       ·5· · · · Q.· · I'm sorry.· March 2016.· Do you know how
·6· ·you just didn't see it; is that correct?               ·6· ·many consumers were allegedly misled from the point
·7· · · · A.· · Correct, I didn't see it.                   ·7· ·where you started your investigation until the
·8· · · · Q.· · Okay.· And do you know what other           ·8· ·lawsuit was filed?
·9· ·creditor -- what credit monitoring sites Pierce and    ·9· · · · MR. WARD:· Objection; outside the scope of his
10· ·Lloyd sent referrals to?                               10· ·testimony.
11· · · · MR. WARD:· Objection; asked and answered.         11· ·BY MR. COCHELL:
12· ·BY THE WITNESS:                                        12· · · · Q.· · Do you know?
13· · · · A.· · I don't know.                               13· · · · A.· · Not as we sit here today, but it is
14· ·BY MR. COCHELL:                                        14· ·contained in the Offerit database I believe with my
15· · · · Q.· · Do you know if Pierce or Lloyd sent         15· ·declaration that I filed with the TRO.· It went
16· ·customers or visitors to their website to other        16· ·back to January 2014 when Pierce began as an
17· ·credit report or score offers?                         17· ·affiliate.· And the number of sales are represented
18· · · · A.· · No, I don't know.                           18· ·within the Offerit database.
19· · · · Q.· · You started investigating in March 2015.    19· · · · MR. COCHELL:· Move to strike as unresponsive.
20· ·Do you know how many customers were allegedly          20· ·BY MR. COCHELL:
21· ·misled from the time you started your investigation    21· · · · Q.· · All right.· So while you have records
22· ·until the time the lawsuit was filed?                  22· ·that go back before March of 2016 you don't know
23· · · · MR. WARD:· Objection; mischaracterizes the        23· ·how many consumers were allegedly misled from the
24· ·testimony.                                             24· ·point where you started the investigation on


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FEDERAL TRADE COMMISSION vs CREDIT BUREAU CENTER                                                         Job 27222
Douglas McKenney                                                                                     Pages 150..153
                                                 Page 150                                                    Page 151
·1· ·March -- in March of 2016 until filing of the          ·1· · · · A.· · I don't recognize it but it appears to
·2· ·lawsuit; is that correct, sir?                         ·2· ·have been printed on December 12, 2017.
·3· · · · MR. WARD:· Objection; mischaracterizes the        ·3· · · · Q.· · Okay.
·4· ·testimony.                                             ·4· · · · A.· · I didn't do that on December 12, 2017.
·5· ·BY THE WITNESS:                                        ·5· · · · Q.· · Okay.· So this says that -- does this
·6· · · · A.· · We have complaints going back to January    ·6· ·indicate -- I think it's on the -- what page is it
·7· ·2014.                                                  ·7· ·on?· One moment.
·8· ·BY MR. COCHELL:                                        ·8· · · · · · · To date, up through this date indicated
·9· · · · Q.· · You've made no effort to determine how      ·9· ·on the letter itself, which I think -- what was the
10· ·many consumers were allegedly misled from the point    10· ·date that you saw it?· I'm having trouble reading
11· ·of starting your investigation to the point of         11· ·it.
12· ·filing the lawsuit, correct?                           12· · · · A.· · Top left corner it says December 12,
13· · · · MR. WARD:· Objection; mischaracterizes the        13· ·2017.
14· ·testimony, outside the scope of his testimony as a     14· · · · Q.· · That's the date of the printout.
15· ·witness.                                               15· · · · A.· · There's also a copyright on Page 2 of
16· ·BY MR. COCHELL:                                        16· ·2017.
17· · · · Q.· · Let me ask you some questions.              17· · · · Q.· · Do you recognize this as a printout of
18· · · · · · · · · (WHEREUPON, a certain document was      18· ·the BBB's website -- it's a company profile on the
19· · · · · · · · · ·marked McKenney Deposition Exhibit     19· ·BBB site?
20· · · · · · · · · ·No. 29, for identification, as of      20· · · · MR. WARD:· Objection; asked and answered, lack
21· · · · · · · · · ·12/14/2017.)                           21· ·of foundation.
22· ·BY MR. COCHELL:                                        22· ·BY MR. COCHELL:
23· · · · Q.· · I show you 29 for identification.· Do       23· · · · Q.· · Do you know one way or the other?
24· ·you recognize that document?                           24· · · · A.· · I mean, it appears to be a printout from
                                                 Page 152                                                    Page 153
·1· ·the BBB's website for FreeCreditNation.                ·1· ·of firsthand knowledge.
·2· · · · Q.· · Okay.· All right.· And it says it has an    ·2· ·BY MR. COCHELL:
·3· ·A+ rating?                                             ·3· · · · Q.· · Do you see it?
·4· · · · MR. WARD:· Objection; lack of foundation.         ·4· · · · A.· · I'm sorry.· See what?
·5· ·BY MR. COCHELL:                                        ·5· · · · Q.· · Do you recognize this as a -- the blue,
·6· · · · Q.· · That's what the document says, right?       ·6· ·I guess, Google URL that refers to BBB.org?
·7· · · · A.· · The document says A+ rating.                ·7· · · · A.· · There is a URL contained in this e-mail
·8· · · · Q.· · I would like to show you the next           ·8· ·that says BBB.org.
·9· ·document in order.                                     ·9· · · · Q.· · All right.· Let me go to the next one.
10· · · · · · · · · (WHEREUPON, a certain document was      10· · · · · · · · · (WHEREUPON, a certain document was
11· · · · · · · · · ·marked McKenney Deposition Exhibit     11· · · · · · · · · ·marked McKenney Deposition Exhibit
12· · · · · · · · · ·No. 30, for identification, as of      12· · · · · · · · · ·No. 31, for identification, as of
13· · · · · · · · · ·12/14/2017.)                           13· · · · · · · · · ·12/14/2017.)
14· ·BY MR. COCHELL:                                        14· ·BY MR. COCHELL:
15· · · · Q.· · I'd like to show you what has been          15· · · · Q.· · Do you recognize this document, sir?
16· ·marked as Exhibit 30 for identification and ask        16· · · · A.· · No, I do not.
17· ·you, sir, if you recognize that document.              17· · · · Q.· · It appears to be a BBB letter; is that
18· · · · A.· · I don't recognize this document.            18· ·correct?
19· · · · Q.· · Okay.· Are you familiar with Reputation     19· · · · MR. WARD:· Objection; lack of foundation, lack
20· ·Update, the site called Reputation Update?             20· ·of firsthand knowledge.
21· · · · A.· · No.                                         21· ·BY MR. COCHELL:
22· · · · Q.· · Do you see here that there is a citation    22· · · · Q.· · You can answer the question.
23· ·to the BBB.org site?                                   23· · · · A.· · I see at the top of the page it has
24· · · · MR. WARD:· Objection; lack of foundation, lack    24· ·BBB's header on it.

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FEDERAL TRADE COMMISSION vs CREDIT BUREAU CENTER                                                         Job 27222
Douglas McKenney                                                                                     Pages 154..157
                                                 Page 154                                                    Page 155
·1· · · · Q.· · Have you seen letters like this in the      ·1· · · · · · · All right.· With respect to the BBB
·2· ·CRM obtained by the FTC, that CBC CRM?                 ·2· ·complaints that were attached to your declaration,
·3· · · · MR. WARD:· Objection; vague.                      ·3· ·do you know how many of those complaints involve
·4· ·BY THE WITNESS:                                        ·4· ·people who had already received refunds from CBC?
·5· · · · A.· · I have not seen this type of document in    ·5· · · · MR. WARD:· Objection; mischaracterizes his
·6· ·the CBC's CRM database.                                ·6· ·declaration.
·7· ·BY MR. COCHELL:                                        ·7· ·BY THE WITNESS:
·8· · · · Q.· · Have you seen it from Erin McCool and       ·8· · · · A.· · There weren't any BBB complaints
·9· ·the BBB?                                               ·9· ·attached to my declaration.
10· · · · A.· · I just said I haven't -- I don't            10· ·BY MR. COCHELL:
11· ·recognize this document.                               11· · · · Q.· · Okay.· Fair enough.· Of the BBB
12· · · · Q.· · Have you seen documents similar to this     12· ·complaints that were provided to you by Erin McCool
13· ·in the documents that were voluntarily produced by     13· ·do you know if any of the consumers who purportedly
14· ·the BBB, Erin McCool?                                  14· ·authored those complaints had received refunds
15· · · · MR. WARD:· Objection; vague.                      15· ·prior to filing of this lawsuit?
16· ·BY THE WITNESS:                                        16· · · · MR. WARD:· Objection; lack of firsthand
17· · · · A.· · The BBB complaints when they send them      17· ·knowledge.
18· ·to us --                                               18· ·BY THE WITNESS:
19· ·BY MR. COCHELL:                                        19· · · · A.· · I don't know.
20· · · · Q.· · Can you answer my question, sir?            20· ·BY MR. COCHELL:
21· · · · A.· · No, I don't see this type of letter in      21· · · · Q.· · Let's take a look at 26 because I don't
22· ·the complaints that came to us from the BBB.           22· ·recall asking you questions about it.· Do you
23· · · · Q.· · Okay.· All right.· That's the answer to     23· ·recall ever seeing this document, Exhibit 26?
24· ·my question.· Thank you.                               24· · · · A.· · I mean, I didn't do this.· So...
                                                 Page 156                                                    Page 157
·1· · · · Q.· · Do you recall ever seeing this document?    ·1· ·business profile report before?
·2· · · · A.· · This specific document?                     ·2· · · · Q.· · Yes.
·3· · · · Q.· · I'm asking you, sir, if you have ever       ·3· · · · A.· · Yes, I have done that.
·4· ·seen this specific document.                           ·4· · · · Q.· · Did they look like this one?
·5· · · · A.· · No.                                         ·5· · · · A.· · Yes.
·6· · · · Q.· · Okay.· Do you recognize this as a           ·6· · · · Q.· · Okay.· And they typically show just how
·7· ·printout of BBB's website?                             ·7· ·many complaints were received about a business on
·8· · · · MR. WARD:· Objection; lack of foundation, lack    ·8· ·the business profile; is that correct?
·9· ·of firsthand knowledge.                                ·9· · · · A.· · Yes.· And I did it for CreditUpdates.com
10· ·BY THE WITNESS:                                        10· ·and I did it for eFreeScore.com and I did it for
11· · · · A.· · Again, I did not do this.· I didn't         11· ·FreeCreditNation.
12· ·print out this document.                               12· · · · Q.· · Okay.
13· ·BY MR. COCHELL:                                        13· · · · A.· · I didn't do it on this specific date of
14· · · · Q.· · So you've never seen a business profile     14· ·this printout that you're showing me.· This isn't
15· ·like this from the Better Business Bureau?             15· ·my work product.
16· · · · MR. WARD:· Objection; vague.                      16· · · · Q.· · Okay.· And this shows 81 complaints
17· ·BY THE WITNESS:                                        17· ·against the business?
18· · · · A.· · I've been on the Better Business Bureau     18· · · · MR. WARD:· Objection; vague.
19· ·website before.· I printed off business profile        19· ·BY MR. COCHELL:
20· ·reports.                                               20· · · · Q.· · Under "BBB Reason for Ratings" it says
21· ·BY MR. COCHELL:                                        21· ·"BBB rating is based on 13 factors" and then, you
22· · · · Q.· · Can you answer it yes or no, sir?           22· ·know, "Factors that affect the rating for
23· · · · A.· · You're just asking me have I been to the    23· ·CreditUpdates.com include 81 complaints filed
24· ·Better Business Bureau website and looked at a         24· ·against business," right?

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·1· · · · MR. WARD:· I'm sorry.· Just for my benefit        ·1· ·BY MR. COCHELL:
·2· ·where does it say that?                                ·2· · · · Q.· · Here's 32.· Have you ever seen this
·3· · · · THE WITNESS:· On Page 1.                          ·3· ·document, sir?
·4· · · · MR. COCHELL:· Page 1.                             ·4· · · · A.· · This specific one, no.
·5· · · · THE WITNESS:· Here (indicating).                  ·5· · · · Q.· · You mentioned a little earlier that you
·6· ·BY THE WITNESS:                                        ·6· ·had printed out -- or maybe I'm wrong so correct me
·7· · · · A.· · I see --                                    ·7· ·if I'm wrong.
·8· · · · MR. WARD:· Objection; lack of foundation, lack    ·8· · · · · · · Did you do your own search for
·9· ·of firsthand knowledge.                                ·9· ·CreditUpdates or eFreeScore with the business
10· ·BY MR. COCHELL:                                        10· ·profile?· Did you do your own business profile
11· · · · Q.· · That's what it says.· It just says 81       11· ·search?
12· ·complaints.· That's one of the factors that go into    12· · · · A.· · Yes.
13· ·the rating, right?                                     13· · · · Q.· · Is that in the document production made
14· · · · MR. WARD:· And it has a link to go to the         14· ·by the FTC to CBC and Mr. Brown?
15· ·factors as well.                                       15· · · · A.· · I'm not sure.
16· ·BY MR. COCHELL:                                        16· · · · Q.· · Okay.· Could you just check when you
17· · · · Q.· · Is that correct, sir?                       17· ·have an opportunity because I don't recall seeing
18· · · · A.· · Yes, it says 81 complaints filed against    18· ·it.· It doesn't mean that it's not there.
19· ·the business.                                          19· · · · A.· · Okay.
20· · · · MR. COCHELL:· Okay.· What's the next one?· 32.    20· · · · Q.· · Just like you don't recall --
21· · · · · · · · · (WHEREUPON, a certain document was      21· · · · MR. WARD:· We will look for it and let you
22· · · · · · · · · ·marked McKenney Deposition Exhibit     22· ·know.
23· · · · · · · · · ·No. 32, for identification, as of      23· · · · MR. COCHELL:· Okay.· Thank you.
24· · · · · · · · · ·12/14/2017.)                           24
                                                 Page 160                                                    Page 161
·1· ·BY MR. COCHELL:                                        ·1· ·and it goes through for eFreeScore in Walnut, CA.
·2· · · · Q.· · This would indicate -- like the other       ·2· ·Do you see that?
·3· ·one, it indicates the number of complaints as of       ·3· · · · A.· · Yes.
·4· ·this date in this record.· You don't have personal     ·4· · · · Q.· · And so that would be 63 complaints for
·5· ·knowledge, you didn't run the report, but it says      ·5· ·the prior 36 months prior to 12/12/2017, which is
·6· ·what it says, fair enough?                             ·6· ·the date on the first page of Exhibit 32; is that
·7· · · · A.· · Can I say, I do know from past              ·7· ·correct?
·8· ·experience reviewing Better Business Bureau            ·8· · · · MR. WARD:· Objection; lack of firsthand
·9· ·business profiles that the number of complaints        ·9· ·knowledge, lack of foundation, mischaracterizes his
10· ·that they list often will just be complaints that      10· ·previous testimony.
11· ·have been filed in the last like 36 months.            11· ·BY MR. COCHELL:
12· · · · Q.· · Okay.· All right.· And so you think         12· · · · Q.· · Okay.· Can you answer my question, sir?
13· ·that's the practice, but sitting here you're not       13· · · · A.· · It says 63 total consumer complaints on
14· ·sure or are you saying you know that's their           14· ·Page 2.
15· ·practice?                                              15· · · · Q.· · And the way you interpret that is that
16· · · · A.· · No.· I know that I've seen that on other    16· ·it would be for the prior 36 months, right?
17· ·business profile reports where they list how many      17· · · · MR. WARD:· Same objection.
18· ·complaints have been filed or recorded by a            18· ·BY MR. COCHELL:
19· ·business for a certain duration of time.· I believe    19· · · · Q.· · Of the date of the document.
20· ·it's the last 36 months.                               20· · · · MR. WARD:· Same objection.
21· · · · Q.· · Okay.· Why don't you look at the second     21· ·BY THE WITNESS:
22· ·page of Exhibit 32.· And there's like four, you        22· · · · A.· · It doesn't specifically say in the last
23· ·know, URLs.· Then the fifth one on the far             23· ·36 months.
24· ·left-hand side says "63 total customer complaints"     24· ·BY MR. COCHELL:

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·1· · · · Q.· · Okay.· I would like you to look at 29,      ·1· · · · MR. WARD:· Do you actually want him to sit
·2· ·Page 2.                                                ·2· ·here --
·3· · · · MR. WARD:· We're going back to 29?                ·3· · · · MR. COCHELL:· No.· I don't care.
·4· · · · MR. COCHELL:· Yeah.· You know what?· I don't      ·4· · · · MR. WARD:· Well, we care.
·5· ·think it's necessary.· It says what it says.           ·5· ·BY MR. COCHELL:
·6· ·BY MR. COCHELL:                                        ·6· · · · Q.· · Are you satisfied that you understand
·7· · · · Q.· · I would like to show you on the             ·7· ·what you're looking at, sir?
·8· ·screen -- we can pull it up real quick.· I'm going     ·8· · · · MR. WARD:· How on earth could he understand a
·9· ·to show you Docket 51 that was a sealed declaration    ·9· ·voluminous document that was filed by another
10· ·from Mike Brown with exhibits.· And one of the         10· ·witness; namely, Mr. Brown, at the PI hearing?
11· ·exhibits was Exhibit G that lists a number of real     11· · · · MR. COCHELL:· Well, I understand that you may
12· ·estate lender and broker companies.                    12· ·not want me to ask questions about it.
13· · · · · · · Do you remember -- this purports to be      13· · · · MR. WARD:· Ask your question but don't ask him
14· ·the white label sites that were identified by          14· ·to --
15· ·Mr. Brown in his declaration.                          15· · · · MR. COCHELL:· I have.· I have.· Don't
16· · · · MR. WARD:· Have you asked a question?             16· ·interrupt me with speaking objections.· I'm just
17· · · · MR. COCHELL:· Yeah.· I invited his attention      17· ·asking a question.
18· ·to 51, Exhibit G.· He's looking at it right now.       18· ·BY MR. COCHELL:
19· ·BY MR. COCHELL:                                        19· · · · Q.· · Do you recognize this as a list of -- do
20· · · · Q.· · Have you had a fair opportunity to look     20· ·you recognize any of these companies as white label
21· ·at it, sir?                                            21· ·companies that were related to CBC?
22· · · · MR. WARD:· I believe this document is multiple    22· · · · MR. WARD:· Objection; lack of foundation, lack
23· ·pages long if I recall.                                23· ·of firsthand knowledge, outside the scope of his
24· · · · MR. COCHELL:· It is.                              24· ·testimony as a witness.
                                                 Page 164                                                    Page 165
·1· · · · MR. COCHELL:· It's a question that is clearly     ·1· · · · MR. COCHELL:· Oh, come on.· Get off it.
·2· ·designed for foundation.                               ·2· · · · MR. WARD:· No, I won't come on.
·3· · · · MR. WARD:· He hasn't even had a chance to         ·3· · · · MR. BROWN:· Can we go off the record?
·4· ·scroll through this entire --                          ·4· · · · MR. COCHELL:· No, we're not off the record.
·5· · · · MR. COCHELL:· You objected to him scrolling       ·5· · · · MR. LEVINE:· I'm not accusing you of anything,
·6· ·through it.                                            ·6· ·Steve, but you said it was filed and there's no
·7· · · · MR. WARD:· Because it would take forever.         ·7· ·indication from ECF that --
·8· · · · MR. COCHELL:· Then take whatever time he          ·8· · · · MR. COCHELL:· I think that's an appropriate
·9· ·needs.                                                 ·9· ·observation.· And under the circumstances of this
10· · · · MR. WARD:· Why didn't you bring a printout?       10· ·case I got certain filings.· It may or may not have
11· · · · MR. COCHELL:· Look, I'm showing him the           11· ·been the actual filed copy.· So to me it's because
12· ·screen.· If he doesn't want to look at it --           12· ·it was filed under seal.· It was provided to me by
13· · · · MR. WARD:· How many pages are on that?            13· ·prior counsel.
14· · · · MR. LEVINE:· Why isn't there a file stamp on      14· · · · · · · So that's why it's been presented in
15· ·it?                                                    15· ·this light.· And we can present the document, you
16· · · · MR. COCHELL:· I think it's at the front of the    16· ·know, with that observation.· And if it's different
17· ·document.· Maybe there isn't a file stamp on it. I     17· ·from the real sealed document, then so be it.
18· ·don't know.                                            18· · · · MR. WARD:· But you -- if you have a question
19· · · · MR. LEVINE:· If this had actually been filed,     19· ·for Mr. McKenney, that's fine.· But you can't ask
20· ·there would be a stamp on each page.                   20· ·him to authenticate this or tell you what it is.
21· · · · MR. COCHELL:· I don't know.· I don't know what    21· ·It's already been put in the record by Mr. Brown.
22· ·they do at the --                                      22· · · · · · · If you have a question, we're here for
23· · · · MR. WARD:· Well, then you've misrepresented       23· ·you to ask your question.
24· ·what this is.                                          24· · · · MR. COCHELL:· Okay.· Well, I've asked my

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·1· ·question.                                              ·1· ·BY MR. COCHELL:
·2· ·BY MR. COCHELL:                                        ·2· · · · Q.· · Okay.· Does that appear similar to what
·3· · · · Q.· · And do you know if any of the names on      ·3· ·you saw on the filed document that I guess your
·4· ·that are white label businesses identified by          ·4· ·lawyers may have shown you, the 51, that was filed
·5· ·Mr. Brown in Filing 51, which was a sealed exhibit?    ·5· ·with the court, his declaration with the list?· Do
·6· · · · · · · Did you ever see 51, the sealed exhibit?    ·6· ·you recall that being the same or similar?
·7· · · · A.· · Yes, I've seen it.                          ·7· · · · A.· · I don't recall that.
·8· · · · Q.· · Okay.· And it's a list of real estate       ·8· · · · Q.· · Fair enough.· Okay.· Now, my question
·9· ·agents, lenders, real estate companies, brokers,       ·9· ·to you, sir, is do you know whether those
10· ·that are purportedly part of a white label             10· ·businesses generated profit for CBC as white label
11· ·business; is that correct, sir?                        11· ·companies?
12· · · · MR. WARD:· Objection; lack of foundation,         12· · · · MR. WARD:· Objection; lack of foundation, lack
13· ·lack of firsthand knowledge, outside his               13· ·of firsthand knowledge, outside the scope of his
14· ·testimony, outside the scope of his testimony in       14· ·testimony.· Also vague.
15· ·this case.                                             15· ·BY MR. COCHELL:
16· ·BY THE WITNESS:                                        16· · · · Q.· · Do you have any facts or knowledge as to
17· · · · A.· · I see a list of -- I see domains, site      17· ·how much revenue was generated from the 300 or so
18· ·names, site version names, logo, phone number.· And    18· ·names or URLs on that list?
19· ·there's another column that's cut off.                 19· · · · MR. WARD:· Objection; mischaracterizes the
20· · · · · · · In domain section I see                     20· ·document.· And my other objections.
21· ·CreditUpdates.com.· The site name, I see               21· ·BY THE WITNESS:
22· ·CreditUpdates.com.· I've also seen that appear for     22· · · · A.· · I mean, again, I see CreditUpdates.com,
23· ·eFreeScore.com in the domain column and in the site    23· ·eFreeScore.com on this.· What is the business?
24· ·name column.                                           24· ·What are the other businesses?
                                                 Page 168                                                    Page 169
·1· ·BY MR. COCHELL:                                        ·1· ·you typically do.· I don't really pay attention
·2· · · · Q.· · Okay.· So you don't know?                   ·2· ·too much.· Could I have a paper copy with the
·3· · · · A.· · I don't know what I'm actually looking      ·3· ·exhibits?
·4· ·at here with this filing.                              ·4· · · · THE COURT REPORTER:· Yes.
·5· · · · Q.· · Okay.· That's because you never really      ·5· · · · MR. WARD:· Yes, we would.· E-tran.
·6· ·looked into the white label businesses and tried to    ·6· · · · · · · · ·(Time Noted:· 3:34 p.m.)
·7· ·figure out what they do, what their relationship is    ·7· · · · · · ·FURTHER DEPONENT SAITH NAUGHT.
·8· ·to CBC; isn't that correct?                            ·8
·9· · · · MR. WARD:· Objection; mischaracterizes his        ·9
10· ·testimony and it's argumentative.                      10
11· · · · MR. COCHELL:· Closing down a business is          11
12· ·pretty argumentative, too, without knowing what the    12
13· ·business is.                                           13
14· · · · MR. WARD:· That's got nothing to do with this     14
15· ·deposition.· Those arguments could be made in          15
16· ·court.                                                 16
17· · · · MR. COCHELL:· They will be.                       17
18· · · · · · · That's all the questions we have for        18
19· ·this witness.· Thank you.                              19
20· · · · MR. WARD:· Thank you.· We reserve signature.      20
21· · · · THE COURT REPORTER:· Would you like this          21
22· ·transcript written up?                                 22
23· · · · MR. COCHELL:· Yes.· I'd like an E-tran,           23
24· ·condensed, and an original version of whatever         24

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·1· ·STATE OF ILLINOIS )                                           ·1· ·such attorney or counsel for any of the parties
·2· · · · · · · · · · ·)· SS:                                      ·2· ·hereto, nor interested directly or indirectly in
·3· ·COUNTY OF DU PAGE )                                           ·3· ·the outcome of this action.
·4· · · · · · · I, SUSAN K. TODAY, C.S.R. No. 84-2212, a           ·4· · · · · · · IN WITNESS WHEREOF, I do hereunto set my
·5· ·Notary Public within and for the County of DuPage,            ·5· ·hand of office at Chicago, Illinois, this 27th day
·6· ·State of Illinois, and a Certified Shorthand                  ·6· ·of December, 2017.
·7· ·Reporter of said state, do hereby certify:                    ·7
·8· · · · · · · That previous to the commencement of the           ·8
·9· ·examination of the witness, the witness was duly              ·9
10· ·sworn to testify the whole truth concerning the               10· · · · · · · SUSAN K. TODAY, C.S.R. No. 84-2212.
11· ·matters herein;                                               11· · · · · · · Notary Public, DuPage County, Illinois.
12· · · · · · · That the foregoing deposition transcript           12· · · · · · · My commission expires April 6, 2020.
13· ·was reported stenographically by me, was thereafter           13
14· ·reduced to typewriting under my personal direction            14
15· ·and constitutes a true record of the testimony                15
16· ·given and the proceedings had;                                16
17· · · · · · · That the said deposition was taken                 17
18· ·before me at the time and place specified;                    18
19· · · · · · · That the reading and signing by the                19
20· ·witness of the deposition transcript was agreed               20
21· ·upon as stated herein, that the witness has                   21
22· ·requested a review pursuant to Rule 30(e)(2).                 22
23· · · · · · · That I am not a relative or employee or            23
24· ·attorney or counsel, nor a relative or employee of            24


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·1· · · · · · · · ·DEPOSITION ERRATA SHEET                         ·1· · · · · · · · ·DEPOSITION ERRATA SHEET
·2                                                                 ·2· ·Page No._____Line No._____Change to:______________
·3· ·EcoScribe Assignment No. 27222                                ·3· ·__________________________________________________
·4· ·Federal Trade v. Credit Bureau                                ·4· ·Reason for change:________________________________
·5· ·Case No. 17-cv-00194                                          ·5· ·Page No._____Line No._____Change to:______________
·6                                                                 ·6· ·__________________________________________________
·7· · · · · · DECLARATION UNDER PENALTY OF PERJURY                 ·7· ·Reason for change:________________________________
·8                                                                 ·8· ·Page No._____Line No._____Change to:______________
·9· · · · · · ·I declare under penalty of perjury that I           ·9· ·__________________________________________________
10· ·have read the entire transcript of my Deposition              10· ·Reason for change:________________________________
11· ·taken in the captioned matter or the same has been            11· ·Page No._____Line No._____Change to:______________
12· ·read to me, and the same is true and accurate, save           12· ·__________________________________________________
13· ·and except for changes and/or corrections, if any,            13· ·Reason for change:________________________________
14· ·as indicated by me on the DEPOSITION ERRATA SHEET             14· ·Page No._____Line No._____Change to:______________
15· ·hereof, with the understanding that I offer these             15· ·__________________________________________________
16· ·changes as if still under oath.                               16· ·Reason for change:________________________________
17                                                                 17· ·Page No._____Line No._____Change to:______________
18· · · · · · · · · · · ·Signed on the ______ day of               18· ·__________________________________________________
19· · · · · · · · · · · ·____________, 20___.                      19· ·Reason for change:________________________________
20· · · · · · · · · · · ·______________________________            20· ·Page No._____Line No._____Change to:______________
21· · · · · · · · · · · ·DOUGLAS M. McKENNEY                       21· ·__________________________________________________
22                                                                 22· ·Reason for change:________________________________
23                                                                 23· ·SIGNATURE:_______________________DATE:___________
24                                                                 24· · · · · · · DOUGLAS M. McKENNEY



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·3· ·__________________________________________________
·4· ·Reason for change:________________________________
·5· ·Page No._____Line No._____Change to:______________
·6· ·__________________________________________________
·7· ·Reason for change:________________________________
·8· ·Page No._____Line No._____Change to:______________
·9· ·__________________________________________________
10· ·Reason for change:________________________________
11· ·Page No._____Line No._____Change to:______________
12· ·__________________________________________________
13· ·Reason for change:________________________________
14· ·Page No._____Line No._____Change to:______________
15· ·__________________________________________________
16· ·Reason for change:________________________________
17· ·Page No._____Line No._____Change to:______________
18· ·__________________________________________________
19· ·Reason for change:________________________________
20· ·Page No._____Line No._____Change to:______________
21· ·__________________________________________________
22· ·Reason for change:________________________________
23· ·SIGNATURE:_______________________DATE:___________
24· · · · · · · ·DOUGLAS M. McKENNEY




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                                          EcoScribe Solutions· · 888.651.0505
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                                          Talk   about Anti  Fraud Systems    022812
Delivered-To               rob.lawrence@toomuchmedia.com
Received   by             10.27.7.145     with   SMTP  id 139csp2119924wlh
               Tue        24 Feb 2015     112933 -0800                   PST
X-Received               by 10.50.85.18      with  SMTP  id d18mr17572470igz.3.1424802500688
               Tue        24 Feb 2015     102820 -0800                   PST
X-Mozi lla-Keys

Return-Path               vlad.zamelukhin@toomuchmedia.com
x-ori gi nal        -TO      rob@toomuchmedi                com
Delivered-To   rob.lawrence@toomuchmedia.com
Received   from vlad-zamelukhins-mac-pro.local                                      unknown
               by roxy.isprime.com Postfix with ESMTPA id                                     D02c57c4BA2
               for rob@toomuchmedia.com   Tue 28 Feb 2012                                     111004        -0500   EST
Message-ID               4F4CFC5C l000407@toomuchmedia.com
Date         Tue     28    Feb    2012       111004         -0500
From vlad zamelukhin   vlad.zamelukhin@toomuchmedia.com
User-Agent Thunderbird    2.0.0.19  Macintosh/20081209
MIME-Version 1.0
To        rob@toomuchmedi              com
Subject          Re Promo                       code
content-Type   text/plain                        charsetISo-8859-1                  formatflowed
content-Transfer-Encoding                         7bit




                original        Message
Subject                      Re   Promo code
Date           Tue        14 Feb 2012    002521 -0800
From           Mike       Brown      brown@zoomcreditscore.com
To             Vlad       zamelukhin    vlad.zamelukhin@toomuchmedia.com
References         4F1F2DE2    6030900@toomuchmedi                                   com
c61SAAF1D-9783-49E5-A196-A25SO3EAE4E1@zoomcredi                                      tscore corn
4F218c2A 50804@toomuchmedi         corn
B1E9DFcc-A9AO-4720-A3cc-D9DFOcc82F25@zoorncredi                                      tscore   .com
4F317090            1020706@toornuchrnedi                  corn




Do you guys have any                    integration with anti fraud   services                       like    scrubkit     Or any
other service   whats                   the best way to prevent  fraud  using                      your     platform

Thanks
Mike

On     Feb          2012     at    1042         AM     Vlad      zarnelukhin       wrote

     Hi    Mike

   Just wanted to                get    in   touch        with    you   to   see    how   everything      is   going    Please   let   me
know  if you have                any    questions

     Thanks        and      look       forward       to    your    response

     Best     regards
     --


     Vlad     zamelukhin

     Too     Much    Media


     http     //toornuchrnedi            corn



     732-385-1536           XT    1123
                                                                        Page
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                                                  Talk     about       Anti    Fraud       systems      022812

  ICQ            452583619

  AIM            TMMV1ad


  skype             TMMV1ad




  Mike          Brown    wrote
      Hey       vlad

           will     get around  to signing   online and working on                                   some    of   the    integration      more
probably           on Monday   Thanks  again  for all your help

      Mike

      On     Jan    26 2012            at    923 AM             vlad    zamelukhin         wrote


       Hey       Mike

       Just        checking       in    with               to    see    if you       needed           more    info      from             or   our
                                                   you                                         any                             myself
developers

       Thanks          again     and         look        forward       to    your     reply

       Best        regards
       --


       vlad        zamelukhin

       Too       Much    Media


       http        //toomuchmedi                 com

       732-385-1536              XT    1123


       ICQ          452583619

       AIM          TMMV1ad


       skype            TMMV1ad




       Mike        Brown   wrote

           Thanks

           On    Jan    24 2012             at    217 PM          vlad      zamelukhin        wrote


            Mike

            was     able    to    get       you    the          month       free    code    approved

            Go     to https//secure.offerit.com/account.html                                    and    create           new    account    The
2nd    page        will ask you for     code enter QJB9XIF2

             Please      let     me    know       if you        have    any    questions

            Thanks       and     look       forward        to working          with    you
                                                                             Page
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                                        Talk     about   Anti   Fraud   Systems   022812

         Best    regards
         --


         vlad    zamelukhin


         Too    Much     Media


         http    //toomuchmedi             com

         732-385-1536         XT    1123


         ICQ       452583619

         AIM       TMMV1ad


         Skype          TMMv1ad




vlad    zamelukhin


Too    Much    Media


http    //toomuchmedi             com

732-385-1536        XT    1123


ICQ      452583619

AIM      TMMV1ad


Skype         TMMV1ad




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                           Dealing with Affiliate                           Fraud      Fragalia00000SO3
From         Mike Brown cmi ke@myscore360.com
Sent         Friday March 25 2016 1110 PM
To        Die9o           cdiego@myscore36O              corn
Cc        David      Rojas    darb714@gmail.com                    Mike     Brown   M.Brown@myscore36O.com                  Tom
Fra9al        ctom@myscore36o               corn
Subject             Re     client     charged       76    times-Fraud-        important

Diego        Please        cancel     all    and    refund

Tom   reach out to Sv                 235 complete           credit   plus over   this fraud  Partners
blocked   from signing                up with same           card   more than  twice  now so this happened
before   this change

On    Friday         March    25      2016        Diego         diego@rnyscore360.com             wrote

     Hello    Mike

     This  account  holder claims we are charging                             her   and   there    is   no   reason   for
     it   since its not    business  card
     Full  Name Ariel Mccullough
     Credit   card 4342-56 xx-xxxx-7000
     https //admin           .myscore36o           com/admin/search/credit_card/434256-7000
     visa
     exp    3/2019
     Address    162        Howard     Ave
     Denver      CO        80236
     US


     Agent
     This cust has over 76 accounts   linked  to her card   she claims she                                      is    not
     business and has no idea why   she keeps  getting billed from us


     Billing        Info


     https    //adrnin       .myscore36o           com/admi      n/account/update_billing_i             nfo/2354176

     Full    Name Ariel Mccullough
     Credit     Card 4342-56 xx-xxxx-7000
     chttps//adrnin          .myscore36o           corn/admi     n/search/credit_card/434256-7000
     visa
     exp 3/2019
     Address 162           Howard     Ave
     Denver   Co           80236
     US
     Phone
     This is        the    card     that    has    several       accounts     linked




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Mir Au   LiveConnectGlobal         MediaBeep        Skype    chat    history




           Subject       Mir All     LiveConnectGlobal                         MediaBeep              Skype       chat        history
           From Tom            Fragala      tommytruston.com
           Date      5/22/14         433 PM
           To mikemyscore360.com                               cmikemyscore360.com

           Mike


           So you     have          transcript       of the         chat    with    Mir All



                                   111518      AM               Tom        Fragala     added          Mike        Brown
                                   111644      AM       Mike         Brown         Hello

                                   111649      AM
                                                mediabeepmir Hello MIKE
                                   111809      AM
                                                Mike Brown Tell me more about the type of traffic you are doing
           What     data you        dialing What offers you pushing How many reads per call What type of
           incent    you      doing
                                   111829      AM       mediabeepmir                  SEARCH           PPV CALL
                                   111849      AM       mediabeepmir we are dialing tax and payday data
                                   112341      AM       Mike Brown Ok Everyone we have worked with that                                                           has done

           Payday      data had the          campaign back                  out    really    bad Those              customers                dont       typically        have      the

           fund     on their card          after the        trial    is    over


           We    do have           new product          called         PaydayBureau.com                 which            think        will    be        great      fit   though
                                   112434      AM       mediabeepmir                  yea    interested            on    it    aswell

                                   112447      AM       mediabeepmir                  WE DONT           DIAL        ON DECLINED                     PAYDAY DATA
                                   112457      AM       mediabeepmir                  WE     DIAL      ON DATA THAT                        HAS ATLEAST               $100       with

           them and          are   near to payday
                                   11252       AM       mediabeepmir                  and    can      cover charges                   of     100         for the         service

           charge     or     upfront       for any    loan      company             might asked
                                   112530 AM            mediabeepmir thats                       is   why we        are       still    in    business          for   long
                                   112759 AM            Mike Brown brb
                                   112810 AM            mediabeepmir                  also       paydaybureau                  looks          good       fit   aswell

                                   125707 PM           mediabeepmir                  Im not        sure      if   you    forgot            but      am    still   waiting
                                   125753       PM Tom              Fragala mike was pulled                        into       something not                 sure     when
           hell     be back
                                   125810 PM mediabeepmir oh                                ok
                                   125823 PM mediabeepmir so                                what      do you wthink                   how we        can     move         forward
                                   12585 PM Tom Fragala lets                               continue          the    chat       with         mike to find out

                                   125902       PM     mediabeepmir                  ok
                                   11557       PM     Edited          11715 PM              Mike      Brown         Do you             guys      dial    the      new TCPA
           complaint         data Can you            show me an example                       of the      optin         for the        data
                                   12525 PM           mediabeepmir                  sure

                                   12529 PM           mediabeepmir                  give    memoment
                                   12542 PM        mediabeepmir                     5/12/2014  633 198.96.90.35
                                                                                             lnez Fordham p.o
            box 4633         inglewood         CA 90309  inezfordhamWyahoo.com 4242233716   4242333716
           Anytime           $1000.00          180522340    6/30/196  c1970086 CA Rent   10 52 No   Employment
            Noemployee$1                                              5555555555                      BiWeeklys/22/20146/22/2Ol4Paper
           Check edd                   Checking         bancorp             31101169             9.62E14
                                   12606 PM           Mike      Brown           can you      give      me     an exam             le       of the    site      where      the

           consumer does             the    optin     to be called

                                                                                                                                 EIBIT

lof2                                                                                                                          ____________                                 12/11/171119AM
                                                                                                                                                     44
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Mir Au   LiveConnectGlobal          MediaBeep        Skype      chat   history




                                  13142         PM     mediabeepmir paydaytotal.com
                                  13229         PM     Mike Brown  dont see any optin                                       or disclosure            on    this     page
                                  13242         PM     Mike          Brown         Are you          dialing        by hand         or autodialer

                                  13248         PM     mediabeepmir hand
                                  14903         PM     Mike Brown hand dial and then they speak                                               directly       to      human
           right No press                style      campaign
                                  15112         PM        Edited        15133 PM                   Mike      Brown         If   we    did    something            together we
           would      at    least    need     you    up update               the      disclosures            You have            no optin          for the    consumer        to

           be dialed         for telemarketing                 purposes            Unless you             also do your               own inhouse             payday
           lending         you    may   get     around         that     requirements                 by having            an existing          business           relationship

           but you         dont do      the     payday         lending do             you
                                  15456 PM             mediabeepmir                      can update                those        for you

                                  15509 PM             mediabeepmir                    also         buy      data from different                   vendor
                                  15633 PM             Mike Brown ok                    the    vendor             you     buy    data from do they disclose

           your business            name      in    the    telemarketing                disclosure                Need      to   make        sure    its   there     too TCPA
           and    FTC       are very    strict..

                                  15732 PM             mediabeepmir                      guess        not         since    im buying          old aged         data not
           realtime

                                  20242 PM             Mike          Brown         what            of the        calls    are    on old aged          data without          the

           optin We can only work on                           the     optin       data with         the     proper         disclosure

                                  20629         PM mediabeepmir ok     that                   if            is    the     case we can          setup       that     way
                                  20634         PM mediabeepmir so we are                                    compliant
                                  21904         PM mediabeepmir    can add                                  the        disclosure       and    optin

                                  44812         PM Tom  Fragala mike
                                  72337         AM        mediabeepmir                  Hi    mike        and      TOM
                                  80750         AM        mediabeepmir                  im anxious                to     know    if   theres       any     possibilities for

           us    to   work toghether on paydaybureau
                             114256 AM Mike Brown                                     Once you            add      the     proper disclosures                we can work
           together on the             PaydayBureau                  offer         should       also       tell    you     we    are    in   the    middle of switching
           the    offer from        credit      card      to   ACH       so we        wont         be ready to             start      with   the    offer    till   the

           changes          are   completed          which        could          be     few weeks
                                  114334           AM      mediabeepmir                   should           work




2of2                                                                                                                                                                       121111171119AM
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Re    Suspicious    activity




             Subject              Re      Suspicious            activity

             From           Brent       Brague        brent@boostnetworks.com
             Date 8/27/13                   1038AM
             To      Mike Brown                cmikemyscore360.com


             Lets have              call    later    today       to      review everything               Then       will   go to the pubs       and      correct         any issues       and

             sources         of   Fraud


             Brent      Brague


             Office     801-252-5017
             Skype           MojoBrent
             Email           brent@boostnetworks.com
             http//www.linkedin.com/in/brentbrague




             Sign up         link         http//boost.affiliate-reporting.com




             From           Mike        Brown        mikecThmvscore360.com
             Date Monday August 26 2013 1050 PM
             To Brent Brague brenuthboostnetworks.com
             Subject              Re      Suspicious             activity


             Same       fraudster          just    ordered          on        279423




             On Mon Aug 26 2013                           at   533       PM      Mike    Brown mikecmvscore36O.com                              wrote

                   Sorry       mean        only     sales      on     or after       8/22     The        before    that     date for 277790 are                legit




                   On Mon Aug 26 2013 at 514                                   PM    Mike     Brown mikemyscore360.com                              wrote

                     Can we reach out to 280015                                and   277790       to find out       how they        are   doing sales             Lets    stop    all   their sales

                      and    this    is    my     notice       now       to   charge    them back


                       just got         two fraud         alerts      real time fraud             chargeback         alert     from   this   affiliate     and         after further     inspection

                       can        say   with    very      high      confidence          these are         all   stolen     credit   cards



                     After        seeing the fraud              alerts         then see        some      sales    thru     known     proxies    and      all    credit     card   AVS
                      mis-match            plus     the    caps       Both       these      affiliates    appear     to     be the same        exact type and              maybe even           the

                      same        person trying to hide under                        subids



                      Thanks
                      Mike




               B460E796-BE77-443F-B23E-82365D1                                 6579A                                                                              _________________________

                                                                                                                                                                              EXHIBIT


                                                                                                                                                                                  32

 of                                                                                                                                                                                             12/1/17   857   PM
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Re    Suspicious     activity




                                               BOOSTNET WORKS

                   Attachments




                   B460E796-BE77-443F-B23E-82365D1   6579A png                                4.8   KB




 of                                                                                                 12/1/17   857 PM
                    Case: 1:17-cv-00194 Document #: 206-6 Filed: 03/24/18 Page 79 of 82 PageID #:5381
New   integration    going    live




            Subject           New      integration            going         live

            From           Mike      Brown    mikemyscore36O.com
            Date 4/7/16                    221 AM
            To      Diego         Munoz cdiegomyscore36O.com                                              David Rojas      darb714gmail.com

            We              to announce
                    are excited          we have    new integration   going live next week with     select

            few  major  banks   Now when   customer   calls their bank  to question or dispute    charge the
            supporting banks can see the users account detail     in CST to confirm  the customers   charge
            is valid and not friendly fraud This works both ways and allows       banks to easily
            and correctly              identify         actual       true    fraud


            Please         note we         will   be sharing           with        the   bank       all    the   account    details going

            forward          including           CST notes so               please       make       sure     our notes are        professional     Agents      should
            be aware           their the          notes       can be reviewed                 by other companies and we want to make                        sure    our

            company            always always                 looks     positive          Following correct              process    and   procedures      and

            always helping                 the    customers


            As always we never want                           to prevent           customers              from   calling their banks      so deescalating
            and resolving              the       call   is     priority even             if   the   customer        may     not beable    to get   the   result they

            want


            We      will    frequently            be adjusting          the        refund procedures               and     chargeback     processing
            procedures               the   next few           months         as we optimize these new integrations so appreciate the

            teams          ability    to quickly             adapt     to    new polices Keep up the great work you guys are doing
            great job



            Thanks
            Mike




                                                                                                                                                               12/11/17   1248   PM
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   From                                                                                                                    Michele                Evans

   Sent                                                                                                                  Wednesday                                 May 20               2015         132             PM
   To                                                                                                                      Eric        Babcock                       Shayna             Cavalieri

   Cc                                                                                                                    James                 Rohman

   Subject                                                                                                                 RE Reporting                                    Free      Trial         Merchant                     Review

   Attachments                                                                                                             Free        Trial        Merchant                       Review                05202015.xlsx




   Hi        Eric

   Please                     find          attached                the             Free            Trail           Merchant                   Review                    Report
   When                   you              get           chance                    please              look          over         the      information                           and    let        me know                if
                                                                                                                                                                                                                                you have any                                   questions             or        concerns
   Thank                  you
   Michele




    Power
   __s_seeeajj
   Michele                     Evans                  Data        Analyst                 Data         Management
   320        Cumberland                              Ave         Portland                      ME     04101

        207            228           6000         x16651tf                    8778773737
   mevanstetooweroay                                        biz          www             oowerpay.biz



   Notice of confidentias       lbs                                                                        mai me sage                            ate         from                             LO    Thi         mes              and                                     attachments                          raned
                                                                                          ctronic                                      nrigi                              PowerPay                                        age                ary       file                                        trar                     th     tar
   GDNFIDENTIAL    and  irterded                                                   sly    for    the      ramed reogiert                   enty     the            erai     me sage          and               anashment               sane        beer            transmitted             based          nn      easo      able
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   nap       ctasnr                        grinacy          Ary     di         losere                stribehon                   py rg     nrc           of        th      nforr   atior      by    anyore           otter     than        the    irtend                  re         ert         garde         sot     address
        at   ng          is    str        sty    pros    bited           If
                                                                              yna        re               this       err                 ann    adnise             the    send         by    mrned       ate     reply    ard     delete          the         or   gi      al   me         age    and      any    ana      hmeet

   immediately




   From                        Michele                  Evans
   Sent Wednesday                                                 May              20           2015            1203             PM
   To             Eric           Babcock                     Shayna                      Cavalieri


   Cc         James                        Rohman

   Subject                                RE          Reporting                          Free          Trial         Merchant Review



   Hi        Eric

   Thank                  you              for the           update

    just               located                   the        information                             from            the      prior report                          and         should        be     able         to      get     you             the      information                            later         today
   However                                will        for sure                reach                 out        if    need            anything                      at    all


   Thank                  you
   Michele




    PowerPa
                                                                              E$                 LflT5

   Michele                     Evans                  Data       Analyst                  Data         Management
   320 Cumberland                                     Ave         Portland                     ME      04101

        207            228 6000                   x1665             tf        877         877        3737
   mevanstfitoowerpav                                       biz          www             poweroay.biz



   Notice              of confideetiasty                            This           electronic              mai me sage nriginate                                          PowerPay           LLC                                  ard                              or aaachments                               mitted                  are
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   oarng                 strUI5pr                       hbt              f5                               hi                .r    pi                                             drby        rnrdaa                                                                                                              nctd      hment

   mned                ately




   From                        Eric         Babcock
   Sent                   Wednesday                               May              20 2015                      1202             PM
   To         Shayna                            Cavalieri


   Cc         Michele                           Evans             James                   Rohman

   Subject                                RE       Reporting                             Free          Trial         Merchant Review



   Michele



   This           is             report                 youve                 run         previously                         attached               to the                 ticket       but        let     me know                    if    there             are         questions                     Thar
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    PowerPay
  Eric        Babcock                            Vice       President                of Credit                     Services

  320       Cumbertend                               Ave         Portland                 ME          04101

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  immediately




   From                  Shayna                       Cavalieri


  Sent               Wednesday                                   May         20 2015                              1158             AM
  To          Eric          Babcock
  Cc          Michele                          Evans             James               Rohman
  Subject                            RE           Reporting                        Free               Trial              Merchant Review


  Thanks                  Eric                 Okay


   Michele                      do you have                               time          to       review                   and           see            if    we have                   questions                for Eric




  Shayna




   Shayna                Cavalieri                       Project      Manager
   320      Cumberland                                Ave        Portland ME                          04101
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   From                  Eric              Babcock
  Sent               Wednesday                                   May         20               2015                1153             AM
  To          Shayna                           Cavalieri


  Cc          Michele                          Evans             James                  Rohman

   Subject                           RE              Reporting                     Free               Trial              Merchant Review



   Thanks                  Ideally                    within              the        next              day           or        two        if      possible




                                                                                               LLT5

   Eric       Babcock                                 ce    President                of        Credit              Services

   320      Cumberland                                Ave        Portland                  ME         04101

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   From                  Shayna                       Cavalieri


   Sent Wednesday                                                May             20 2015                           1142 AM
   To           Eric        Babcock

   Cc         Michele                          Evans             James                  Rohman

   Subject                           FW               Reporting                         Free               Trial          Merchant Review



   Hi     Eric
Case: 1:17-cv-00194 Document #: 206-6 Filed: 03/24/18 Page 82 of 82 PageID #:5384

   Thanks      for   your      reporting       request                We    have       received         it   and     will         review



    see     you marked          this    as   priority                relatively         high       Any       date        in   particular        you were                hoping               to   have      this      report     by

   Thank     you
   Shayna



   From        Project       Management                               shareooint@loowerpay.biz

   Sent      Wednesday             May       20 2015               1136 AM
   To     Shayna       Cavalieri


   Subject          Reporting           Free    Thai         Merchant Review


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    Title                                           Free     Trial     Merchant       Review




    Requested         By                            Eric    Babcock




    Report Recipients                               Eric    Babcock




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    be displayed



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